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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JAMES MADISON PROJECT, et al.,       )
                                     )
 Plaintiffs,                         )
                                     )
v.                                   )
                                     )                      Case No. 17-597-APM
UNITED STATES DEPARTMENT OF JUSTICE, )
                                     )
 Defendant.                          )
                                     )

                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant United States Department of Justice (“DOJ”) hereby moves for summary

judgment pursuant to Fed. R. Civ. P. 56(b) and Local Rule 7(h) for the reasons stated in the

attached memorandum of points and authorities, statement of material facts, and supporting

declarations and exhibits, and in the ex parte, in camera submission.

Dated: October 19, 2018                             Respectfully Submitted,

                                                    CHAD A. READLER
                                                    Principal Deputy Assistant Attorney General

                                                    MARCIA BERMAN
                                                    Assistant Director, Federal Programs Branch

                                                    /s/Amy E. Powell
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                      IN THE UNITED STATES DISTRICT COURT
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JAMES MADISON PROJECT, et al.,       )
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 Plaintiffs,                         )
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v.                                   )
                                     )                      Case No. 17-597-APM
UNITED STATES DEPARTMENT OF JUSTICE, )
                                     )
 Defendant.                          )
                                     )

                STATEMENT OF MATERIAL FACTS IN SUPPORT OF
                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       As required by Local Civil Rule 7(h)(1), and in support of the Motion for Summary

Judgment, Defendants hereby make the following statement of material facts as to which there is

no genuine issue.

Administrative Background

       1.     This action arises from FOIA requests submitted by the Plaintiffs to the Federal

Bureau of Investigation (“FBI”) and DOJ’s National Security Division (“NSD”). By letter dated

March 6, 2017, Plaintiffs sought:

              1)      Any orders by the FISC authorizing surveillance of and/or
              collection of information concerning the Trump Organization,
              President Trump, President Trump’s campaign for presidency, or
              people associated with President Trump.
              2)      Any applications to the FISC seeking authorization for
              surveillance of and/or collection of information concerning the
              Trump Organization, President Trump, President Trump’s
              campaign for presidency, or people associated with President
              Trump.
              3)      Any minimization procedures issued by the FISC and that
              applied to any orders issued that fall within the scope of #1 or #2.




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See Third Declaration of David Hardy, dated October 19, 2018, ¶ 6 (citing 1st Hardy Decl., Dkt.

13-3, ¶ 5 & Exhibit A (FOIA Request)); 1 Declaration of Patrick N. Findlay, dated October 19,

2018, ¶ 4 & Exhibit A (FOIA Request).

       2.      By email dated March 17, 2017, NSD refused to confirm or deny the existence of

responsive records pursuant to Exemption 1, explaining that to confirm or deny the existence of

responsive records would reveal information that is properly classified under Executive Order

13526. See Findlay Decl. ¶ 5 & Ex. B (NSD Response).

       3.      On the same day, Plaintiffs appealed the determination to the DOJ Office of

Information Policy (“OIP”). On April 12, 2017, OIP affirmed the determination of NSD – that

the existence or non-existence of responsive records is a properly classified fact. See Findlay

Decl. ¶ 6 & Ex. C (OIP Determination).

       4.      By letter dated March 16, 2017, the FBI acknowledged receipt of Plaintiffs’

request, and on April 4, 2017, the FBI also issued a Glomar response. The FBI’s Glomar

response was based on FOIA Exemptions (b)(1), (b)(3), (b)(7)(A), and (b)(7)(E). See 3rd Hardy

Decl. ¶ 7 (citing 1st Hardy Decl., Dkt. 13-3, ¶ 11 & Ex. D).

Factual Background.

       5.      DOJ has acknowledged a national security investigation of “the Russian

government’s efforts to interfere in the 2016 presidential election[, including] the nature of any

links between individuals associated with the Trump campaign and the Russian government and

whether there was any coordination between the campaign and Russia’s efforts [and] an

assessment of whether any crimes were committed.” See The Washington Post, Full transcript:



1
 A redacted version of the Third Hardy Declaration is filed herewith on the public record. A
classified version of the declaration is being concurrently lodged with the Court ex parte and in
camera, in order to more fully explain the basis for the withholding of exempt information.

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FBI Director James Comey testifies on Russian interference in 2016 election (Mar. 20, 2017),

https://www.washingtonpost.com/news/post-politics/wp/2017/03/20/full-transcript-fbi-director-

james-comey-testifies-on-russian-interference-in-2016-election/?utm_term=.b9f19a0cf9cf; 3rd

Hardy Decl. ¶ 14 & n.3. The investigation of Russian election interference is now under the

direction of Special Counsel Robert Mueller. See Office of the Dep. Att’y General, Order No.

3915-2017, Appointment of Special Counsel to Investigate Russian Interference with the 2016

Presidential Election and Related Matters (May 17, 2017), https://www.justice.gov/opa/press-

release/file/967231/download; 3rd Hardy Decl. ¶ 16.

       6.       On March 4, 2017, President Trump’s Twitter account made a four-part post,

complaining that President Obama had Mr. Trump’s “wires tapped in Trump Tower just before

the victory.” See https://twitter.com/realDonaldTrump. During sworn testimony before the

House Permanent Selection Committee on Intelligence (“HPSCI”) on March 20, 2017, then-FBI

Director James B. Comey was asked about this by Congressman Schiff and responded to address

this specific statement:

            With respect to the President’s tweets about alleged wiretapping directed at
            him by the prior administration, I have no information that supports those
            tweets and we have looked carefully inside the FBI. The Department of
            Justice has asked me to share with you that the answer is the same for the
            Department of Justice and all its components. The Department has no
            information that supports those tweets.

See Full transcript: FBI Director James Comey testifies on Russian interference in 2016 election

(Mar. 20, 2017); 3rd Hardy Decl. ¶ 26.

       7.       In March 2017, the House Permanent Select Committee on Intelligence

(“HPSCI”) announced an investigation into “the Russian active measures campaign targeting the

2016 U.S. election” and later added additional areas of inquiry, including allegations regarding

the purported “FISA abuse.” See 3rd Hardy Decl. ¶ 15. HPSCI’s review led to competing


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memoranda authored by the Majority and the Minority members – often referred to by the names

of the Chairman and the Ranking Member, i.e., as the “Nunes Memo” and the “Schiff Memo.”

Both memoranda were initially classified because, at a minimum, they revealed FISA coverage

on an identified target – Carter Page – which was a properly classified fact. Id. ¶ 17.

       8.      In February 2018, President Trump authorized the declassification of the Nunes

Memo, dated January 18, 2018. See 3rd Hardy Decl. ¶ 19; Findlay Decl. ¶ 9;

http://intelligence.house.gov/uploadedfiles/memo_and_white_house_letter.pdf. As set forth in a

February 2, 2018, letter from the White House Counsel, the Nunes Memo was declassified “in

light of the significant public interest in the memorandum,” and “reflects the judgments of its

congressional authors.” Id.

       9.      Approximately three weeks after the public disclosure of the Nunes Memo, an

unclassified, redacted version of the Schiff Memo, dated January 29, 2018, addressed to All

Members of the House of Representatives, and entitled “Correcting the Record – The Russia

Investigations” (“Minority Memo”), was released. See

https://intelligence.house.gov/uploadedfiles/ hpsci_redacted_minority_memo.pdf (last visited

Sept. 13, 2018). Prior to its release, the FBI reviewed the Schiff Memo and redacted classified

information unaffected by the President’s declassification of the Nunes Memo. The FBI did not

declassify additional information as part of this review. See 3rd Hardy Decl. ¶¶ 20-22.

       10.     Neither the Majority nor the Minority asked the FBI or the Department to opine

on their judgment or conclusions, and neither the FBI nor the Department did so; rather, both

memoranda reflect the judgments of their congressional authors. See 3rd Hardy Decl. ¶¶ 20-22.

FOIA Determination




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       11.     Because the declassification of the Majority Memo and the subsequent release of

the redacted Minority Memo both revealed the existence of certain FISA applications and orders

to conduct surveillance of Carter Page, the Department reviewed the FISA applications and

orders for potential release of segregable information in response to Plaintiffs’ FOIA request.

See 3rd Hardy Decl. ¶¶ 24, 31-34, 134; Findlay Decl. ¶ 12. On July 20, 2018, DOJ and the FBI

released all responsive, non-exempt and reasonably segregable information subject to FOIA –

releasing 412 pages with redactions and withholding 186 pages in full. 3rd Hardy Decl. ¶¶ 4,

134-35; Findlay Decl. ¶¶ 11-12; see also https://vault.fbi.gov/d1-release/d1-release. DOJ is thus

no longer asserting a Glomar response with respect to the fact that Page was the subject of these

FISA applications and orders. Id. ¶ 4; Findlay Decl. ¶ 13. This FOIA release was

unprecedented—prior to the release, there had never been any public disclosure of an application

to the FISC or an order from the FISC pertaining to a specific individual surveillance target. 3rd

Hardy Decl. ¶ 13.

         12.   Other than the above-described disclosures, no authorized Government official

has confirmed or denied the existence of responsive FISA-related records. 3rd Hardy Decl. ¶¶

27, 143; Findlay Decl. ¶ 23. Accordingly, DOJ maintains its Glomar response with respect to

the remainder of Plaintiffs’ request and refuses to confirm or deny the existence of other

responsive records.

Search for Documents Related to Acknowledged Carter Page Surveillance

       13.     NSD and the FBI conducted a reasonable search for records responsive to

Plaintiffs’ FOIA request insofar as it relates to the acknowledged Carter Page FISA applications.

The official acknowledgement at issue here was limited to four specific FISA applications,

submitted for surveillance on Carter Page, starting in October 2016 and continuing through three



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renewals, with accompanying FISA orders. 3rd Hardy Decl. ¶ 28. Given the information

pinpointing the specific responsive records, FBI and NSD FOIA personnel consulted with

knowledgeable officials in both components familiar with the investigation to locate the four

responsive FISA packages, encompassing the acknowledged applications and orders related to

Carter Page. Id. ¶¶ 28-30; Findlay Decl. ¶¶ 10-11. As set forth in the Hardy Declaration, the

request for minimization procedures did not require a separate search because those procedures

are set forth in the packages. 3rd Hardy Decl. ¶ 30. The FBI and NSD compared records and

confirmed that they had complete copies of each of the four FISA packages whose existence had

been officially acknowledged. Id. ¶ 28.

       14.     The FBI coordinated the review of these documents, and NSD participated in the

process. Accordingly, the FBI is asserting all applicable exemptions over these materials.

Findlay Decl. ¶ 12 & n.6; 3rd Hardy Decl. ¶ 31.

Exemption One and Carter Page Documents

       15.     David M. Hardy is an original classification authority. 3rd Hardy Decl. ¶ 2.

       16.     Mr. Hardy determined that information withheld from the Carter Page documents

pursuant to Exemption 1 is under control of the United States Government, and contains

information pertaining to intelligence activities, sources or methods. See Executive Order 13526

§§ 1.4(c). 3rd Hardy Decl. ¶¶ 43, 46-63.

       17.     In particular, Mr. Hardy has determined that the information pertaining to

intelligence activities, sources and methods includes the FBI’s intelligence interests, priorities,

activities and methods; undisclosed intelligence sources or methods upon which the FBI relied in

support of its application for FISA coverage on Carter Page, as well as undisclosed portions of




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intelligence information provided by Source #1; and information about the use and

implementation of various intelligence methods. 3rd Hardy Decl. ¶ 49.

       18.     Mr. Hardy has determined that disclosure of this information pertaining to

intelligence sources and methods in these documents would cause harm to national security, and

has articulated the harm that could be expected to occur. 3rd Hardy Decl. ¶¶ 49-63.

       19.     Mr. Hardy has further determined that information in the Carter Page documents

pertains to foreign relations, and determined that disclosure of such information would cause

harm to national security. Mr. Hardy has articulated the harm that could be expected to occur.

3rd Hardy Decl. ¶¶ 49, 64-67.

Exemption Three and Carter Page Documents

       20.     DOJ also withheld information in the Carter Page documents to protect

intelligence sources and methods from disclosure under Exemption 3 and the National Security

Act. Mr. Hardy articulated the risk of disclosure of intelligence sources and methods. 3rd Hardy

Decl. ¶¶ 68-72.

       21.     DOJ also redacted information pursuant to another Exemption 3 statute, which

cannot be publicly identified without revealing the very information to be protected. Id. ¶ 73.

Exemption 7 and the Carter Page Documents

       22.     The FISA applications and orders are compiled in part for law enforcement

purposes. 3rd Hardy Decl. ¶¶ 74-79.

       23.     DOJ withheld information from these documents pursuant to Exemption 7(A).

Mr. Hardy has determined that disclosure of redacted information in the Carter Page FISA

documents could reasonably be expected to interfere with the pending investigation into Russian

election interference if publicly disclosed at this time, and has articulated the harms that would



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occur. The types of information that could reasonably be expected to harm the investigation if

disclosed include: aspects of the investigation not previously made public, what information or

activities are or are not of interest to the investigators, areas in which there may be gaps in

investigators’ knowledge that could be exploited, and the identities of potential witnesses and the

information they provided. 3rd Hardy Decl. ¶¶ 80-91.

       24.     DOJ withheld information under Exemption 7(D) because certain investigatory

information would reveal the identity or information of confidential sources. This includes

nonpublic information about and provided by Christopher Steele, as well as information about

and provided by other confidential sources, all of whom were provided express assurances of

confidentiality. 3rd Hardy Decl. ¶¶ 112-18.

       25.     DOJ withheld eight categories of information in the Carter Page documents

pursuant to Exemption 7(E): information about the investigative focus of these applications;

information about collection and analysis of information; information about specific techniques

used in the national security investigations; information about specific databases used for law

enforcement purposes; information about payments to confidential sources; detailed information

about targets, dates and scope of surveillance; information about dates and types of

investigations; and investigative strategies for particular evidence. Mr. Hardy determined each

of the nine categories encompasses nonpublic information about law enforcement techniques and

has articulated how its disclosure risks circumvention of the law. 3rd Hardy Decl. ¶¶ 119-33.

Private Information in the Carter Page Documents

       26.     DOJ withheld four categories of private information in the Carter Page documents

pursuant to Exemption 6 and Exemption 7(E): identifying information for FBI agents; personal

information about Carter Page; identifying information about a FISC deputy clerk and an NSD



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attorney; and identifying information about a third party source. For each category, the FBI

articulated and balanced the person’s substantial privacy interest in nondisclosure and the public

interest in the withheld information. 3rd Hardy Decl. ¶¶ 92-111.

Withheld in Full Pages from FISA Packages

       27.     DOJ withheld 186 pages in full from the Carter Page FISA packages pursuant to

Exemptions 1, 3, 7(A), and 7(E). Mr. Hardy determined that disclosure would reveal classified

intelligence methods and law enforcement techniques. There is no additional information that

can be provided on the public record but the justification for withholding is similar to the

justification for other redactions under these exemptions. 3rd Hardy Decl. ¶¶ 135-41.

Segregability Analysis

       28.     DOJ released all reasonably segregable, non-exempt information from the Carter

Page documents. DOJ conducted a document- by-document and line-by-line review to ensure

that all reasonably segregable, non-exempt information was released, taking into account the

public disclosures related to this matter. 3rd Hardy Decl. ¶ 134.

Partial Glomar

       29.     DOJ has refused to confirm or deny the existence of FISA applications and orders

beyond the four previously acknowledged Carter Page packages. Accordingly, DOJ has refused

to confirm or deny whether there are responsive record beyond the limited disclosures outlined

above, pursuant to Exemptions 1, 3, 7(A) and 7(E). 3rd Hardy Decl. ¶¶ 142-46; Findlay Decl. ¶¶

14-15 (asserting Exemption 1).

       30.     Patrick Findlay is an original classification authority. He determined that the

information withheld by NSD – the existence or nonexistence of other responsive records – is

protected by Exemption 1. Findlay Decl. ¶¶ 2, 14-22.



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       31.     David M. Hardy is an original classification authority. 3rd Hardy Decl. ¶ 2. He

determined that the information withheld by FBI – the existence or nonexistence of other

responsive records – is protected by Exemption 1. Id. ¶¶ 143-44, 152-60.

       32.     Mr. Hardy has determined that the existence or nonexistence of other responsive

records pertains to intelligence activities, sources and methods, and Mr. Hardy has articulated the

harm to national security that would result from disclosure of the existence or nonexistence of

other responsive records. 3rd Hardy Decl. ¶¶ 147-55.

       33.     Mr. Findlay has determined that the existence or nonexistence of other responsive

records is currently and properly classified and is therefore properly withheld pursuant to

Exemption 1. That information pertains to intelligence activities, sources and methods, and Mr.

Findlay has articulated the harm to national security that would result from disclosure of the

existence or nonexistence of other responsive records. Findlay Decl. ¶¶ 14-22.

       34.     The information withheld pursuant to Exemption 1 also pertains to foreign

relations, and Mr. Hardy has articulated the harm to national security that would result from

disclosure of the existence or nonexistence of other responsive records. 3rd Hardy Decl. ¶¶ 156-

60.

       35.     Mr. Hardy further determined that disclosure of the existence or non-existence of

responsive records risks disclosure of intelligence sources and methods and is therefore protected

by the National Security Act and Exemption 3. See 3rd Hardy Decl. at ¶¶ 161-64.

       36.     Mr. Hardy further determined that FISA applications and FISC orders – when

they exist – are records compiled for law enforcement purposes within the meaning of

Exemption 7. See 3rd Hardy Decl. ¶¶ 164-65.




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       37.     Mr. Hardy further determined that disclosure of the existence or non-existence of

other responsive records could reasonably be expected to interfere with enforcement proceedings

that are pending or reasonably anticipated, and that the information is therefore properly

withheld under Exemption 7(A). The withheld information pertains to the pending Russia

investigation and that its disclosure could reasonably be expected to interfere with enforcement

proceedings. Mr. Hardy has articulated the anticipated harm. 3rd Hardy Decl. ¶¶ 166-69.

       38.     Mr. Hardy further determined that disclosure of the existence or non-existence of

other responsive records would disclose techniques and procedures for law enforcement

investigations and that such disclosure could reasonably be expected to risk circumvention of the

law, and that the information is therefore properly withheld under Exemption 7(E). Disclosure

would reveal nonpublic information about whether the FBI is employing specific investigative

techniques against specific targets and would reveal nonpublic information when and under what

circumstances the FBI relies upon FISA-authorized techniques. Mr. Hardy has articulated how

such disclosure risks circumvention of the law. 3rd Hardy Decl. ¶¶ 170-72.

Official Acknowledgement

       39.     No authorized government official has disclosed the precise information withheld.

See 3rd Hardy Decl. ¶¶ 13, 25, 27, 44, 134, 143; Findlay Decl. ¶ 23.



Dated: October 19, 2018                              Respectfully Submitted,

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                                                     /s/Amy E. Powell
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                                     )          Case No. 17-597-APM
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 Defendant.                          )
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        DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES
     IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

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                                        INTRODUCTION

       Using the Freedom of Information Act, Plaintiffs James Madison Project and Brad Heath

seek detailed, highly sensitive information about a specific type of surveillance activity,

allegedly related to an ongoing national security investigation, and allegedly directed at a

specific group of individuals during a specific timeframe. More specifically, Plaintiffs seek to

compel production of FISA applications and orders dating from mid-2016, “concerning the

Trump Organization, President Trump, President Trump’s campaign for presidency, or people

associated with President Trump.”

       The Government has made two acknowledgments arguably relevant to this request. First,

the Department of Justice acknowledged, based upon the Congressional testimony of then-FBI

Director James B. Comey, that it has no records of alleged wiretapping of then-candidate Trump

in Trump Tower by the Obama administration prior to the 2016 presidential election, as

referenced in President Trump’s Twitter post on March 4, 2017. In addition, following the

President’s declassification of a memorandum prepared by staff of the House Permanent Select

Committee on Intelligence (“HPSCI”), and the subsequent release of a different memorandum

prepared by certain HPSCI members, the Department has acknowledged responsive Foreign

Intelligence Surveillance Act (“FISA”) applications and orders to conduct surveillance of Carter

Page, and produced redacted versions of those documents. With these limited exceptions, DOJ

has otherwise provided a “Glomar” response, declining to confirm or deny the existence of

records for any other FISA surveillance responsive to Plaintiffs’ FOIA request.

       The applications and orders related to Carter Page were properly located, processed,

redacted and produced, with some pages being withheld in full. These documents, at issue in

several pending FOIA matters, are the first FISA applications ever processed for public release,

and the FBI and DOJ devoted considerable resources to ensure that they were carefully
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processed, releasing information that matched prior public disclosures as well as other

information that is not currently exempt. The FBI declaration establishes that some withheld

information is properly classified and exempt from disclosure because it pertains to intelligence

activities, sources, and methods, and/or foreign relations or foreign activities of the United

States, and its disclosure would cause harm to national security; it is therefore properly withheld

under Exemption 1. The FBI’s declaration further establishes that disclosure of the withheld

information would reveal intelligence sources and methods protected by Exemption 3 and the

National Security Act, as well as law enforcement information protected by Exemptions 7(A),

7(D) and 7(E), and private information protected by Exemptions 6 and 7(C). These records

relate to an ongoing national security investigation, and full disclosure would undermine and

obstruct that investigation, compromise sources, and reveal nonpublic information about

important law enforcement methods, disclosure of which risks circumvention of the law.

       The partial Glomar response to the remainder of Plaintiffs’ FOIA request is proper. The

declarations establish that confirming or denying the existence of other responsive records would

reveal classified information pertaining to intelligence sources and methods. DOJ and the FBI

determined that disclosure of the existence or non-existence of records for any other FISA

surveillance responsive to Plaintiffs’ FOIA request could reasonably be expected to cause harm

to national security, and is exempt from disclosure pursuant to FOIA Exemption 1. FBI has

further determined that this information is exempt from disclosure under Exemptions 3, 7(A) and

7(E). This determination is entitled to substantial deference from this Court under well-settled

law.

       There has been no official acknowledgement of the existence or non-existence of FISA

applications or orders as to a range of potential surveillance targets. The limited official

acknowledgements relevant to Plaintiffs’ FOIA request—then-Director Comey’s Congressional
                                                  2
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testimony regarding the non-existence of records of alleged wiretapping of then-candidate

Trump in Trump Tower by the Obama Administration prior to the 2016 presidential election, and

the extraordinary and unprecedented acknowledgement of the existence of FISA applications and

orders to conduct surveillance of Carter Page—satisfy the exacting criteria for official disclosure

of classified information responsive to Plaintiffs’ FOIA request, and the Department’s response

is consistent with those disclosures. But there have been no other official disclosures that

specifically reveal the existence or non-existence of the particular alleged FISA surveillance that

Plaintiffs seek to discover. Accordingly, the Glomar response as to the remaining portions of

Plaintiffs’ request is proper. The Court should defer to Defendant’s determination in this regard

and grant the Government summary judgment.

                                          BACKGROUND

Administrative and Procedural Background

          This matter arises from nearly identical FOIA requests submitted to the Federal Bureau

of Investigation (“FBI”) and DOJ’s National Security Division (“NSD”) on March 6, 2017, in

which Plaintiffs sought records related to specific individuals and organizations allegedly subject

to surveillance under the Foreign Intelligence Surveillance Act (“FISA”). Specifically, Plaintiffs

sought:

                 1)      Any orders by the FISC authorizing surveillance of and/or
                 collection of information concerning the Trump Organization,
                 President Trump, President Trump’s campaign for presidency, or
                 people associated with President Trump.
                 2)      Any applications to the FISC seeking authorization for
                 surveillance of and/or collection of information concerning the
                 Trump Organization, President Trump, President Trump’s
                 campaign for presidency, or people associated with President
                 Trump.
                 3)      Any minimization procedures issued by the FISC and that
                 applied to any orders issued that fall within the scope of #1 or #2.



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See Third Declaration of David Hardy, dated October 19, 2018, ¶ 6 (citing 1st Hardy Decl., Dkt.

13-3, ¶ 5 & Exhibit A (FOIA Request)); 1 Declaration of Patrick N. Findlay, dated October 19,

2018, ¶ 4 & Exhibit A (FOIA Request). The requests limited the search to June 2016 to the date

of the request. Id. JMP quoted certain public statements by President Trump and asserted that

the requesters “are pre-emptively asserting that President Trump’s public comments constitute

prior official disclosure of the existence of at least one, if not more, FISA warrants.” Id.

       By email dated March 17, 2017, NSD refused to confirm or deny the existence of

responsive records pursuant to Exemption 1, explaining that to confirm or deny the existence of

responsive records would reveal information that is properly classified under Executive Order

13526. See Findlay Decl. ¶ 5 & Ex. B (NSD Response). This is known as a “Glomar” response,

and is proper if the fact of the existence or non-existence of agency records is protected by a

FOIA exemption. See Phillippi v. CIA, 546 F.2d 1009, 1011 (D.C. Cir. 1976) (acknowledging

CIA refusal to confirm or deny existence of records regarding activities of a ship named Hughes

Glomar Explorer). On the same day, Plaintiffs appealed the determination to the DOJ Office of

Information Policy (“OIP”). On April 12, 2017, OIP affirmed the determination of NSD – that

the existence or non-existence of responsive records is a properly classified fact. See Findlay

Decl. ¶ 6 & Ex. C (OIP Determination).

       By letter dated March 16, 2017, the FBI acknowledged receipt of Plaintiffs’ request, and

on April 4, 2017, the FBI also issued a Glomar response. The FBI’s Glomar response was based

on FOIA Exemptions (b)(1), (b)(3), (b)(7)(A), and (b)(7)(E). See 3rd Hardy Decl. ¶ 7 (citing 1st

Hardy Decl., Dkt. 13-3, ¶ 11 & Ex. D).




1
 A redacted version of the Hardy Declaration is filed herewith on the public record. A classified
version of the declaration is being concurrently lodged with the Court ex parte and in camera, in
order to more fully explain the basis for the withholding of exempt information.
                                                  4
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       Plaintiffs filed a Complaint on April 4, 2017 and an Amended Complaint was filed on

April 15, 2017. See Compl., ECF No. 1; Am. Compl. ECF No. 5.

       The parties briefed cross-motions for summary judgment in summer and fall of 2017, and

Defendant defended the Glomar response. In light of subsequent disclosures, DOJ sought to

withdraw its motion for summary judgment and set a schedule for processing the acknowledged

Carter Page materials. After the Carter Page materials were processed and released, the Court

set a schedule for further briefing. Dkt. No. 38.

Factual Background

       Plaintiffs’ FOIA request arises in a factual context in which there is an ongoing,

acknowledged official investigation related to the Russian government’s efforts to interfere in the

2016 presidential election. Specifically, the Department has acknowledged a national security

investigation of “the Russian government’s efforts to interfere in the 2016 presidential election[,

including] the nature of any links between individuals associated with the Trump campaign and

the Russian government and whether there was any coordination between the campaign and

Russia’s efforts [and] an assessment of whether any crimes were committed.” See The

Washington Post, Full transcript: FBI Director James Comey testifies on Russian interference in

2016 election (Mar. 20, 2017), https://www.washingtonpost.com/news/post-

politics/wp/2017/03/20/full-transcript-fbi-director-james-comey-testifies-on-russian-interference-

in-2016-election/?utm_term=.b9f19a0cf9cf; 3rd Hardy Decl. ¶ 14 & n.3. The investigation into

Russian election interference is now under the direction of Special Counsel Robert Mueller. See

Office of the Dep. Att’y General, Order No. 3915-2017, Appointment of Special Counsel to

Investigate Russian Interference with the 2016 Presidential Election and Related Matters (May

17, 2017), https://www.justice.gov/opa/press-release/file/967231 /download; 3rd Hardy Decl. ¶

16.
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       On March 4, 2017, President Trump’s Twitter account made a four-part post,

complaining that President Obama had Mr. Trump’s “wires tapped in Trump Tower just before

the victory.” See https://twitter.com/realDonaldTrump. During sworn testimony before the

House Permanent Selection Committee on Intelligence (“HPSCI”) on March 20, 2017, then-FBI

Director James B. Comey was asked about this by Congressman Schiff and responded to address

this specific statement:

           With respect to the President’s tweets about alleged wiretapping directed at
           him by the prior administration, I have no information that supports those
           tweets and we have looked carefully inside the FBI. The Department of
           Justice has asked me to share with you that the answer is the same for the
           Department of Justice and all its components. The Department has no
           information that supports those tweets.

See Full transcript: FBI Director James Comey testifies on Russian interference in 2016 election

(Mar. 20, 2017); 3rd Hardy Decl. ¶ 26; Findlay Decl. ¶ 8. 2

       In March 2017, the House Permanent Select Committee on Intelligence (“HPSCI”)

announced an investigation into “the Russian active measures campaign targeting the 2016 U.S.

election” and later added additional areas of inquiry, including allegations regarding the

purported “FISA abuse.” See 3rd Hardy Decl. ¶ 15. HPSCI’s review led to competing

memoranda authored by the Majority and the Minority members – often referred to by the names

of the Chairman and the Ranking Member, i.e., as the “Nunes Memo” and the “Schiff Memo.”

Both memoranda were initially classified because, at a minimum, they revealed FISA-authorized

surveillance on an identified target – Carter Page – which was a properly classified fact. Id. ¶ 17.




2
  The Department has subsequently confirmed Director Comey’s conclusion in several FOIA
matters. In the first round of summary judgment briefing in this case, Defendant specifically
acknowledged this statement and noted that “Had plaintiff more specifically tied his FOIA
request to the information in the tweets, he likely would have received a no-records response
from the FBI and DOJ.” Dkt. No. 13, at 20.
                                                 6
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In February 2018, President Trump authorized the declassification of the Nunes Memo, dated

January 18, 2018. See 3rd Hardy Decl. ¶ 19; Findlay Decl. ¶ 9;

http://intelligence.house.gov/uploadedfiles/memo_and_white_house_letter.pdf.

         As set forth in a February 2, 2018, letter from the White House Counsel, the Nunes

Memo was declassified “in light of the significant public interest in the memorandum,” and

“reflects the judgments of its congressional authors.” Id. Approximately three weeks after the

public disclosure of the Nunes Memo, an unclassified, redacted version of the Schiff Memo,

dated January 29, 2018, addressed to All Members of the House of Representatives, and entitled

“Correcting the Record – The Russia Investigations” (“Minority Memo”), was released. See 3rd

Hardy Decl. ¶¶ 20-22, also available at https://intelligence.house.gov/uploadedfiles/

hpsci_redacted_minority_memo.pdf (last visited Sept. 13, 2018). Prior to its release, the FBI

reviewed the Schiff Memo and redacted classified information unaffected by the President’s

declassification of the Nunes Memo. 3rd Hardy Decl. ¶ 21. The FBI did not declassify additional

information as part of this review. Id. Neither the Majority nor the Minority asked the FBI or

the Department to opine on their judgment or conclusions, and neither the FBI nor the

Department did so; rather, both memoranda reflect the judgments of their congressional authors.

Id. ¶ 22. 3

         Because the declassification of the Majority Memo and the subsequent release of the

redacted Minority Memo both revealed the existence of certain FISA applications and orders to

conduct surveillance of Carter Page, the Department reviewed the FISA applications and orders



3
  One other Congressional memorandum references the Page FISA applications. After the
declassification of the Nunes Memo, the FBI conducted a classification review of a January 4,
2018 memorandum from Senators Grassley and Graham as well. As with the other memoranda,
this memorandum reflects the judgments of its Congressional authors. 3rd Hardy Decl. ¶ 22 & n.
6.
                                                 7
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for potential release of segregable information in response to Plaintiffs’ FOIA request. 4 See 3rd

Hardy Decl. ¶¶ 24, 31-34, 134; Findlay Decl. ¶ 9. On July 20, 2018, DOJ and the FBI released

all responsive, non-exempt and reasonably segregable information subject to FOIA – releasing

412 pages with redactions and withholding 186 pages in full. 3rd Hardy Decl. ¶¶ 4, 134-35;

Findlay Decl. ¶¶ 9-12; see also https://vault.fbi.gov/d1-release/d1-release. The redactions are

coded by application exemption and certain categories within exemptions. 3rd Hardy Decl. ¶¶

31-34. DOJ is thus no longer asserting a Glomar response with respect to the fact that Page was

the subject of these FISA applications and orders. Id. ¶ 4; Findlay Decl. ¶ 13. This FOIA release

was unprecedented—prior to the release, there had never been any public disclosure of an

application to the FISC or an order from the FISC pertaining to a specific individual surveillance

target. 3rd Hardy Decl. ¶ 13; Findlay Decl. ¶ 12.

       Other than the above-described disclosures, no authorized Government official has

confirmed or denied the existence of responsive FISA-related records. 3rd Hardy Decl. ¶¶ 27,

143; Findlay Decl. ¶ 23. 5 Accordingly, DOJ maintains its Glomar response with respect to the

remainder of Plaintiffs’ request and refuses to confirm or deny the existence of other responsive

records.




4
 Although Page was not associated with the Trump campaign when the initial FISA order was
obtained, the Page FISA applications and orders were deemed to be responsive at least to that
portion of Plaintiffs’ FOIA request that seeks FISA applications and orders “concerning . . .
people associated with President Trump.”
5
  On September 17, 2018, the White House Press Secretary announced that President Trump was
directing DOJ and ODNI to “provide for immediate declassification of” certain documents,
including additional pages of the Page documents. See Statement from the Press Secretary,
https://www.whitehouse.gov/briefings-statements/statement-press-secretary-34/. The President
later indicated that he was no longer requiring immediate declassification of these documents at
this time.
                                                 8
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                                           ARGUMENT

   I.      Statutory Standards.

   A. The Freedom of Information Act

        The “basic purpose” of FOIA reflects a “general philosophy of full agency disclosure

unless information is exempted under clearly delineated statutory language.” John Doe Agency v.

John Doe Corp., 493 U.S. 146, 152 (1989) (citation omitted). “Congress recognized, however,

that public disclosure is not always in the public interest . . . .” CIA v. Sims, 471 U.S. 159, 166–

67 (1985). Accordingly, in passing FOIA, “Congress sought ‘to reach a workable balance

between the right of the public to know and the need of the Government to keep information in

confidence to the extent necessary without permitting indiscriminate secrecy.’” John Doe

Agency, 493 U.S. at 152 (quoting H.R. Rep. No. 89-1497, at 6 (1966), reprinted in 1966

U.S.C.C.A.N. 2418, 2423). As the D.C. Circuit has recognized, “FOIA represents a balance

struck by Congress between the public’s right to know and the [G]overnment’s legitimate

interest in keeping certain information confidential.” Ctr. for Nat’l Sec. Studies v. DOJ, 331

F.3d 918, 925 (D.C. Cir. 2003) (citing John Doe Agency, 493 U.S. at 152).

        FOIA mandates disclosure of government records unless the requested information falls

within one of nine enumerated exemptions. See 5 U.S.C. § 552(b). “A district court only has

jurisdiction to compel an agency to disclose improperly withheld agency records,” i.e. records

that do “not fall within an exemption.” Minier v. CIA, 88 F.3d 796, 803 (9th Cir. 1996); see also

5 U.S.C. § 552(a)(4)(B) (providing the district court with jurisdiction only “to enjoin the agency

from withholding agency records and to order the production of any agency records improperly

withheld from the complainant”); Kissinger v. Reporters Comm. for Freedom of the Press, 445

U.S. 136, 150 (1980) (“Under 5 U.S.C. § 552(a)(4)(B)[,] federal jurisdiction is dependent upon a

showing that an agency has (1) ‘improperly’; (2) ‘withheld’; (3) ‘agency records.’”). While
                                                  9
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narrowly construed, FOIA’s statutory exemptions “are intended to have meaningful reach and

application.” John Doe Agency, 493 U.S. at 152; accord DiBacco v.U.S. Army, 795 F.3d 178,

183 (D.C. Cir. 2015).

       The courts resolve most FOIA actions on summary judgment. See Judicial Watch, Inc. v.

Dep't of the Navy, 25 F. Supp. 3d 131, 136 (D.D.C. 2014). The Government bears the burden of

proving that the withheld information falls within the exemptions it invokes. See 5 U.S.C. §

552(a)(4)(B); King v. DOJ, 830 F.2d 210, 217 (D.C. Cir. 1987). A court may grant summary

judgment to the Government based entirely on an agency’s declarations, provided they articulate

“the justifications for nondisclosure with reasonably specific detail, demonstrate that the

information withheld logically falls within the claimed exemption, and are not controverted by

either contrary evidence in the record nor by evidence of agency bad faith.” Military Audit

Project v. Casey, 656 F.2d 724, 738 (D.C. Cir. 1981); accord Gov’t Accountability Project v.

Food & Drug Admin., 206 F. Supp. 3d 420, 430 (D.D.C. 2016). Such declarations are accorded

“a presumption of good faith, which cannot be rebutted by purely speculative claims[.]”

SafeCard Servs., Inc. v. SEC, 926 F.2d 1197, 1200 (D.C. Cir. 1991) (citation omitted).

   B. Special Considerations in National Security Cases

       The issues presented in this case directly “implicat[e] national security, a uniquely

executive purview.” Ctr. for Nat’l Sec. Studies, 331 F.3d at 926–27. While courts review de

novo an agency’s withholding of information pursuant to a FOIA request, “de novo review in

FOIA cases is not everywhere alike . . . .” Ass’n of Retired R.R. Workers, Inc. v. U.S. R.R. Ret.

Bd., 830 F.2d 331, 336 (D.C. Cir. 1987). Indeed, the courts have specifically recognized the

“propriety of deference to the executive in the context of FOIA claims which implicate national

security.” Ctr. for Nat’l Sec. Studies, 331 F.3d at 927; see Ray v. Turner, 587 F.2d 1187, 1194

(D.C. Cir. 1978) (“[T]he executive ha[s] unique insights into what adverse [e]ffects might occur
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as a result of public disclosure of a particular classified record.”). “[A]ccordingly, the

government’s ‘arguments needs only be both ‘plausible’ and ‘logical’ to justify the invocation of

a FOIA exemption in the national security context.’” Unrow Human Rights Impact Litig. Clinic

v. Dep’t of State, 134 F. Supp. 3d 263, 272 (D.D.C. 2015) (quoting ACLU v. Dep’t of Def., 628

F.3d 612, 624 (D.C. Cir. 2011)).

       For these reasons, the courts have “consistently deferred to executive affidavits predicting

harm to the national security, and have found it unwise to undertake searching judicial review.”

Ctr. for Nat’l Sec. Studies, 331 F.3d at 927; see Larson v. Dep’t of State, 565 F.3d 857, 865

(D.C. Cir. 2009) (citation omitted) (“Today we reaffirm our deferential posture in FOIA cases

regarding the ‘uniquely executive purview’ of national security.”); accord Unrow Human Rights

Impact Litig. Clinic, 134 F. Supp. 3d at 272. Consequently, a reviewing court must afford

“substantial weight” to agency declarations “in the national security context.” King, 830 F.2d at

217; see Fitzgibbon v. CIA, 911 F.2d 755, 766 (D.C. Cir. 1990) (holding that the district court

erred in “perform[ing] its own calculus as to whether or not harm to the national security or to

intelligence sources and methods would result from disclosure . . . .”); Frugone v. CIA, 169 F.3d

772, 775 (D.C. Cir. 1999) (because “courts have little expertise in either international diplomacy

or counterintelligence operations, we are in no position to dismiss the CIA’s facially reasonable

concerns” about the harm that disclosure could cause to national security). FOIA “bars the

courts from prying loose from the government even the smallest bit of information that is

properly classified or would disclose intelligence sources or methods.” Afshar v. Dep’t of State,

702 F.2d 1125, 1130 (D.C. Cir. 1983).

   C. The Glomar Response.

       A Glomar response allows the Government to “refuse to confirm or deny the existence of

records where to answer the FOIA inquiry would cause harm cognizable under an FOIA
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exception.” Wolf v. CIA, 473 F.3d 370, 374 (D.C. Cir. 2007) (quoting Gardels v. CIA, 689 F.2d

1100, 1103 (D.C. Cir. 1982)); accord Wilner v. NSA, 592 F.3d 60, 68 (2d Cir. 2009) (“The

Glomar doctrine is well settled as a proper response to a FOIA request because it is the only way

in which an agency may assert that a particular FOIA statutory exemption covers the ‘existence

or non-existence of the requested records[.]’” (quoting Phillippi v. CIA, 546 F.2d 1009, 1012

(D.C. Cir. 1976)). In support of a Glomar response, the asserting agency “must explain why it

can neither confirm nor deny the existence of responsive records.” James Madison Project v.

DOJ, 208 F. Supp. 3d 265, 283 (D.D.C. 2016) (quoting Parker v. EOUSA, 852 F. Supp. 2d 1, 10

(D.D.C. 2012)). The agency can satisfy this obligation by providing “public affidavit[s]

explaining in as much detail as is possible the basis for its claim that it can be required neither to

confirm nor to deny the existence of the requested records.” Phillippi, 546 F.2d at 1013.

The courts in this Circuit have consistently upheld Glomar responses where, as here, confirming

or denying the existence of records would reveal classified information protected by FOIA

Exemption 1. See, e.g., Frugone, 169 F.3d at 774–75 (finding that CIA properly refused to

confirm or deny the existence of records concerning the plaintiff’s alleged employment

relationship with CIA pursuant to Exemptions 1 and 3); Larson, 565 F.3d at 861–62 (upholding

the National Security Agency’s use of the Glomar response to the plaintiffs’ FOIA requests

regarding past violence in Guatemala pursuant to Exemptions 1 and 3); Wheeler v. CIA, 271 F.

Supp. 2d 132, 140 (D.D.C. 2003) (ruling that CIA properly invoked a Glomar response to a

request for records concerning the plaintiff’s activities as a journalist in Cuba during the 1960s

pursuant to Exemption 1).




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   II.      DOJ Conducted a Reasonable Search for Responsive Records Related to
            Acknowledged Surveillance of Carter Page and Properly Released Redacted
            Records.

         NSD and the FBI searched for the acknowledged FISA applications and orders related to

Carter Page. The 412 released pages reflect information properly redacted under Exemptions 1,

3, 6, 7(A), 7(C), 7(D), 7(E). The withheld in full pages from the FISA applications and orders

were properly withheld pursuant to Exemptions 1, 3, 7(A) and 7(E).

         A. DOJ Conducted a Reasonable Search.

         An agency is entitled to summary judgment in a FOIA case with respect to the adequacy

of its search if it shows “‘that it made a good faith effort to conduct a search for the requested

records, using methods which can be reasonably expected to produce the information

requested.’” Clemente v. FBI, 867 F.3d 111, 117 (D.C. Cir. 2017) (quoting Oglesby v. Dep’t of

the Army, 920 F.2d 57, 68 (D.C. Cir. 1990)); DiBacco, 795 F.3d at 188. “[T]he issue to be

resolved is not whether there might exist any other documents possibly responsive to the request,

but rather whether the search for those documents was adequate.” Weisberg v. DOJ, 745 F.2d

1476, 1485 (D.C. Cir. 1984) (emphasis in original). The search is thus gauged “not by the fruits

of the search, but by the appropriateness of the methods used to carry out the search.” Ancient

Coin Collectors Guild v. Dep’t of State, 641 F.3d 504, 514 (D.C. Cir. 2011) (quoting Iturralde v.

Comptroller of Currency, 315 F.3d 311, 315 (D.C. Cir. 2003)). An agency can establish the

reasonableness of its search by “reasonably detailed, nonconclusory affidavits describing its

efforts.” Baker & Hostetler LLP v. Dep’t of Commerce, 473 F.3d 312, 318 (D.C. Cir. 2006).

Such affidavits are sufficient if they “set[] forth the search terms and the type of search

performed, and aver[] that all files likely to contain responsive materials (if such records exist)

were searched.” Chambers v. Dep’t of Interior, 568 F.3d 998, 1003 (D.C. Cir. 2009) (quoting

McCready v. Nicholson, 465 F.3d 1, 14 (D.C. Cir. 2006)). This standard is not demanding. “[I]n
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the absence of countervailing evidence or apparent inconsistency of proof, affidavits that explain

in reasonable detail the scope and method of the search conducted by the agency will suffice . . .

. “ Perry v. Block, 684 F.2d 121, 127 (D.C. Cir. 1982). “Agency affidavits are accorded a

presumption of good faith, which cannot be rebutted by ‘purely speculative claims about the

existence and discoverability of other documents.’” SafeCard Servs., Inc., 926 F.2d at 1200

(citation omitted).

       The declarations demonstrate that NSD and the FBI conducted a reasonable search for

records responsive to Plaintiffs’ FOIA request insofar as it relates to the acknowledged Carter

Page FISA applications. The official acknowledgement at issue here was limited to four specific

FISA applications, submitted for surveillance on Carter Page, starting in October 2016 and

continuing through three renewals, with accompanying FISA orders. 3rd Hardy Decl. ¶ 28.

Given the information pinpointing the specific responsive records, FBI and NSD FOIA

personnel consulted with knowledgeable officials in both components familiar with the

investigation to locate the four responsive FISA packages, encompassing the acknowledged

applications and orders related to Carter Page. Id. ¶¶ 28-30; Findlay Decl. ¶¶ 10-11. As set

forth in the Hardy Declaration, the request for minimization procedures did not require a separate

search because those procedures are set forth in the packages. 3rd Hardy Decl. ¶ 30. The FBI

and the National Security Division compared records and confirmed that they had complete

copies of each of the four FISA packages whose existence had been officially acknowledged. Id.

¶ 28. FBI then coordinated the processing of the documents, in consultation with interested

components. Id. ¶ 31; Findlay Decl. ¶¶ 11-12 & n. 6.

       This strategy – identifying the personnel responsible for the requested FISC information,

and asking them to search their records – is a “method[] which can be reasonably expected to

produce the information requested.” Oglesby, 920 F.2d at 68; see also James Madison Project v.
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DOJ, 267 F. Supp. 3d 154, 160-61 (D.D.C. 2017). Therefore, DOJ is entitled to summary

judgment on this issue.

       B. DOJ Properly Redacted Classified Information in the Carter Page Documents
          Pursuant to Exemption 1. 6

           (1) Exemption One Standards.

       FOIA Exemption 1 exempts from disclosure information that is “specifically authorized

under criteria established by an Executive Order to be kept secret in the interest of national

defense or foreign policy” and “are in fact properly classified pursuant to such Executive Order.”

5 U.S.C. § 552(b)(1). Under Executive Order No. 13,526, an agency may withhold information

that an official with original classification authority has determined to be classified because its

“unauthorized disclosure could reasonably be expected to cause identifiable or describable

damage to the national security[.]” Exec. Order No. 13,526 § 1.4, 75 Fed. Reg. 707, 709 (Dec.

29, 2009). The information must also “pertain[] to” one of the categories of information

specified in the Executive Order, including “intelligence activities (including covert action),

intelligence sources or methods,” Exec. Order No. 13,526 §§ 1.4(c); or “foreign relations or

foreign activities of the United States, including confidential sources,” id. §1.4(d). See also

Judicial Watch, Inc. v. Dep’t of Defense, 715 F.3d 937, 941 (D.C. Cir. 2013) (citation omitted)

(“‘[P]ertains’ is ‘not a very demanding verb.’”). As discussed above, a court “accord[s]

substantial weight to an agency’s affidavit concerning the details of the classified status of the

disputed record because the Executive departments responsible for national defense and foreign

policy matters have unique insights into what adverse [e]ffects might occur as a result of a

particular classified record.” Larson, 565 F.3d at 864 (citation omitted).


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 The FBI coordinated the review of these documents, and NSD participated in the process.
Accordingly, the FBI is asserting all applicable exemptions over these materials. Findlay Decl. ¶
12 & n.6; 3rd Hardy Decl. ¶ 31.
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           (2) DOJ Properly Withheld Information Pertaining to Intelligence Activities,
               Sources and Methods.

       Defendant redacted portions of the Carter Page FISA applications and orders to safeguard

currently and properly classified information involving categories of information set forth in

Section 1.4 of Executive Order 13,526. See 3rd Hardy Decl. at ¶¶ 35-67. Id. First, the redacted

information pertains to “intelligence activities (including covert action), intelligence sources or

methods, or cryptology.” Exec. Order 13,526 §1.4(c). FISA surveillance is an intelligence

method, and the request on its face seeks information pertaining to FISA surveillance. The

supporting declaration establishes that information redacted from these FISA packages

encompasses “the FBI’s intelligence interests, priorities, activities and methods; undisclosed

intelligence sources or methods upon which the FBI relied in support of its application for FISA

authorized surveillance of Carter Page, as well as undisclosed portions of intelligence

information provided by Source #1; and information about the use and implementation of

various intelligence methods.” 3rd Hardy Decl. ¶ 49.

       The Third Hardy Declaration identifies two general categories of information withheld on

this basis and describes the specific harm to national security that would result from disclosure:

activities and methods; and intelligence sources. First, the redacted information includes details

about the FISA surveillance sought and obtained through the FISA applications and orders –

such as dates, locations, intended purposes, and specific methods -- as well as detailed,

undisclosed information about other intelligence activities and methods forming part of the

underlying basis for the applications. 3rd Hardy Decl. ¶ 50. The withheld information includes,

for example, detailed information about investigation of individuals other than Page, undisclosed

methods used to gather information about Page, detailed undisclosed information about a

source’s activities, and information about the specific amounts and timeframes for payments to


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human sources. Id. ¶¶ 56-59. Additionally, the FBI redacted information that would reveal the

exact timeframes of authorized surveillance and descriptions of exactly what was authorized,

including minimization procedures. Id. ¶¶ 51-53. None of that information has been previously

disclosed and all of it would be valuable to adversaries seeking to analyze, undermine, and evade

our counterintelligence apparatus. This type of information reveals actual intelligence activities

undertaken regarding specific targets during a specific timeframe, discloses intelligence-

gathering capabilities of those methods, and provides an assessment of the level of FBI

penetration of specific targets during a specific time frame. Id. ¶ 58. “Armed with such

information, adversaries, including hostile foreign governments, could implement actions to

thwart the FBI’s intelligence activities and weaken or negate the particular intelligence methods,

which would severely disrupt the FBI’s intelligence-gathering capabilities.” Id.

       Second, DOJ has redacted information that tends to identify particular intelligence

sources. As explained in the Third Hardy Declaration, “an intelligence source who requires

continued classification is one that provided or is currently providing information that pertains to

national security matters, the disclosure of which could reasonably be expected to result in

serious damage to FBI’s intelligence-gathering capabilities.” 3rd Hardy Decl. ¶ 60. Although the

identity of one source has been disclosed, the Page applications include identifying information

for other sources as well. Id. ¶¶ 61-63. Disclosure of intelligence sources “could reasonably be

expected to jeopardize their livelihoods, their families and other relationships, and even their

lives” and disclosure of one source can cause other current and potential sources to fear

disclosure. Id. ¶¶ 62-63. Thus, disclosure of source-identifying information could reasonably be

expected to damage national security by endangering current and past sources and by

discouraging current and potential sources from reporting. Id. Accordingly, such information is

properly redacted pursuant to Exemption 1.
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           (3) DOJ Properly Redacted Information Pertaining to Foreign Relations.

       The Hardy Declaration establishes that DOJ also redacted certain information pertaining

to foreign relations or foreign activities of the United States, and that disclosure of this

information would cause harm to national security. 3rd Hardy Decl. ¶¶ 64-67. Although Mr.

Hardy explains that further details cannot be provided on the public record, the redacted

information relates to the United States’ interactions with foreign countries. Id. If disclosed,

such information “can reasonably be expected to lead to diplomatic or economic retaliation, the

loss of cooperation, or the compromise of cooperative foreign sources.” Id. The disclosure of

specific relationships could reasonably be expected to cause serious damage to national security.

Id. Accordingly, such information is properly redacted pursuant to Exemption 1. 7

       C. DOJ Properly Withheld Information in the Carter Page Documents Pursuant to
          Exemption 3, Including Information Protected By the National Security Act.

       Exemption 3 exempts from disclosure records that are “specifically exempted from

disclosure by [another] statute” if the relevant statute “requires that the matters be withheld from

the public in such a manner as to leave no discretion on the issue” or “establishes particular

criteria for withholding or refers to particular types of matters to be withheld.” 5 U.S.C. §

552(b)(3)(A). The Government’s mandate to withhold information under FOIA Exemption 3 is

broader than its authority under FOIA Exemption 1, as it does not have to demonstrate that the

disclosure will harm national security. See Sims, 471 U.S. at 167; Gardels, 689 F.2d at 1106–07.

Instead, “the sole issue for decision is the existence of a relevant statute and the inclusion of

withheld material within the statute’s coverage. It is particularly important to protect intelligence

sources and methods from public disclosure.” Morley v. CIA, 508 F.3d 1108, 1126 (D.C. Cir.



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  The classified Hardy Declaration provides additional information about the redaction of
classified information and the harm to national security that would result from disclosure.
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2007). In analyzing the propriety of a withholding made pursuant to FOIA Exemption 3, the

Court need not examine “the detailed factual contents of specific documents[.]” Id.

       DOJ has invoked Section 102A(i)(1) of the National Security Act of 1947, as amended

(now codified at 50 U.S.C. § 3024(i)(1)), which requires the Director of National Intelligence to

“protect intelligence sources and methods from unauthorized disclosure.” It is well-established

that Section 102A qualifies as a withholding statute for the purposes of FOIA Exemption 3. See,

e.g., ACLU v. Dep’t of Defense, 628 F.3d at 619. In fact, the Supreme Court has recognized the

“wide-ranging authority” provided by the National Security Act to protect intelligence sources

and methods. See Sims, 471 U.S. at 169–70, 177, 180; see Halperin v. CIA, 629 F.2d 144, 147

(D.C. Cir. 1980) (explaining that the only question for the court is whether the agency has shown

that responding to a FOIA request “could reasonably be expected to lead to unauthorized

disclosure of intelligence sources and methods”). The Act has been properly invoked to

withhold information about FISA and other surveillance techniques. See, e.g., Agility Pub.

Warehousing Co. K.S.C. v. NSA, 113 F. Supp. 3d 313, 329 (D.D.C. 2015).

       As explained above, information redacted from the Page FISA applications and orders

includes information that would disclose intelligence sources and methods. See Part II.B.2,

supra. Accordingly, DOJ properly concluded that it is also prohibited from disclosing such

information under the National Security Act. 3rd Hardy Decl. ¶¶ 68-72.

       DOJ also redacted information pursuant to another Exemption 3 statute, which cannot be

publicly identified without revealing the very information to be protected. Id. ¶ 73. The Court is

referred to the ex parte, in camera declaration for additional explanation.




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       D. DOJ Properly Withheld Information in the Carter Page Documents Pursuant to
          Exemption 7(A).

       (1) Exemption 7 Threshold.

       Exemption 7 protects from disclosure all “records or information compiled for law

enforcement purposes” that could reasonably be expected to cause one of the six harms outlined

in the Exemption’s subparts. 5 U.S.C. § 552(b)(7). “To fall within any of the exemptions under

the umbrella of Exemption 7, a record must have been ‘compiled for law enforcement

purposes.’” Pub. Emps. for Envtl. Responsibility v. U.S. Section, Int’l Boundary & Water

Comm’n, U.S.-Mexico, 740 F.3d 195, 202 (D.C. Cir. 2014) (quoting 5 U.S.C. § 552(b)(7)).

Here, DOJ records regarding FISA applications and orders are compiled in part for law

enforcement purposes. 3rd Hardy Decl. ¶¶ 74-79.

       (2) Exemption 7(A) Standards.

       Exemption 7(A) “exempts from FOIA disclosure records or information compiled for

‘law enforcement purposes . . . to the extent that the production . . . could reasonably be expected

to interfere with enforcement proceedings.’” Shannahan v. IRS., 672 F.3d 1142, 1145 (9th Cir.

2012) (quoting 5 U.S.C. § 552(b)(7)(A)). “Exemption 7(A) reflects the Congress’s recognition

that ‘law enforcement agencies ha[ve] legitimate needs to keep certain records confidential, lest

the agencies be hindered in their investigations or placed at a disadvantage when it [comes] time

to present their case.’” Citizens for Responsibility & Ethics in Wash. v. DOJ, 746 F.3d 1082,

1096 (D.C. Cir. 2014) (hereinafter “CREW”) (quoting NLRB v. Robbins Tire & Rubber Co., 437

U.S. 214, 224 (1978)).

       An ongoing investigation typically triggers Exemption 7(A). See CREW, 746 F.3d at

1098 (quoting Juarez v. DOJ, 518 F.3d 54, 59 (D.C. Cir. 2008)). “In the typical case,” therefore,




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“the requested records relate to a specific individual or entity that is the subject of the ongoing

investigation, making the likelihood of interference readily apparent.” Id.

        (3) Disclosure of the Withheld Information Could Reasonably Be Expected to
            Interfere with the Russia Investigation.

        Here, the FBI sought and received authority under FISA to surveil Carter Page as part of

and in furtherance of a pending proceeding – the ongoing Russian interference investigation. See

3rd Hardy Decl. ¶¶ 82-83. The redacted information reflects details relevant to the ongoing

investigation, “making the likelihood of interference readily apparent.” See CREW, 746 F.3d at

1098.

        The Third Hardy Declaration explains that disclosure of redacted information in the

Carter Page FISA documents “could reasonably be expected to interfere with the pending

Russian election interference investigation if publicly disclosed at this time.” 3rd Hardy Decl. ¶

83. The Third Hardy Declaration explains that the types of information that could reasonably be

expected to harm the investigation if disclosed include: aspects of the investigation not

previously made public, what information or activities are or are not of interest to the

investigators, areas in which there may be gaps in investigators’ knowledge that could be

exploited, and the identities of potential witnesses and the information they provided. Hardy

Decl. ¶ 85. Moreover, disclosure of confidential or classified sources risks curtailing their

cooperation. Id. ¶ 87. Disclosure of the evidence relied upon risks influencing, compromising or

tainting these or other witnesses, and risks revealing gaps in investigative information that can be

exploited. Id. ¶ 88. Disclosure of specific investigative techniques used during specific time

periods and regarding specific subject matters creates similar risks, including efforts by

adversaries or targets to undermine the techniques. Id. ¶ 89.




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       The FBI carefully considered whether information would match public information and

whether its disclosure would reasonably be expected to harm the investigation. Id. ¶ 90.

Additionally, although there has been widespread media coverage of the Russia investigation,

official disclosures would cause greater harm to the investigation, regardless of whether it

confirmed or refuted media reporting. Id. ¶ 84. Accordingly, such information is properly

withheld pursuant to Exemption 7(A).

       E. DOJ Properly Withheld Information in the Carter Page Documents Pursuant to
          Exemption 7(D).

       DOJ properly withheld information under Exemption 7(D) because certain investigatory

information would reveal the identity or information of confidential sources.

       (1) 7(D) Standards.

       Exemption 7(D) permits the withholding or redacting of law enforcement records, the

release of which “could reasonably be expected to disclose the identity of a confidential source . .

. and, . . . [in the case of] an agency conducting a lawful national security intelligence

investigation, information furnished by a confidential source.” 5 U.S.C. § 552(b)(7)(D).

Exemption 7(D) requires no balancing of public and private interests. See Dow Jones & Co. v.

DOJ, 917 F.2d 571, 575–76 (D.C. Cir. 1990). The agency is entitled to withhold any

information that could disclose a confidential source’s identity and, in the context of an agency

conducting a lawful national security intelligence investigation, to withhold the substance of the

information furnished by such source. See 5 U.S.C. § 552(b)(7)(D); Dep’t of Justice v. Landano,

508 U.S. 165, 172 (1993); Canning v. DOJ, 567 F. Supp. 2d 104, 111 (D.D.C. 2008).

       A confidential source is one who “provided information under an express assurance of

confidentiality or in circumstances from which such an assurance could be reasonably inferred.”

Landano, 508 U.S. at 172. Thus, Exemption 7(D) applies to protect the identity of a source if an


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agency establishes that a source has provided information under either an express or implied

promise of confidentiality. See Williams v. FBI, 69 F.3d 1155, 1159 (D.C. Cir. 1995). In cases,

such as this one, where the Government provides an express promise of confidentiality, “the

issue is simple enough: The agency must present ‘probative evidence that the source . . .

receive[d] an express grant of confidentiality.’” Hodge v. FBI, 703 F.3d 575, 581 (D.C. Cir.

2013) (quoting Campbell v. DOJ, 164 F.3d 20, 34 (D.C. Cir. 1998).

       (2) DOJ Properly Withheld Information Regarding Confidential Sources.

       Here, the FBI redacted certain non-public information regarding Christopher Steele

(identified as “Source #1” in the documents), and all information about and from other

confidential human sources. 3rd Hardy Decl. ¶¶ 112-17. First, the Hardy Declaration establishes

that the FBI provided an express promise of confidentiality to Steele as part of the FBI’s

protocols for confidential human sources, and Steele in fact provided information in furtherance

of a national security investigation. Id. ¶¶ 115-16. His information is therefore categorically

exempt from disclosure under 7(D). Nonetheless, Steele’s identity and some of his reporting has

been publicly disclosed, and the FBI therefore has not redacted information that matches his

information as disclosed in the Nunes and Schiff memoranda. Id.

       Second, the FISA applications contain information from and about other sources who

provided information to the FBI and did so pursuant to express assurances of confidentiality. Id.

¶ 117. Thus, the requirements of Exemption 7(D) are satisfied. Confidential human sources

providing information to the FBI pursuant to assurances of confidentiality should be secure in the

knowledge that their assistance will be held in confidence. Id. ¶¶ 113-14. Release of such

information may eliminate a source and have a chilling effect on other current and potential

sources, who need to know they can trust the FBI’s assurances of confidentiality. Id.

Accordingly, the FBI properly redacted information pursuant to Exemption 7(D).
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       F. DOJ Properly Withheld Information in the Carter Page Documents Pursuant to
          Exemption 7(E).

       (1) 7(E) Standards.

       Exemption 7(E) authorizes withholding of information compiled for law enforcement

purposes if release of the information “would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law.” 5 U.S.C. § 552(b)(7)(E). Congress intended that Exemption 7(E)

protect law enforcement techniques and procedures from disclosure, as well as techniques and

procedures used in all manner of investigations after crimes or other incidents have occurred.

       Exemption 7(E) is written in broad and general terms to cover not only information that

will definitively lead to the circumvention of the law, but also information that risks

circumvention of the law. Mayer Brown, LLP v. Internal Revenue Serv., 562 F.3d 1190, 1193

(D.C. Cir. 2009); Bigwood v. Dep’t of Defense, 132 F. Supp. 3d 124, 152–53 (D.D.C. 2015).

Satisfying the exemption is a “relatively low bar”. See Blackwell v. FBI, 646 F.3d 37, 42 (D.C.

Cir. 2011). The agency need not make a “highly specific ... showing” of risk of circumvention of

the law, but only “demonstrate logically how the release of the requested information might

create” such a risk. Id. (quoting Mayer Brown, 562 F.3d at 1194). Nor must the agency

demonstrate “an actual or certain risk of circumvention” of the law; rather the agency need only

show “the chance of a reasonably expected risk.” Mayer Brown, 562 F.3d at 1193.

       Importantly, the range of “law enforcement purposes” covered by Exemption 7(E)

includes not only traditional criminal law enforcement duties, but also proactive steps taken by

the government designed to prevent terrorism and to maintain national security. See Ctr. for

Nat’l Sec. Studies, 331 F.3d at 926; Bigwood, 132 F. Supp. 3d at 152; see also Milner v. Dep’t of


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the Navy, 562 U.S. 562, 582 (2011) (“Particularly in recent years, terrorism prevention and

national security measures have been recognized as vital to effective law enforcement efforts in

our Nation.”) (Alito, J., concurring).

       (2) DOJ Properly Withheld Information About Law Enforcement Techniques that
           Risks Circumvention of the Law.

       The withholdings easily satisfy the “relatively low” Exemption 7(E) standard here. The

entirety of the FISA packages are a law enforcement technique, whose details were not

previously known to the public, and such FISA applications have never previously been

processed for public release. Accordingly, the applications and orders contain a substantial

amount of still nonpublic information about this law enforcement technique and how it is used in

particular contexts. The Third Hardy Declaration describes eight categories of information

withheld under 7(E). 8 3rd Hardy Decl. ¶¶ 119-33.

       First, DOJ withheld information about the investigative focus of these particular FISA

applications and orders. 3rd Hardy Decl. ¶ 120. Together, the information in these applications

reveals how the FBI conducted certain aspects of the investigation to that date and a road-map of

certain contemplated investigative steps. Id. Although the general techniques authorized by the

FISA are publicly known, this detailed information about how, when, where and why such

authorities are employed in this particular investigation is not publicly known. Id. Such details

would be useful to criminals and other adversaries as a guide to adjust their own behavior and

develop effective countermeasures. Id.

       Second, DOJ withheld information about the collection and analysis of information it


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 Each category is separately coded on the redacted documents. See 3rd Hardy Decl. ¶ 34. These
categories often overlap, and redactions may be coded to more than one category. For example,
specific techniques described to the Court are protected under category three, but also tend to
show the focus of the investigation under category one based on which investigative activities
were ongoing when and where.
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obtains for investigative purposes, including how and where the FBI collects particular types of

information and the methodologies employed to analyze it. Id. ¶¶ 121-23. Such disclosures

would enable subjects of investigations to identify when these or similar techniques are or might

be used and take countermeasures. Id.

       Third, DOJ withheld specific techniques authorized for and used in national security

investigations. Hardy Decl. ¶¶ 124-26. This category includes: techniques that have not been

publicly disclosed in this specific context, details about other techniques that have been disclosed

generally, and those techniques specifically considered or authorized by the FISC here. Id. ¶

124. The disclosure of techniques in this particular context would have important ramifications

on the use of such techniques in other national security cases. Id. Although the techniques

authorized by FISA are publicly known, detailed information about how, when, where and why

such authorities are employed in a particular investigation is not publicly known. Id.

Aggregated, such information provides a roadmap to counterintelligence investigations and

would give sophisticated adversaries the information necessary to take countermeasures. Id.

       Fourth, DOJ redacted specific databases used by the FBI for investigative purposes. It is

not publicly known under what circumstances the FBI utilizes these particular databases,

particularly in the context of a national security investigation. Id. ¶ 127. And their disclosure

would provide another useful data point useful to spies, criminals and others intent on avoiding

FBI attention and developing countermeasures. Id.

       Fifth, DOJ withheld specific information about payments to confidential human sources.

While it is publicly known that FBI pays such sources, the details of when, for what, and how

much sources are paid are aspects of this technique that are not made public in order to protect

the viability of this technique. Id. ¶ 128. Moreover, the amount paid to a particular confidential

human source could suggest the relative volume or importance of information provided by a
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source, leading people who believe they are subjects of such source reporting to assess the

likelihood that their activities have come to the FBI’s attention. Id. ¶¶ 128-29. And it could

reveal important non-public information about the level of resources devoted to particular

investigations or subjects. Id.

       Sixth, DOJ withheld detailed information about the targets, dates and scope of

surveillance. While it is known that the FBI conducts FISA surveillance and specifically

conducted surveillance directed at Page, the details about how such surveillance was

investigatively or technically implemented, the locations targeted by the surveillance, and the

specific time periods under which the surveillance was conducted are not public. Id. ¶ 130.

Disclosure of such details about how and when the FBI conducts surveillance would create a

mosaic that criminals and other adversaries could use to predict when and where such

surveillance may occur, detect it, and to develop and utilize countermeasures. Id.

       Seventh, DOJ redacted information regarding dates and types of FBI investigations. In

particular, the FBI protected information that identifies the type of a particular investigation,

whether it is a “preliminary” or “full” investigation, and the time period of the particular

investigation. Id. ¶ 131. Disclosure would allow individuals to know what types of activities

would trigger which type of investigation and allow them to deduce applicable time periods. Id.

Disclosure that a particular activity warrants investigation could cause individuals to adjust

conduct to avoid detection. Id.

       Eighth, DOJ redacted investigative strategies for particular evidence. The FBI redacted

information that describes a specific purpose for which it might use information gathered as a

result of its FISA authorized surveillance of Page. Id. ¶¶ 132-33. Publicly disclosing this

information would permit targets of FBI investigative activities to anticipate such activities and

take effective countermeasures. Id.
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       G. DOJ Properly Withheld Private Information in the Carter Page Documents
          Pursuant to Exemptions 6 and/or 7(C).

       (1) Applicable Exemptions.

       Two FOIA exemptions cover different types of private information redacted in these

documents. First, Exemption 6 allows agencies to withhold “personnel and medical files and

similar files” whenever “disclosure . . . would constitute a clearly unwarranted invasion of

personal privacy.” 5 U.S.C. § 552(b)(6). To determine whether a file qualifies as “similar” to

“personnel or medical files,” courts examine whether information in that file “applies to a

particular individual.” Dep’t of State v. Wash. Post Co., 456 U.S. 595, 601-02 (1982).

Therefore, not only does the exemption protect files, “but also bits of personal information, such

as names and addresses, the release of which would create a palpable threat to privacy.” Prison

Legal News v. Samuels, 787 F.3d 1142, 1147 (D.C. Cir. 2015) (citation omitted). If the threshold

requirement is met, a court must next ask whether disclosure would compromise a “substantial”

privacy interest, since FOIA requires the release of information “[i]f no significant privacy

interest is implicated . . . .” Multi Ag Media LLC v. Dep’t of Agric., 515 F.3d 1224, 1229 (D.C.

Cir. 2008) (citation omitted). “Anything greater than a de minimis privacy interest” is generally

sufficient. Id. at 1229–30. Finally, courts test whether release of such information would

constitute a “clearly unwarranted invasion of personal privacy,” Wash. Post Co. v. Dep’t of

Health & Human Servs., 690 F.2d 252, 260 (D.C. Cir. 1982), by balancing “the privacy interest

that would be compromised by disclosure against any public interest in the requested

information,” Multi Ag Media, 515 F.3d at 1228. Courts examine the “public need for the

information” in light of “the basic purpose of [FOIA] to open agency action to the light of public

scrutiny, rather than . . . the particular purpose for which the document is being requested.” DOJ

v. Reporters Comm. For Freedom of Press, 489 U.S. 749, 772 (1989) (internal citations omitted).


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“That purpose . . . is not fostered by disclosure of information about private citizens that is

accumulated in various governmental files but that reveals little or nothing about an agency’s

own conduct.” Id. at 773.

       Second, under Exemption 7(C), an agency is exempt from producing “records or

information compiled for law enforcement purposes . . . to the extent that the production of such

law enforcement records or information . . . could reasonably be expected to constitute an

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C). In determining whether

this exemption applies to particular information, a court must balance the privacy interests of

individuals mentioned in the records against the public interest in disclosure. See ACLU v. DOJ,

655 F.3d 1, 6 (D.C. Cir. 2011). The privacy interest at stake belongs to the individual, not the

government agency, see Reporters Comm., 489 U.S. at 763–65, and “individuals have a strong

interest in not being associated unwarrantedly with alleged criminal activity,” Stern v. FBI, 737

F.2d 84, 91–92 (D.C. Cir. 1984).

       (2) DOJ Properly Withheld Private Information.

       Here, the Third Hardy Declaration establishes that several categories of private or

personally identifying information are properly redacted. First, DOJ withheld the names of the

FBI agents who signed the Page FISA applications under Exemption 6 and 7(C). Such agents

can become the target of harassing inquiries or threats, a risk that is heightened in the context of

national security or counterintelligence cases. 3rd Hardy Decl. ¶¶ 96-101. They have substantial

privacy interests in avoiding such harassment or threats, an interest that is heightened by the high

profile nature of the investigation. Id. Finally, there is no legitimate public interest in these

identities, which would not inform the public understanding of the Page warrants, the Russia

investigation or anything else. Id. Accordingly, the FBI properly protected these names.

       Second, DOJ withheld certain personal information about Carter Page. While FISC-
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authorized surveillance of Carter Page has been officially acknowledged, there remains

information not previously made public by the Government and in which he retains a privacy

interest. 3rd Hardy Decl. ¶¶ 102-05. Although there is a demonstrated public interest in these

applications, the particular information redacted would not substantially increase the public’s

understanding of this matter. Id.

       Third, DOJ withheld identifying information about a FISC deputy clerk and the career

NSD attorney who submitted the FISA applications to the FISC. Id. ¶¶ 106-109. Such

employees could become targets of harassing inquiries or threats, and they may be targeted by

foreign powers; in contrast, there is no public interest in their identities. Id. Accordingly, their

identifying information was properly redacted.

       Finally, DOJ redacted identifying information regarding a third party source. This

particular source is mentioned twice in the released documents and did not provide information

directly to the FBI. Id. ¶¶ 110-11. The individual has a substantial privacy interest in not being

publicly linked to the investigation and could face harassment, retaliation, threats or physical

harm if revealed publicly in connection with a sensitive national security investigation. Id. And

the public interest in an individual mentioned in two footnotes is quite limited and would not

increase the public’s understanding of FBI operations or this investigation. Id. Accordingly, this

information was properly redacted.

       H. DOJ Properly Withheld in Full Certain Portions of the Carter Page Documents
          Pursuant to Exemptions 1, 3, 7(A), and 7(E).

       DOJ withheld 186 pages in full from the Carter Page FISA packages. Disclosure would

reveal classified intelligence methods and law enforcement techniques. 3rd Hardy Decl. ¶¶ 135-

41. There is no additional information that can be provided on the public record but the

justification for withholding is similar to the justification for other redactions under these


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exemptions. The classified ex parte, in camera submission provides additional information.

       I. DOJ Released All Reasonably Segregable Information.

       Under FOIA, “any reasonably segregable portion of a record shall be provided to any

person requesting such record after deletion of the portions which are exempt . . . .” 5 U.S.C. §

552(b). Accordingly, “non-exempt portions of a document must be disclosed unless they are

inextricably intertwined with exempt portions.” Mead Data Cent., Inc. v. Dep’t of Air Force, 566

F.2d 242, 260 (D.C. Cir. 1977). An agency has no obligation to segregate non-exempt material

that is so “inextricably intertwined” with exempt material that “the excision of exempt

information would impose significant costs on the agency and produce an edited document with

little informational value.” Neufeld v. IRS, 646 F.2d 661, 666 (D.C. Cir. 1981), abrogated on

other grounds by Church of Scientology of Calif. v. IRS, 792 F.2d 153 (D.C. Cir. 1986); see also

Nat’l Sec. Archive Fund, Inc. v. CIA, 402 F. Supp. 2d 211, 220–21 (D.D.C. 2005) (same). A

court “may rely on government affidavits that show with reasonable specificity why documents

withheld pursuant to a valid exemption cannot be further segregated . . . .” Juarez, 518 F.3d at

61 (internal citation omitted). “Agencies are entitled to a presumption that they complied with

the obligation to disclose reasonably segregable material.” Sussman v. U.S. Marshals Serv., 494

F.3d 1106, 1117 (D.C. Cir. 2007).

       Here, DOJ has shown that it released all reasonably segregable material through the

declaration of Mr. Hardy. 3rd Hardy Decl. ¶ 134. Mr. Hardy indicates that the agency conducted

a document-by-document and line-by-line review to ensure that all reasonably segregable, non-

exempt information was released, taking into account the public disclosures related to this

matter. Id. See Johnson v. Exec. Office for U.S. Attorneys, 310 F.3d 771, 776-77 (D.C. Cir.

2002) (holding that agency had demonstrated there was no reasonably segregable non-

deliberative material when it had submitted an affidavit by an agency official confirming that “a
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line-by-line review of each document withheld in full [had] determined that ‘no documents

contained releasable information which could be reasonably segregated from the nonreleasable

portions.’”). This segregability conclusion is borne out by the released documents: redactions

have been taken narrowly and only where specific information protected by exemptions is at

issue.

           Because the Hardy Declaration establishes that all reasonably segregable, non-exempt

information has been released, Defendant is entitled to summary judgment.

    III.      DOJ Properly Refused to Confirm or Deny the Existence of Other Responsive
              Records.

           DOJ has refused to confirm or deny the existence of FISA applications and orders beyond

the four previously acknowledged Carter Page packages. DOJ has established that this partial

Glomar response is proper, pursuant to Exemptions 1, 3, 7(A) and 7(E). 3rd Hardy Decl. ¶¶ 142-

46; Findlay Decl. ¶¶ 14-15.

           The standards for these exemptions are outlined in Part II of this memorandum, and the

application of FOIA standards to refuse to confirm or deny the use of particular surveillance

techniques against particular individuals ought to be non-controversial. The Government

routinely makes Glomar responses to similar requests for information about particular

surveillance subjects, see 3rd Hardy Decl. ¶¶ 13, 143 (confirming that with extremely limited

exceptions, the FBI does not confirm or deny FISA surveillance of particular individuals or

entities); Findlay Decl. ¶ 16 (same), and courts routinely uphold such responses. See, e.g.,

Marrera v. DOJ, 622 F. Supp. 51, 53–54 (D.D.C. 1985) (“[T]his Court finds that OIPR’s refusal

to confirm or deny the existence of FISA records pertaining to this particular plaintiff to be

justified in the interests of national security as part of an overall policy of [the Executive Order]

with respect to all FISA FOIA requests.”); Schwarz v. Dep’t of Treasury, 131 F. Supp. 2d 142,


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149 (D.D.C. 2000) (“The Office properly refused to confirm or deny that it had any responsive

records maintained under the Foreign Intelligence Surveillance Act of 1978 (FISA) and in non-

FISA files relating to various intelligence techniques.”), aff’d, No. 00-5453, 2001 WL 674636

(D.C. Cir. May 10, 2001); Competitive Enter. Inst. v. NSA, 78 F. Supp. 3d 45, 60 (D.D.C. 2015)

(upholding NSA Glomar response to request for metadata records with respect to two particular

individuals); Agility Pub. Warehousing Co. K.S.C., 113 F. Supp. 3d at 329 (upholding NSA

Glomar in response to request for particular surveillance records); see also Carter v. NSA, No.

1:12-CV-00968-CKK, 2014 WL 2178708, at *1 (D.C. Cir. Apr. 23, 2014) (upholding Glomar

response to request for records related to alleged NSA surveillance of plaintiff); Moore v.

Obama, No. 09-5072, 2009 WL 2762827, at *1 (D.C. Cir. Aug. 24, 2009) (same); Wilner, 592

F.3d at 65 (“Glomar responses are available, when appropriate, to agencies when responding to

FOIA requests for information obtained under a ‘publicly acknowledged’ intelligence program,

such as the [Terrorist Surveillance Program], at least when the existence of such information has

not already been publicly disclosed.”).

           A. The Partial Glomar is Proper Pursuant to Exemption One Because the
              Existence or Non-Existence of Responsive Records is Properly Classified.

       The Glomar response with respect to the existence or non-existence of other FISA

surveillance applications is proper under FOIA Exemption 1. DOJ has logically and plausibly

explained why it cannot confirm or deny the existence of additional responsive records that

would identify other FISA targets, if any, without revealing information that is currently and

properly classified and exempt from disclosure under FOIA Exemption 1. First, the existence or

non-existence of additional responsive records “pertains to” one of the categories of information

protected by Executive Order 13526, namely, “intelligence sources and methods” and “foreign

relations and foreign activities of the United States.” And the disclosure of either category


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would cause harm to national security.

       The existence or non-existence of responsive records pertains to intelligence sources and

methods because the request, on its face, seeks information about whether there has been

additional FISA surveillance, beyond that already acknowledged. 3rd Hardy Decl. ¶¶ 152-55;

Findlay Decl. ¶¶ 16-19. Confirming or denying whether other responsive records exist “would

be tantamount to confirming whether or not the FBI has relied on a particular intelligence

activity or method targeted at particular individuals or organizations” and “reveal otherwise non-

public information regarding the nature of the FBI’s intelligence interests, priorities, activities

and methods– information that is highly desired by hostile actors who seek to thwart the FBI’s

intelligence-gathering mission.” 3rd Hardy Decl. ¶ 155; Findlay Decl. ¶ 17 (“To disclose the

existence or non-existence of responsive documents in NSD files would disclose whether or not

particular individuals or organizations were targets of FISC-authorized surveillance.”). Such

activities and methods “are valuable only so long as they remain unknown and unsuspected” and

that disclosure would “seriously jeopardize[]” the use of such methods. 3rd Hardy Decl. ¶¶ 153-

54; Findlay Decl. ¶¶ 20-21. Mr. Hardy further explains that hostile groups review officially

released information like this; they have “the ability to gather information from myriad sources,

analyze it, and deduce means and methods from disparate details to defeat the U.S.

Government’s collection efforts.” 3rd Hardy Decl. ¶ 154; Findlay Decl. ¶¶ 20-21. Disclosure of

the withheld information “would pose at least a serious risk to national security.” 3rd Hardy Decl.

¶ 155; Findlay Decl. ¶ 20.

       Further, the Hardy Declaration establishes that confirming the existence or non-existence

of other responsive documents would reveal information about the United States Government’s

foreign relations, the disclosure of which could cause damage to national security. 3rd Hardy

Decl. ¶¶ 156-60. Such disclosure could “weaken, or even sever, the relationship between the
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United States and its foreign partners (present and future), thus degrading the Government’s

ability to combat hostile threats abroad.” Id. 9

       Accordingly, the partial Glomar response was proper under Exemption One.

           B. The FBI Established that the Partial Glomar is Proper Pursuant to
              Exemption 3 and the National Security Act.

       As discussed in Part II, Exemption 3 and the National Security Act prohibit the disclosure

of intelligence sources and methods. For the reasons discussed above with regard to Exemption

1, confirming the existence or non-existence of responsive records could divulge information

about the existence or nonexistence of intelligence sources and methods protected from

disclosure under the National Security Act. 3rd Hardy Decl. ¶¶ 161-63. No additional showing is

necessary under the National Security Act.

           C. The FBI Established that the Partial Glomar is Proper Pursuant to
              Exemption 7(A).

       Here, the Hardy Declaration justifies the FBI’s use of Exemption 7(A) to protect the

currently undisclosed fact of the existence or non-existence of any investigative records that

would be responsive to Plaintiffs’ requests. As an initial matter, FISA records are plainly

compiled for law enforcement purposes. As the Hardy Declaration establishes, the “only

circumstance under which the FBI can request a FISA order is when the FBI is conducting an

authorized, predicated national security investigation within the scope of its law enforcement and

foreign intelligence responsibilities.” 3rd Hardy Decl. ¶ 77. Accordingly, FISA applications and

FISC orders – when they exist – are records compiled for law enforcement purposes.




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  The Government is not arguing that such disclosure of the existence or nonexistence of records
would reveal the existence of the Russia investigation. The existence of the Russia investigation
is officially acknowledged information. Additional information about the harm to foreign
relations that would result from disclosure is available in the ex parte, in camera declaration.
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       Additionally, the information requested purportedly relates to an ongoing investigation.

Plaintiffs’ request explicitly mentions the investigation into the Russian government’s efforts to

interfere in the 2016 presidential election. 3rd Hardy Decl. ¶¶ 14 (describing opening of

investigation); 168 (describing ongoing investigation). Any sort of investigation involving such

FISA records would be the sort of active investigation protected by Exemption 7(A). See, e.g.,

People for the Ethical Treatment of Animals v. NIH, 745 F.3d 535, 541 (D.C. Cir. 2014)

(Exemption 7’s threshold requirement satisfied in a Glomar response case because FOIA

requester did not dispute that “any responsive documents,” if they existed, “would constitute

records or information compiled for law enforcement purposes . . .”).

       The Hardy Declaration further describes the harm to an investigation that may result:

               Confirming or denying the existence or non-existence of
               responsive records would reveal non-public information about the
               focus, scope, and conduct of that investigation. Specifically, it
               would reveal whether or not specific investigative techniques have
               been used; when and to what extent they were used, if they were;
               their relative value or benefit if they were used; and the targets
               they were used against, if any. Prematurely disclosing nonpublic
               information about the Russia investigation could give targets and
               others intent on interfering with the FBI’s investigative efforts the
               information necessary to: take defensive actions to conceal
               criminal activities; develop and implement countermeasures to
               elude detection; suppress, destroy, or fabricate evidence; and
               identify potential witnesses or sources, exposing them to
               harassment, intimidation, coercion, and/or physical threats.
               Accordingly, confirming or denying the existence or non-existence
               of responsive records, beyond the four Carter Page FISA
               applications . . . , could reasonably be expected to adversely affect
               the pending investigation.

3rd Hardy Decl. ¶ 169.

       Accordingly, a Glomar response is available under these circumstances to protect the

integrity of confidential law-enforcement investigations, and to therefore prevent harm

cognizable by FOIA Exemption 7(A). See, e.g., Cozen O’Connor v. Dep’t of Treasury, 570 F.


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Supp. 2d 749, 788 (E.D. Pa. 2008); see also CREW, 746 F.3d at 1096 (“Exemption 7(A) reflects

the Congress’s recognition that ‘law enforcement agencies ha[ve] legitimate needs to keep

certain records confidential, lest the agencies be hindered in their investigations or placed at a

disadvantage when it [comes] time to present their case.’” (quoting Robbins Tire, 437 U.S. at

224)). For these reasons, the FBI’s Glomar response is justified by Exemption 7(A).

            D. The FBI Established that the Partial Glomar Response is Proper Pursuant to
               Exemption 7(E).

        As discussed in Part II, Exemption 7(E) protects law enforcement techniques and

procedures, where disclosure risks circumvention of the law. Here, the Third Hardy Declaration

establishes that disclosure of existence or non-existence of responsive records would reveal a law

enforcement technique or procedure. “How the FBI applies its investigative resources (or not)

against a particular allegation, report of criminal activity, or perceived threat is itself a law

enforcement technique or procedure that the FBI protects.” 3rd Hardy Decl. ¶ 171. Such an

acknowledgment of the existence or non-existence of responsive records “would reveal when

and under what circumstances the FBI relies upon FISA-authorized techniques in an

investigation,” and “provide pieces of information that adversaries could use to ascertain at what

point, and against whom we might use particular techniques.” Id. ¶ 172. “Armed with this

information, adversaries could glean significant insight into the activities likely to attract – or not

attract – the FBI’s law enforcement attention. These individuals would then be able to alter their

behavior to avoid attention by law enforcement, making it more difficult for the FBI to be

proactive in assessing threats and investigating crimes.” Id. Accordingly, the FBI properly

invoked Exemption 7(E) to refuse to confirm nor deny the existence of responsive records,

beyond the Carter Page documents discussed in detail above.




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   IV.      The Withheld Information Has Not Been Officially Acknowledged.

         As a general matter, under FOIA, “when an agency has officially acknowledged

otherwise exempt information through prior disclosure, the agency has waived its right to claim

an exemption with respect to that information.” ACLU v. CIA, 710 F.3d 422, 426 (D.C. Cir.

2013). This “official acknowledgement” principle applies to the Glomar context, so a requester

“can overcome a Glomar response by showing that the agency has already disclosed the fact of

the existence (or non-existence) of responsive records, since that is the purportedly exempt

information that a Glomar response is designed to protect.” Id. at 427. But the plaintiff “must

bear the initial burden of pointing to specific information in the public domain that appears to

duplicate that being withheld.” Id. (quoting Wolf, 473 F.3d at 378).

         The D.C. Circuit has narrowly construed the “official acknowledgment” doctrine,

however, and to bring such a challenge plaintiff must satisfy three stringent criteria, none of

which are satisfied here. “First, the information requested must be as specific as the information

previously released.” Wolf, 473 F.3d at 378 (quoting Fitzgibbon, 911 F.2d at 765); James

Madison Project v. DOJ, No. CV 17-1392 (ABJ), 2018 WL 4283562, at *6 (D.D.C. Sept. 7,

2018). “Prior disclosure of similar information does not suffice; instead, the specific information

sought by the plaintiff must already be in the public domain by official disclosure. This

insistence on exactitude [by the D.C. Circuit] recognizes ‘the Government’s vital interest in

information relating to national security and foreign affairs.” Id. (quoting Pub. Citizen v. Dep’t

of State, 11 F.3d 198, 203 (D.C. Cir. 1993)); Competitive Enter. Inst., 78 F. Supp. 3d at 54

(“Plaintiffs in this case must therefore point to specific information in the public domain

establishing that the NSA has [the claimed information.]”). The information already released

must also be of the same level of generality as the information sought—broadly crafted

disclosures, even on the same general topic, do not waive the Glomar response. See, e.g., Afshar,
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702 F.2d at 1133 (previous disclosure that plaintiff had “‘created a problem’ in U.S.-Iranian

relations” was too general to justify releasing documents detailing the nature of that problem).

       “Second, the information requested must match the information previously disclosed.”

Wolf, 473 F.3d at 378 (quoting Fitzgibbon, 911 F.2d at 765). If there are “substantive

differences” between the two, an official-acknowledgment claim must fail. ACLU v. DOD, 628

F.3d at 621. That is true even if the previous disclosures are on the same topic. See, e.g.,

Competitive Enter. Inst., 78 F. Supp. 3d at 57 (a Presidential statement that “the intelligence

community . . . is looking at phone numbers and durations of calls,” was not adequately

congruent with a request seeking the companies that had provided that data to U.S. intelligence

agencies); Wolf, 473 F.3d at 379 (holding that CIA could not claim Glomar protection when it

had previously read excerpts from materials sought into the record during congressional

hearing); James Madison Project v. DOJ, 2018 WL 4283562, at *8-*16 (various Presidential

statements failed to meet matching and specificity requirements).

       “Third, . . . the information requested must already have been made public through an

official and documented disclosure.” Id. at 378 (quoting Fitzgibbon, 911 F.2d at 765). Key to

this element is that the source must be official; non-governmental releases, or anonymous leaks

by government officials or former government officials do not qualify. See, e.g., ACLU v. Dep’t

of Defense, 628 F.3d at 621-22; Agility Public Warehousing Co. K.S.C., 113 F. Supp. 3d at 330

n.8; Competitive Enter. Inst., 78 F. Supp. 3d at 55. In other words, “mere public speculation, no

matter how widespread,” cannot undermine the agency’s Glomar prerogative. Wolf, 473 F.3d at

378. And Congressional statements also cannot waive Executive Branch classification or other

Exemptions. See Military Audit Project, 656 F.2d at 742-745; see also Moore v. CIA, 666 F.3d

1330, 1333 n.4 (D.C. Cir. 2011) (“[W]e do not deem ‘official’ a disclosure made by someone

other than the agency from which the information is being sought.”).
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        Plaintiffs cannot meet their burden of pointing to an official disclosure of the information

they seek. The declarations establish that no authorized government official has disclosed the

precise information withheld and that the declarants carefully considered the known public

information related to this issue. See 3rd Hardy Decl. ¶¶ 23-27, 31-32, 134, 143; Findlay Decl. ¶

23.

        The Amended Complaint cites a number of public statements that Plaintiffs allege

constitute official acknowledgement of properly classified facts. See Am. Compl. ¶ 11 (“The

comments of President Trump and Press Secretary Sean Spicer constitute prior official disclosure

of the existence of surveillance orders issued by the FISC and that authorized collection of

information that, at a minimum, incidentally implicated President Trump and/or his associates.

This lawsuit ultimately will seek to determine the circumstances in which specific

surveillance/collection orders were issued by the FISC.”). But these cited public statements

about an investigation and alleged surveillance do not come close to meeting the standard for

official acknowledgement of the information sought by Plaintiffs.

        Plaintiffs appear to rely on President Trump’s four-part post on Twitter on March 4,

2017, discussed supra. See https://twitter.com/realDonaldTrump; see also Am. Compl. ¶ 7; 3rd

Hardy Decl. ¶ 26; Findlay Decl. ¶ 8. As discussed above, DOJ – through the testimony of then-

FBI Director James Comey – has confirmed that it has no records that support this statement.

Hardy Decl. ¶ 26; Findlay Decl. ¶ 8 & Ex. E. 10



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  In any event, this series of tweets contains a constellation of specific opinions and allegations
regarding wiretapping, including that (1) his phones were tapped; (2) at Trump Tower; (3) in
October just prior to the election; (4) by the Obama Administration; and (5) that such actions
were comparable to “Nixon/Watergate.” Nowhere do these tweets mention FISA, the FISC, any
targets other than President Trump, or the involvement of DOJ or FBI. Moreover, the statements
are limited to a particular time, a particular target, and a particular place, in contrast to Plaintiffs’
FOIA request. Thus, the statements do not match the information sought in this FOIA request.
The follow-up statements to the media by the President or his Press Secretary as cited in the
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       Neither the Complaint nor the request point to any statements that could constitute

official acknowledgment, and the agency has carefully considered the known public information

on this issue. Accordingly, Plaintiffs cannot establish official acknowledgment.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant the Government’s motion for summary

judgment.

Dated: October 19, 2018                             Respectfully Submitted,

                                                    CHAD A. READLER
                                                    Principal Deputy Assistant Attorney General

                                                    MARCIA BERMAN
                                                    Assistant Director, Federal Programs Branch

                                                    /s/Amy E. Powell
                                                    AMY E. POWELL
                                                    Trial Attorney, Federal Programs Branch
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                                                    Email: amy.powell@usdoj.gov




complaint also do not match the specific information sought by Plaintiffs here. Am. Compl. ¶¶
7-11.
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

JAMES MADISON PROJECT, et al.,       )
                                     )
 Plaintiffs,                         )
                                     )
v.                                   )
                                     )                   Case No. 17-597-APM
UNITED STATES DEPARTMENT OF JUSTICE, )
                                     )
 Defendant.                          )
                                     )


 [PROPOSED] ORDER ON DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


Having considered the submissions of the parties, the Court hereby ORDERS that the

Defendant’s Motion for Summary Judgment is GRANTED.



                                                  U.S. DISTRICT COURT JUDGE
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 JAMES MADISON PROJECT, et al
                                                        Civil Action No. l:17-cv-0597-APM
        Plaintiffs,
 V.


 U.S. DEPARTMENT OF JUSTICE, •

        Defendant.




                      (U) THIRD DECLARATION OF DAVID M. HARDY

       (U) I, David M. Hardy, declare as follows:

       (1)     (U) I am the Section Chief of the Record/Information Dissemination Section

("RIDS"), Information Management Division ("IMD"), in Winchester, Virginia.^ I have held

this position since August 1,2002. Prior to myjoining the Federal Bureau of Investigation

("FBI"), from May 1,2001 to July 31,2002,1 was the Assistant Judge Advocate General of the

Navy for Civil Law. In that capacity, I had direct oversight of Freedom of Information Act

("FOIA") policy, procedures, appeals, and litigation for the Navy. From October 1,1980 to

April 30,2001,1 served as a Navy Judge Advocate at various commands and routinely worked

with FOIA matters. I am also an attorney who has been licensed to practice law in the State of

Texas since 1980.


       (2)     (U) In my official capacity as Section Chief of RIDS, I supervise approximately



       ' (U) IMD was formerly known as the Records Management Division, or RMD.
                                                  1



                                                                Classified By:
                                                      Derived From: Multiple Sources
                                                                  Declassify On:    20431231

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242 employees who staff a total of twelve (12) Federal Bureau of Investigation Headquarters

("FBIHQ") units and two (2) field operational service center units whose collective mission is to

effectively plan, develop, direct, and manage responses to requests for access to FBI records and

information pursuant to the FOIA as amended by the OPEN Government Act of 2007, the OPEN

FOIA Act of 2009, and FOIA Improvement Act of 2016; the Privacy Act of 1974; Executive

Order 13526; Presidential, Attorney General, and FBI policies and procedures; judicial

decisions; and Presidential and Congressional directives. My responsibilities also include the

review of FBI information for classification purposes as mandated by Executive Order 13526,

and the preparation of declarations in support of Exemption 1 claims asserted under the FOIA. I

have been designated by the Attorney General of the United States as an original classification

authority and a declassification authority pursuant to Executive Order 13526, §§ 1.3 and 3.1.

The statements contained in this declaration are based upon my personal knowledge, upon

information provided to me in my official capacity, and upon conclusions and determinations

reached and made in accordance therewith.


       (3)     (U) Due to the nature of my official duties, I am familiar with the procedures

followed by the FBI in responding to requests for information fi:om its files pursuant to the

provisions of the FOIA, 5 U.S.C. § 552, and the Privacy Act, 5 U.S.C. § 552a. Specifically, I am

aware of the FBI's handling of plaintiffs James Madison Project ("JMP") and Brad Heath's

FOIA request for three categories of records concerning surveillance under the Foreign

Intelligence Surveillance Act of 1978 ("FISA"), which is at issue in this litigation. In response to

this request, the FBI issued a so-called Glomar response, whereby it neither confirmed nor

denied the existence or non-existence of responsive records. Due to intervening events, the FBI

pierced that Glomar response in a limited fashion, acknowledged the existence of four FISA




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applications and resulting orders regarding Carter Page, and processed those four packages for

release. The FBI retained its Glomar response as to the existence or non-existence of any other

responsive records.

       (4)     (U) The FBI processed 598 pages, which is the totality of the four Page FISA

applications and orders; released five pages in whole and 407 in part, with information redacted

pursuant to FOIA exemptions; and withheld 186 pages in full pursuant to FOIA exemptions.

The FBI relied on the following FOIA exemptions in redacting information or withholding

pages: FOIA Exemptions (b)(1), (b)(3), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and (b)(7)(E).

    5 U.S.C. §§ 552(b)(1), (b)(3), (b)(6), and (b)(7)(A), (C)-(E).

       (5)     (U) This declaration is being submitted in support of DOJ's motion for summary

judgment on the partial Glomar response and on the processing of plaintiffs' FOIA request. It

supplements and incorporates by reference my previous two declarations in this case. See ECF

No. 13-3, Declaration of David M. Hardy (hereafter "First Hardy Deck"), submitted in support

of DOJ's withdrawn motion for summary judgment (ECF No. 13); ECF No. 34-1, Second

Declaration of David M. Hardy (hereafter "Second Hardy Deck"), submitted in support of the

DOJ's Joint Status Report (ECF No. 34).

                             (U) ADMINISTRATIVE fflSTORY

       (6)     (U) Plaintiffs submitted a FOIA request to the FBI dated March 6,2017,

requesting:

               1. Any orders by the FISC authorizing surveillance of and/or collection of
                  information concerning the Trump Organization, President Trump, President
                  Trump's campaign for presidency, or people associated with President Trump.

               2. Any applications to the FISC seeking authorization for surveillance of and/or
                  collection of information concerning the Trump Organization, President
                  Trump, President Trump's campaign for presidency, or people associated with




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                     President Trump.

               3. Any minimization procedures issued by the FISC and that applied to any
                  orders issued that fall within the scope of #1 or #2.

See ECF No. 13-3, First Hardy Decl., at f 5; ECF No. 14, Exhibits to First Hardy Decl.,

Exhibit A.


       (7)     (U)     On April 4,2017, the FBI responded to plaintiffs'request by issuing a

Glomar response and refusing to confirm or deny the existence of responsive records based on

FOIA Exemptions (b)(1), (b)(3), (b)(7)(A), and (b)(7)(E). See ECF No. 13-3, First Hardy

Decl., at ^ 11; ECF No. 14, Exhibits to First Hardy Dec!., Exhibit D.

       (8)     (U) That same day, April 4, 2017, plaintiffs filed their complaint in this case. See

ECF No. 1, Complaint; ECF No. 13-3, First Hardy Decl., at f 12.

       (9)     (U)     On April 15, 2017, plaintiffs filed their amended complaint. ^yeeECFNo.

5, First Amended Complaint; ECF No. 13-3, First Hardy Decl., at ^ 13.

       (10)    (U) As described above, due to events occurring after this lawsuit was filed, the

FBI pierced its Glomar response in a limited fashion and processed four FISA applications and

FISC orders related to Carter Page. On July 20,2018, the FBI released all reasonably

segregable, non-exempt portions of those FISA materials and published them on the FBI's

electronic FOIA reading room at https://vault.fbi.gov/dl-release/dl-release/view. {See also

Exhibit A attached hereto.)

              (U) CARTER PAGE FISA APPLICATIONS AND FISC ORDERS

                                        (U) Background

       (11)    (U) The Foreign Intelligence Surveillance Act of 1978, or FISA, establishes

procedures for the physical search, electronic surveillance, and collection of "foreign intelligence




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information" between "foreign powers" and "agents of foreign powers" suspected of espionage

or terrorism. 50 U.S.C. § 1801(b). The statute also createdthe FISC to overseerequests for

surveillancewarrants by federal law enforcement and intelligence agencies.

        (12)     (U) The FISC meets in secret, and approves or denies requests for search

warrants. Proceedings before the FISC are generally exparte and non-adversarial. But see 50

U.S.C. § 1803(i)(2)(A). The court hears evidence presented solely by DOJ, and unlikemost

opinions rendered by otherFederal courts, there is no provision for the publication or release of

FISC opinions orother information regarding FISC hearings.^
        (13)     (U) FISA is, itself, an intelligence method and details of its use are classified, and

prohibited from disclosure underthe National Security Act of 1947, 50 U.S.C. §

3024(i)(l). Speeifieally, the identity of a target of a FISA application/warrant is a classified fact,

as are the dates of FISA authorized surveillance, the types and locations of authorized

surveillance methods and tools, and other details about the authorized surveillance. Accordingly,

FISA applicationspreviously have never been disclosed publicly, including under the FOIA or

through IC transparency efforts. The disclosure of the four Carter Page FISA applications is

unprecedented.

        (14)     (U) In July 2016, the FBI opened an investigation of "the Russian government's

efforts to interfere in the 2016 Presidential eIection[.]"^ As part of this investigation, in October


        ^ (U) Under some circumstances, certain FISC opinions and orders have been released in response to
FOIA requests or as part of Intelligence Community ("IC") transparency efforts. See 50 U.S.C. § 1872.

         ^ (U) On March 20,2017, then-FBI Director James B. Comey publicly confirmed the existence of this
investigation in testimony before Congress, stating "that the FBI, as part of our counterintelligence mission, is
investigating the Russian government's efforts to interfere in the 2016 presidential election, and that includes
investigating the nature of any links between individuals associated with the Trump campaign and the Russian
government and whether there was any coordination between the campaign and Russia's efforts." Statement Before
the House Permanent Select Committee on Intelligence, available at https://www.fbi.gov/news/testimony/hpsci-
hearing-titled-russian-active-measures-investigation).




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2016, the FBI first sought and obtained a PISA warrant to conduct surveillance on Carter

Page. Like any other FISA application and resulting order, the existence of the Carter Page

FISA was a classified fact. The Government thereafter sought and obtained three renewals from

the FISC to continue surveilling Page. The existence of each of those applications and resulting

orders was also classified.


       (15)    (U) Separately, in March 2017, the House Permanent Select Committee on

Intelligence ("HPSCl") announced an investigation into "the Russian active measures campaign

targeting the 2016 U.S. election." See https://intelIigence.house.gov/news/

doeumentsingle.aspx?DocumentlD=767. Although not originally part of the scope of that

investigation, HPSCl added additional areas of inquiry, including the purported abuse of FISA.

See https://intelligence.house.gov/uploadedfiles/hpsci_russia_investigation_one_page_summary.

pdf. As part of its investigation, HPSCl sought and was ultimately provided access to the Carter

Page FISA applications and orders.

       (16)    (U) On May 17, 2017, Acting Attorney General Rod Rosenstein appointed

Robert S. Mueller as Special Counsel. See DOJ Order No. 2915-2017 (May 17, 2017). Under

the terms of his appointment, Special Counsel Mueller is authorized to "conduct the investigation

confirmed by then-FBI Director James B. Comey in testimony before the House Permanent

Select Committee on Intelligence on March 20,2017, including (i) any links and/or coordination

between the Russian government and individuals associated with the campaign of President

Donald Trump; and (ii) any matters that arose or may arise directly from the investigation; and

(iii) any other matters within the scope of 28 C.F.R. § 600.4(a)." The FBI's FISA authorized

stirveillance on Page continued after the Special Counsel was appointed.

       (17)    (U) InFebruary2018, the HPSCl Majority and Minority issued two memoranda




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regarding HPSCI's Russia investigation, which are oftencolloquially referred to by the names of

the HPSCI Chairman and Ranking Member - /.e., as the "Nunes Memo" and the "Schiff

Memo." As originally drafted, both memoranda were classified because they revealed FISA

authorized surveillance on an identified target - Carter Page.'^

         (18)     (U) HPSCI voted to release the Nunes Memo publiclybut could not immediately

do so because it was classified at the Top Secret level. Thus, pursuant to clause 11(g) of Rule X

of the Houseof Representatives, HPSCI forwarded the Nunes Memo to President Trump with a

request to declassify it. The declassificationrequest did not ask the President to opine on the

judgments and conclusions of the HPSCI Majority.

         (19)     (U) OnFebruary2, 2018, President Trump declassified the Nunes Memo "in

light of the significant public interest in the memorandum." See Letter from Donald F. McGahn

II, Counsel to the President, to Devin Nunes, Chairman of HPSCI (Feb. 2, 2018). HPSCI

thereafter publicly released the Nunes Memo with a cover letter authored by Mr. McGahn

documenting the President's action (which was also noted on the Nunes Memo itself with a

stamp stating "Declassified by order of the President February 2, 2018"). Mr. McGahn's cover

letter made it "clear [that] the Memorandum reflects the judgments of its congressional authors."

     https://docs.house.gOv/meetings/IG/IG00/20180129/106822/HMTG-115-IG00-20180129-

SD001.pdf.

         (20)      (U) Subsequently, the HPSCI Minority submitted the Schiff Memo to DOJ,



         * (U) Under classification rules, an entire documentis classifiedif any single piece of information in it is
classified. So, for example, an entire document is classified as Top Secret if it contains any Top Secret information,
even if it also contains Secret, Confidential, or unclassified information. Moreover, information that by itself is
unclassified can become classified when combined or associated with other unclassified or classified information, if
the compiled information reveals an association or relationship that meets the standards and criteria for classification
(/.e., when disclosure of the compiled information would, itself, reveal classified information).




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asking for a classification review. The FBI conducted the review requested by the HPSCI

Minority and identified those portions of the SchiffMemo that contained classified information

unaffected by the President's declassification ofthe Nunes Memo.^
        (21)     (U) The FBI did not declassify any additional information during the review of

the Schiff Memo, nor did the HPSCI Minority request any further declassification. Rather, the

FBI conducted a review to identify what information remained classified, in light of the

President's declassification of the Nunes Memo. The HPSCI Minority redacted those portions of

the Schiff Memo that the FBI identified as classified, and then released the redacted

memorandum. See https://docs.house.gOv/meetings/ig/ig00/20180205/106838/hmtg-l 15-igOO-

20180205-sd002.pdf.

         (22)     (U) As with the HPSCI Majority, the HPSCI Minority did not ask the FBI to

opine on their judgment or conclusions, and the FBI did not do so. And as with the Nunes

Memo, the Schiff Memo reflects thejudgments of its congressional authors.®

         (23)     (U) Although DOJ and the FBI had previously and properly refused to confirm or

deny the existence of any records responsive to plaintiffs request on the grounds that doing so

could reasonably be expected to reveal classified information, among other things, the




        ^ (U) The President's declassification of the Nunes Memo resultedonly in the declassification of the
classified information contained in that memorandum. It did not broadly declassify all information contained in or
related to the Carter Page FISA applications and orders.

        ®(U) On January 4,2018, Senators Grassley and Graham referred to DOJ their allegations that
Christopher Steele had violated 18 U.S.C. § 1001. The referral memorandum referenced the Page FISA
applications/orders and identified Steele, a classified intelligence source. Thus, the memorandum was classified.
After the declassification of the Nunes Memo and the release of the Nunes and Schiff Memos, the FBI was asked to
conduct a classification review of the referral memorandum so that the Senate could publicly release it. The FBI
conducted that classification review and identified the portions that remained classified following the
declassification of the Nunes Memo. The memorandum reflects the Senators' judgments and conclusions; they did
not ask the FBI to opine on them and the FBI did not do so as part of its classification review.




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President's declassification of the existence of the Carter Page FISA applications and orders,

through his declassification of the Nunes Memo, pierced that Glomar response as to the four

FISA applications and resulting orders referenced intheNunes Memo.^
         (24)     (U) As a result of the President's declassification of the existence of four Carter

Page FISA applications and orders, DOJ and the FBI undertook a FOIA review of the four sets

of applications and orders to determine whether any information necessarily had to be disclosed

in light of the President's declassification order. On July 20,2018, the FBI produced all

reasonably segregable, non-exempt portions of those four FISA packages in response to

plaintiffs FOIA request at issue in this case, among others.^

         (25)     (U) Substantial portions of the Page FISA materials remain classified; the

President's declassification of the Nunes Memo resulted in the declassification of a relatively

limited amount of information. Thus, the information that remains classified was protected

pursuant to FOIA Exemption (b)(1), 5 U.S.C. § 552(b)(1). Furthermore, as previously noted, the

materials contain investigative information relevant to the pending investigation into Russia's

interference in the 2016 Presidential election. Disclosure of this withheld relevant information


(none of which exactly matches that disclosed in the Nunes, Schiff, or Grassley/Graham Memos)

could reasonably be expected to interfere with this active and pending investigation.^ See 5


         ' (U) The NunesMemo referencedan initial FISA application and order from October2016, and three
renewals thereafter.


         ®(U) Because the FBI received morethan threerequests to whichthe CarterPageFISApackages were
responsive, the records were posted to The Vault, the FBI electronic reading room, on July 21,2018. See 5 U.S.C. §
552(a)(2)(D)(ii)(n).

         ^ (U) While the three Congressional memoranda each reflect statements by theLegislative Branch, notthe
Executive Branch, in light ofthe President's actions with respect to the Congressional memoranda, the FBI
identified and released any information contained in the four Page FISA packagesthat matchedinformation released
in the Congressional memoranda.




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U.S.C. § 552(b)(7)(A). The FISA packages also contain information from and about intelligence

sources, and detailed information about intelligence methods, including non-public information

about FISA surveillance. This information was also protected. See 5 U.S.C. §§ 552(b)(3),

(b)(7)(D), (b)(7)(E). Finally, these documents contain personally-identifying information about

DOJ and FBI personnel and other third parties, which was withheld pursuant to the FOIA. See 5

U.S.C. §§ 552(b)(6), (b)(7)(C).

       (26)    (U) Plaintiffs request is broader than the four acknowledged applications and

resulting orders, however. As discussed further below, the FBI's original Glomar response was

pierced only in a very limited fashion for those four acknowledged applications and resulting

orders. It remains in place as to any other responsive applications and orders, with one other

exception. Specifically, on March 20, 2017, then FBI Director James B. Comey specifically

addressed President Trump's four-part post on Twitter on March 4,2017 that President Obama

had had President Trump's '"wires tapped' in Trump Tower just before the victory," stating:

               With respect to the President's tweets about alleged wiretapping
               directed at him by the prior administration, I have no information
               that supports those tweets and we have looked carefully inside the
               FBI. The Department of Justice has asked me to share with you
               that the answer is the same for the Department of Justice and all its
               components. The Department has no information that supports
               those tweets.


See Transcript of the House Permanent Select Committee on Intelligence Hearing on Russian

Interference in the 2016 U.S. Election, March 20, 2017. https://www.washingtonpost.com/news/

post-politics/wp/2017/03/20/full-transcript-fbi-director-james-comey-testifies-on-russian-

interference-in-2016-election/?utm_term=.b9fl9a0cf9cf (last access 6/12/2017).

       (27)   (U) Aside from this statement and the acknowledgment of the four Page FISA

applications and accompanying FISC orders, neitherthe FBI nor DOJ have publicly commented

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on or acknowledged the existence or non-existence of any other FISA records within the scope

of plaintiffs FOIA request, and the FBI's Glomar response remains intact as to the existence or

non-existence of any other responsive records.

                                             (U) Search

        (28)    (U) In most instances, when searching for records to respond to a FOIA request,

RIDS's first step is to conduct a search of the FBI's Central Records System ("CRS"). Such a

search was not necessary here. In this case, a known universe of responsive records was

revealed through the release of the Nunes and Schiff Memos. Specifically, the memoranda

revealed the existence of four FISA applications submitted for surveillance on Carter Page,

starting in October 2016 and continuing through three renewals, with accompanying FISA

orders. FBI FOIA personnel consulted with FBI personnel familiar with the Russia

investigation to locate the four Page FISA packages. Through these efforts, the FBI was able to

locate each of the four packages. At the same time, the FBI also contacted DOJ's National

Security Division ("NSD"), which represents the Government before the FISC, to obtain copies

of all four applications that NSD had submitted to the FISC and all accompanying orders on the

applications. NSD provided the FBI copies of all four packages for processing. The FBI then

confirmed that between its records and the NSD records, it had complete copies of each of the

four FISA packages on Carter Page that had been revealed by the Nunes and Schiff Memos.

        (29)    (U) With regard to Item 2 of plaintiffs' request, the FBI interpreted this to include

the four final applications actually submitted to the FISC seeking authorization for surveillance

of Carter Page, which resulted in orders from the FISC authorizing surveillance. The FBI did not

interpret Item 2 to include all versions or drafts of those applications, as plaintiffs did not

specifically reference other versions or drafts.


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          (30)   (tJ) With regard to Item 3 of plaintiffs' request, a separate search was not

required because the minimization procedures that DOJ proposed and that the FISC ordered with

regard to the Page surveillance are included within the four applications and resulting FISC

orders.


                                        (U) FOIA Exemptions

          (31)   (U) The FBI carefully reviewed, processed, released to plaintiff (and others), and

posted to The Vault all non-exempt portions of the four Page FISA packages (applications and

orders) that were revealed in the Nunes Memo.^° In conjunction with DOJ, the FBI conducted a

thorough review of each page and redacted information or withheld pages in full pursuant to

FOIA Exemptions (b)(1), (b)(3), (b)(6), (b)(7)(A), (b)(7)(C), (b)(7)(D), and (b)(7)(E).

          (32)   (U) Every effort was made to provide plaintiff with all material in the public

domain and with all reasonably segregable portions of non-exempt material. No reasonably

segregable, non-exempt portions have been withheld. To further describe the information

withheld could reveal the very material which the FBI seeks to protect.

          (33)   (U) On the pages released to plaintiff, each redaction is marked by two pieces of

information: a FOIA exemption (e.g.^ "(b)(6)") and a code (e.g., "-1"). The FOIA exemption

marking shows that the redaction contains information determined to be exempt under that

particular exemption. The code corresponds to a particular category of information determined

to be exempt. For example, where "(b)(6)-r' appears on a document, it signals that the FBI

relied on FOIA Exemption (b)(6), which protects against unwarranted invasions of personal




             (U) Thereleased pages are Bates numbered "17-cv-597(FBl)-l" through "17-cv-597(FBl}-412." A
chart identifying which exemptions were cited on which pages is attachedhereto as Exhibit B.

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privacy, to protect a particular category of information - i. e., the names and/or other identifying
information of FBI Special Agents or Support Personnel.

       (34)      (U) A key to the coding system applied to the Carter Page FISA records follows:


 Exemptions and
                             Category Description
 Coded Categories
 Exemption (b)(1)            ClassiHed Information
                             Information properly classified by an FBI Original Classification
 (b)(i)-i
                             Authority pursuant to Executive Order 13526
 Exemption (b)f3)            Information Protected by Statute
                             Intelligence sources and methods, prohibited from disclosure by the
 (b)(3)-l
                             National Security Act of 1947, 50 U.S.C. § 3024(i)(l)
 Exemptions (b)(6)
                             Unwarranted Invasions of Personal Privacy
 and (b)(7)(C)
 (b)(6)-l                    Names of FBI Special Agents
 (b)(7)(C)-l
 (b)(6)-2                    Personally-identifying and other non-public information about
 (b)(7)(C)-2                 Carter Page
 (b)(6)-3                    Names of and/or other information about one FISC employee and
 (b)(7)(C)-3                 one NSD employee
 (b)(6)-4                    Information sufficient to identify a third party who was a source of
 (b)(7)(C)-4                 information relied upon in the Carter Page FISA applications
 Exemption (b)(7)(A)         Pending Enforcement Proceedings
 (b)(7)(A)-1                 Information which, if disclosed, could reasonably be expected to
                             interfere with the pending Russia investigation
 Exemption (b)(7)(D)         Confidential Source Information
 (b)(7)(D)-1                 Names of or other identifying information about individuals who
                             provided information under an express assurance of confidentiality,
                             and any information that they provided
 Exemption (b)(7)(E)         Investigative Techniques and Procedures
 (b)(7)(E)-l                 Information revealing the investigative focus of an investigation
 (b)(7)(E)-2                 Information about the collection and/or analysis of information
 (b)(7)(E)-3                 Information that would reveal the specific techniques authorized
                             for and used in national security investigations
 (b)(7)(E)-4                 Information about specific databases utilized by the FBI for
                             investigative and law enforcement purposes
 (b)(7)(E)-5                 Information about monetary payments in relation to utilization of
                             investigative techniques, such as the payment of confidential
                             human sources
 (b)(7)(E)-6                 Information about the targets, dates, and scope of surveillance



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 Exemptions and
                             Category Description
 Coded Categories
 (b)(7)(E)-7                 Information that would reveal the dates and types of investigations
                             {i.e., preliminary investigations, full investigations)
 (b)(7)(E)-8                 Information that would reveal investigative strategies for utilizing
                             particular evidence

                          (U) Exemption (b)(1) - Classified Information

       (35)    (U) Given that FISA applications and orders, by their nature, containsensitive

classified intelligence information, and given that the declassification of the Nunes Memo did

not impact all information in the four Page FISA packages, it should be unsurprising that the FBI

protected a relatively significant amount of information under Exemption (b)(1) here.

        (36)   (U) Exemption (b)(1) protects from disclosure records that are (A) specifically

authorized under criteria established by an Executive Order to be kept secret in the interest of

national defense or foreign policy; and (B) in fact properly classified pursuant to such Executive

Order. 5 U.S.C. § 552(b)(1).

        (37)    (U) The FBI's analysis of whether Exemption (b)(1) permits the withholding of

agency information consists of two significant steps. The FBI must determine first whether the

information contained in the records qualifies for classification under the applicable Executive

Order governing classification and protection of national security information, and second

whether the information actually has been classified in compliance with the various substantive

and procedural criteria of the Executive Order.

        (38)   (U) E.O. 13526 presently governs the classification and protection of information

that affects the national security {i.e., "the national defense or foreign relations of the United

States," § 6.1(cc)), and prescribes the various substantive and procedural criteria for classifying

information. I am bound by its requirements when making classification determinations.



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       (39)      (U) For information to be properly classified, andthus properly withheld

pursuantto Exemption (b)(1), the information must meet the substantive requirements set forth

inE.O. 13526 § 1.1(a), which requires:

                 (1)    an original classification authority must have classified the information;

                 (2)    the information must be owned by, produced by or for, or be under the
                        control of the United States Government;

                 (3)    the information must fall within one or more of the categories of
                        information listed in § 1.4 of [the] order; and

                 (4)    the original classification authority must determine that the unauthorized
                        disclosure of the information reasonably could be expected to result in
                        damage to the national security, which includes defense against
                        transnational terrorism, and the.original classification authority must be
                        able to identify or describe the damage.

       (40)      (U) The information covered by Exemption (b)(1) here is under the control of the

United States Government, falls within applicable categories of E.G. 13526 § 1.4, and requires a

classification marking at the TOP SECRET level because unauthorized disclosure of this

information could reasonably be expected to cause exceptionally grave damage to the national

security, or at the SECRET level because the unauthorized disclosure of this information

reasonably could be expected to cause serious damage to the national security. See E.G. 13526 §

1.2(a)(l)-(2).

       (41)      (U) In addition to these substantive requirements, certain procedural and

administrative requirements set forth in E.G. 13526 must be followed before information can be

considered to be properly classified, such as proper identification and marking of documents.

Specifically, E.G. 13526 requires that:

                 (a)    Each document was marked as required and stamped with the proper
                        classification designation. SeeE.O. 13526 § 1.6(a)(1) - (5).

                 (b)    Each document was marked to indicate clearly which portions are


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                     . classified and which portions are exempt from declassification as set forth
                       inE.O. 13526 § 1.5(b). See E.O. 13526 § 1.6(a)(5)(c).

               (c)     The prohibitions and limitations on classification specified in E.O. 13526
                       § 1.7 were followed.

               (d)     The declassification policies set forth in E.O. 13526 §§ 3.1 and 3.3 were
                       followed.


               (e)     Any reasonably segregable portions of these classified documents that did
                       not meet the standards for classification under E.O. 13526 were
                       declassified and marked for release, unless withholding was otherwise
                       warranted under applicable law.

       (42)    (U) With the above requirements in mind, I determined that the information

protected pursuant to Exemption (b)(1) in the four Page EISA applications and accompanying

orders is currently and properly classified at the TOP SECRET or SECRET level pursuant to

E.O. 13526, and satisfies both the procedural and substantive requirements set forth in the

Executive Order.


       (43)    (U) Specifically, this information is owned by, was produced by or for, and is

under the control of the U.S. Government; was classified by an original classification authority;

meets all of the procedural requirements of E.O. 13526; and warrants classification at the TOP

SECRET or SECRET level to protect "intelligence activities (including covert action),

intelligence sources or methods, or cryptology," see E.O. 13526 § 1.4(c), and "foreign relations

or foreign activities of the United States, including confidential sources," see E.O. 13526 §

1.4(d), because unauthorized disclosure of this information could be expected to cause

exceptionally grave damage to national security (for information classified at the TOP SECRET

level) or serious damage to national security (for information classified at the SECRET level).

This is discussed further below.


       (44)    (U) I examined the information protected in this case pursuant to Exemption


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(b)(1) in light of the body of information available to me concerning the national defense and

foreign relations of the United States. This information was not examined in isolation. Instead,

it was evaluated with carefiil consideration given to the impact that its disclosure could have on

other sensitive information contained elsewhere in the United States Intelligence Community's

files. Equal consideration was given to the impact that other information - both in the public

domain and likely known or suspected by present or potential adversaries of the United States -

would have upon the information protected here.

       (45)     (U) The justifications for protecting classified information here were prepared

with the intent that they be read with consideration given to the context in which the classified

information is found. This context includes not only the surrounding unclassified information,

but also other information already in the public domain, as well as information likely known or

suspected by other hostile intelligence entities. It is my judgment that any greater specificity in

the descriptions and justifications set forth with respect to information relating to intelligence

activities, sources, and methods and foreign relations/activities of the United States could

reasonably be expected to harm interests that FOIA exemptions wete designed to protect.

              (U) E.0.13526 § 1.4(c) - Intelligence Activities, Sources and Methods

                                           (U) Overview

       (46)     (U) E.G. 13526 § 1.4(c) authorizes the classification of "intelligence activities

(including covert action), intelligence sources or methods, or cryptology." An intelligence

activity, source, or method includes any intelligence action or technique utilized by the FBI

against a targeted individual or organization that has been determined to be of national security

interest, and includes any procedure (human or non-human) utilized to obtain information

concerning such individual or organization. An intelligence activity, source, or method has two


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characteristics. First, the intelligence activity, source, or method, and information generated by

it, is needed by United States Intelligence/Counterintelligence agencies to carry out their

missions. Second, confidentiality must be maintained with respect to the use or non-use of the

activity, source, or method, including intelligence sources, if the viability, productivity, and

usefulness of the activity, source, and method are to be preserved.

       (47)    (U) Intelligence activities, sources, and methods must be protected from

disclosure in every situation in which a certain intelligence capability, technique, or interest - or

its specific use - is unknown to the groups against which it is deployed, since those groups could

take countermeasures to nullify its effectiveness. Intelligence activities, sources, and methods

are valuable only so long as they remain unknown and unsuspected. Once an intelligence

activity, source, or method - or the fact of its use or non-use in a certain situation - is discovered,

its continued successful use is seriously jeopardized.

       (48)    (U) Moreover, the U.S. Government must do more than prevent explicit

references to intelligence activities, sources, and methods; it must also prevent indirect

references to them. One vehicle for gathering information about the U.S. Government's

capabilities is by reviewing officially-released information. We know that terrorist organizations

and other hostile or Foreign Intelligence groups have the capacity and ability to gather

information from myriad sources, analyze it, and deduce means and methods from disparate

details to defeat the U.S. Government's collection efforts. Thus, even seemingly innocuous,

indirect references to an intelligence activity, source, or method could have significant adverse

effects when juxtaposed with other publicly-available data. •

                            (U) Information Protected In This Case

       (49)    (U) As discussed below, information withheld under Exemption (b)(1) in


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conjunction with E.O. 13526 § 1.4(c) would, if disclosed, reveal otherwise non-public

information regarding: the FBI's intelligence interests, priorities, activities, and methods;

undisclosed intelligence sources or methods upon which the FBI relied in support of its

application for FISA authorized surveillance of Carter Page, as well as undisclosed portions of

intelligence information provided by Source #1; and information about the use and

implementationof various intelligence methods, including the specific details of the surveillance

of Carter Page authorized by the FISC via the four applications and orders publicly revealed in

the HSPCI memoranda. All of this information is highly desired by hostile actors who seek to

thwart,the FBI's intelligence-gathering mission.

                            (U) Intelligence Activities and Methods

       (50)    (U) In the four Page FISA applications and accompanying orders, the FBI

protected details about intelligence activities undertaken by the FBI and the methods utilized

during those intelligence activities. This information includes the details about the FISA

surveillance sought and obtained through the four Page FISA applications and accompanying

orders, but also includes information about other intelligence activities and methods utilized by

the FBI that were included in the responsive records.

       (51)    (U) With regard to the FISA surveillance of Page, the withheld information

reveals the specific surveillance method(s) sought and authorized by the FISC, including

citations to relevant legal authorities that would reveal the specific method(s) sought or

authorized with respect to a specific individual during a particular timefirame. The withheld

information includes the minimization procedures, which are specifically tied to the particular

surveillancemethods and activities requested by DOJ and authorized by the FISC. Using the

fourth application and resulting order as an example, this information was protected on Bates

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pages 17-cv-597(FBI)-361-364 and 404-411.

       (52)   (S//NF)




       (53)   (U) The withheld information also reveals: descriptions of and the particulars

about implementingthe authorized surveillancemethod(s); information that would reveal the




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exact periods ofFISA authorized surveillance''; what information was being sought through the
surveillance; and any information obtained as a result of the EISA-authorized surveillance of

Page included in the second through fourth applications.

        (54)      (S//NF)




        (55)     (S//NF)




            (U) This includes the FISC docket numbers and the specific dates on which coverage was sought and
authorized (including as reflected in the "declassify on" dates in the classification blocks).


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       (56)    (U) The withheld information also reflects intelligence-gathering activities,

including specific intelligence methods used and information obtained in broader contexts.

Using the fourth application and resulting orders as an example, this information was protected

on Bates pages 17-cv-597(FBI)-301-302, 304-308, 311-312, 317-319, 324-325, 353, and386.

       (57)    (U) Finally, the withheld information includes information about Source# Us

intelligence reporting activities and the period of time he served as an intelligence source for the

FBI. While some information about Source #1 has been declassified and disclosed, other .

information remains classified and has not been publicly disclosed. Using the fourth application

and resulting orders as an example, this information was protected on Bates pages 17-cv-

597(FBI)-308-316.

       (58)     (U)' The disclosure of the above-described types of information could reasonably

be expected to cause serious damage to the national security, as it would: (a) reveal actual

intelligence activities undertaken by the FBI, and the methods used in doing so, regarding

specific targets and during specific periods of time; (b) disclose the intelligence-gathering

capabilities of the methods; and (c) provide an assessment of the level of penetration by the FBI

of specific targets during the specific time period. Armed with such information, adversaries,

including hostile foreign governments, could implement actions to thwart the FBI's intelligence

activities and weaken or negate the particular intelligence methods, which would severely disrupt

the FBI's intelligence-gathering capabilities. Accordingly, this information is currently and

properly classified pursuant to E.G. 13526, § 1.4(c) at the SECRET level, and the FBI properly

withheld it imder Exemption (b)(1).

       (59)    (U) The FBI also concluded that the specific amounts of payments made to


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intelligence sources reflected in the records is classified intelligence method information.

Without adequate context, the particular amount paid to a particular intelligence source could be

viewed to suggest the relative voliime of information provided by a particular source, which

could cause individuals who believe they are the subjects of such source reporting to assess the

likelihood that their activities have come to the FBI's attention and then take countermeasures,

destroy or fabricate evidence, or otherwise act in a way to thwart the FBI's intelligence activities.

Moreover, disclosure would reveal non-public information about the level of resources devoted

to particular targets or subject matters. The FBI has limited resources that it must allocate

strategically in order to effectively pursue its intelligence gathering mission. Revealing the

amount of money the FBI has paid to particular intelligence sources and over particular periods

of time would reveal the FBI's level of focus on certain intelligence gathering efforts. Revealing

this level of focus would reveal how the FBI has allocated and is allocating its limited resources.
                                                                            I


If aggregated over time, this information would paint a high-level picture of the resources

devoted to particular threat areas, and reveal where the FBI's strengths and weaknesses lie within

the spectrum of its intelligence-gathering activities. This would give sophisticated adversaries

and hostile governments the information necessary to adjust their activities in accordance with

the FBI's perceived priorities, in order to avoid the FBI's strength areas and exploit its weak

ones. Accordingly, the disclosure of this information could reasonably be expected to cause

serious damage to the national security, and is currently and properly classified pursuant to E.O.

13526, § 1.4(c) at the SECRET level, and the FBI properly withheld it under Exemption (b)(1).

                                    (U) Intelligence Sources

       (60)    (U) An intelligence source who requires continued classification is one that

provided or is currently providing information that pertains to national security matters, the


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disclosure of which could reasonably be expected to result in serious damage to the FBI's

intelligence-gathering capabilities.

       (61)    (U) Although some information about Source #1 and his activities has been

declassified and publicly disclosed, the four Page PISA applications include information about

other intelligence sources. This information, including specific information about the sources

themselves as well as the information they provided, is singular in nature and, if disclosed,

reasonably could be expected to identify the contributing sources.

       (62)     (U) Disclosure of the identities of intelligence sources could reasonably be

expected to jeopardize their livelihoods, their families and other relationships, and even their

lives. Moreover, disclosure of one source can reasonably be expected to cause other current and

potential intelligence sources to fear that their identities will be publicly revealed at some point.

Using the fourth application and resulting orders as an example, this information was protected

on Bates pages 17-cv-597(FBI)-308-319.

       (63)     (U) Thus, the release of source-identifying information can reasonably be

expected to cause damage to the national security by causing current intelligence sources to

cease providing information, and discouraging potential intelligence sources from cooperating

with the FBI for fear their identities would be publicly revealed at some point. Such a source

reaction would eliminate one of the Intelligence Community's most crucial means of collecting

intelligence information and, therefore, severely hamper the FBI's intelligence and investigative

missions. Accordingly, some of the protected intelligence source information here is currently

and properly classified pursuant to E.G. 13526, § 1.4(c) at the TOP SECRET level, for

intelligence source information that could reasonably be expected to cause exceptionally grave

damage to the national security, and some of the protected intelligence source information here is


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currently and properly classified at the SECRET level, for intelligence source information that

could reasonably be expected to cause serious damage to the national security. The FBI properly

withheld this information under Exemption (b)(l).^^

                 (U) E,0.13526 § L4(d) - Foreign Relations or Foreign Activities

         (64)     (U) E.G. 13526 § 1.4 (d) authorizes the classification of information about

foreign relations or foreign activities of the United States, including confidential sources. Such

information includes information gathered from/with the assistance of and/or about foreign

countries. It is sensitive due in part to the delicate nature of international diplomacy, and must

be handled with care so as not to jeopardize the fragile relationships that exist between the

United States and certain foreign governments.

         (65)    (U) The unauthorized disclosure of information concerning foreign relations Or

foreign activities of the United States can reasonably be expected to lead to diplomatic or

economic retaliation against the United States; the loss of the cooperation and assistance of

friendly nations; or the compromise of cooperative foreign sources, which may jeopardize their

safety and curtail the flow of information from these sources. Due to the nature of the

information here, the FBI carmot provide any more specific details on the public record about its

basis for redacting information pursuant to E.G. 13526, § 1.4(d) and Exemption (b)(1).

However, as the FBI's classified portions of this declaration demonstrate, this information is

currently and properly classified and was appropriately redacted by the FBI.

        (66)     (S//NF)




           (U) The intelligence source information protected in the FISC orders is classified at the SECRET level
only. The FISA applications include information classified at both the SECRET and the TOP SECRET levels.

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        (67)    (U) Thus, the FBI protected such information because, if disclosed, it could

reasonably be expected to cause serious damage to national security. Because this information

remains currently and properly classified, pursuant to E.O. 13526 § 1.4(c), the FBI properly

protected it under Exemption (b)(1).

                    (U) Exemption (b)(3) ~ Information Protected by Statute

       (68)     (U) Exemption (b)(3) protects information that is specifically exempted from

public disclosure by a statute that requires that the matters be withheld from the public in such a

manner as to leave no discretion on the issue, establishes particular criteria for withholding, or

refers to particular types of matters to be withheld. 5 U.S.C. § 552(b)(3)(A). If the non

disclosure statute was enacted after the date of enactment of the OPEN FOIA Act of 2009, it

must specifically cite this paragraph in order for Exemption (b)(3) to apply. Id. at §

552(b)(3)(B).

       (69)     (U) As explained above, the four Page FISA applications and resulting orders,

include information that is classified pursuantto E.G. 13526 § 1.4(c) to protect intelligence

sources and methods, which the FBI has protected under Exemption (b)(1). Those same

intelligence sources and methods are also exempt here under Exemption (b)(3). Specifically,

their disclosure is prohibited pursuant to the National Security Act of 1947, as amended, which

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provides that the Director of National Intelligence (DNI) "shall protect intelligence sources and

methods from unauthorized disclosure." 50 U.S.C. § 3024(i)(l).

       (70)    (U) As relevant to the FBI's application of Exemption (b)(3), the National

Security Act of 1947 was enacted before the date of enactment of the OPEN FOIA Act of 2009,

and on its face, leaves no discretion to agencies about withholding from the public information

about intelligence sources and methods.

       (71)    (U) In order to fulfill its obligation of protecting intelligence sources and

methods, the DNI is authorized to establish and implement guidelines for the Intelligence

Community ("IC") for the classification of information under applicable laws, Executive Orders,

or other Presidential Directives, and for access to and dissemination of intelligence. 50 U.S.C.

§§ 3024(i)(l). The FBI is one of the member agencies comprisingthe IC, and as such must

protect intelligence sources and methods.

       (72)    (U) Accordingly, the information in the Page FISA applications and resulting

FISC orders that reveals intelligence sources and methods is prohibited from disclosure pursuant

to 50 U.S.C. § 3024(i)(l) and thus exempt from disclosure under Exemption (b)(3).

       (73)    (S//NF)




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                     (U) Exemption (b)(7) - Law Enforcement Information

                                          (U) Threshold

       (74)    (U) The first step in applying any of Exemption (b)(7)'ssubparts is to

demonstrate that the records or information at issue were compiled for law enforcement

purposes. 5 U.S.C. § 552(b)(7). Law enforcement agencies such as the FBI must demonstrate

that the records at issue are related to the enforcement of federal laws and that the enforcement


activity is within the law enforcement responsibility of the agency.

       (75)    (U) Pursuant to 28 U.S.C. §§ 533 and 534, Executive Order 12333 as

implemented by the Attorney General's Guidelines for Domestic FBI Operations ("AGG-

DOM"), and 28 C.F.R. § 0.85, the FBI is the primary investigative agency of the federal

government, with authority and responsibility to: investigate all violations of federal law not

exclusively assigned to another agency; conduct investigations and activities to protect the

United States and its people from terrorism and threats to national security; and further the

foreign intelligence objectives of the United States.

       (76)    (U) As discussed previously, and as has been publicly disclosed, in July 2016, the

FBI opened an investigation of the Russian government's efforts to interfere in the 2016 election.


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The FBI sought and obtained a FISA warrant in October 2016 to conduct surveillance of Carter

Page in the course of that investigation. The FBI thereafter sought and obtained three renewals

from the FISC to continue surveilling Page. Those applications were compiled as part of the

FBI's investigation of Russian election interference.

        (77)   (U) The only circumstance under which the FBI can request a FISA order is

when the FBI is conducting an authorized, predicated national security investigation within the

scope of its law enforcement and foreign intelligence responsibilities. The Russia investigation

is clearly within the law enforcement and foreign intelligence responsibilities of the FBI.

Similarly, any records reflecting NSD and FBI's efforts to respond to questions from the FISC

about the application(s) were compiled in furtherance of this law enforcement purpose. Thus,

Exemption (b)(7)'s threshold is easily satisfied here.
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       (78)    (U) In May 2017, the Acting Attorney General appointed Special Counsel Robert

S. Mueller, III and authorized him to conduct the investigation confirmed by then-FBI Director

Comey in Congressional testimony, including "(i) any links and/or coordination between the

Russian government and individuals associated with the campaign of President Donald Trump;

and (ii) any matters that arose or may arise directly from the investigation; and (iii) any other

matters within the scope of 28 C.F.R. § 600.4(a)." DOJ Order No. 3915-2017, Appointment of

Special Counsel to Investigate Russian Interference with the 2016 Presidential Election and

Related Matters (May 17,2017)). In addition, "[i]fthe Special Counsel believes it necessary and

appropriate, the Special Counsel is authorized to prosecute federal crimes arising from the

investigation of these matters." Id.

       (79)    (U) Accordingly, the Page FISA applications and orders are records that were

compiled in partfor law enforcement purposes, and Exemption (b)(7)'s threshold is easily

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satisfied here.


                   (U) Exemption (b)(7)(A) - Pendins EnforcementProceedinss

        (80)      (U) Exemption (b)(7)(A) protects "records or information compiled for law

enforcement purposes [when disclosure] could reasonably be expected to interfere with

enforcement proceedings." 5U.S.C. § 552(b)(7)(A).

        (81)      (U) Thus, to apply Exemption (b)(7)(A), the FBI must establish the existence of a

pending or prospective investigation or other enforcement proceeding and must show a

reasonable expectation that disclosure of the withheld information could interfere with that

proceeding.

        (82)      (U) Here, the enforcement proceeding at risk is the Russian interference

investigation. That investigation is pending as of the date of this filing.

        (83)      (U) The FBI, in consultation with DOJ, concluded that disclosure of a variety of

information in the Page FISA applications and orders could reasonably be expected to interfere

with the pending Russian election interference investigation if publicly disclosed at this time.

        (84)      (U) The FBI is limited in the amount of information it can provide publicly about

how the investigation may be adversely affected by disclosure of this information without the

explanation itself risking harm to the investigation or revealing information exempt under one or

more other exemptions. Although there has been extensive media coverage of the investigation,

that coverage often relies on speculation, assumptions, and anonymous/unnamed sources.

Greater harm to the investigation would result from official disclosures, regardless of whether it

confirmed or refuted widespread media reporting. That is because official disclosure directly

reveals law enforcement activity or lack thereof, removing doubts or ambiguity inherently

present in other reporting.


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        (85)     (U) Broadly speaking, the redacted/withheld portions of the four Page FISA

applications and accompanying orders could reasonably be expectedto adversely affect the

pending investigation by revealing aspects of the investigation that have not previously been

made public; what information or activities are or are not of interestto investigators, and areas

where there may be gaps in the investigators' knowledge about such information/activities that

could be exploited by targets and other adversaries; who investigatorshave already spoken with

or interviewed and what they said (and did not say); and whether particular persons or entities

are or are not of interest in the investigation.

        (86)     (U) Moreover, the FBI has explained herein why particular types of information

contained in the four Page FISA applications and accompanying orders are exempt under other

exemptions because of the harm associated with disclosure. While Exemption (b)(7)(A)

considers the impact on a specific investigation or investigations, the big-picture risks to law

enforcement, national security, and privacy interests addressed by the other exemptions are

relevant here, and indeed are more immediate here.

         (87)    (U) Disclosing information that would identify confidential and/or classified

intelligence sources or other individuals who are or could become witnesses risks their

compromise through efforts to discredit, harass, or even threaten them. This, in turn, creates the

risk of curtailing theirfurther cooperation, which can significantly hamper an investigation.^^

        (88)     (U) Similarly, disclosing the evidence, information, or intelligence (including

source reporting) already obtained by/known to the FBI risks influencing, compromising, or

tainting testimony by other witnesses and/or the fabrication of other information/falsification of


          (U) The harms in disclosing information about and from confidential sources is discussed further in the
Exemption (b)(7)(D) discussion below.


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other testimony for the purpose of countering or undermining the credibility of the evidence,

information, or intelligence already gathered. It would also reveal gaps in the FBI's knowledge

of information, intelligence, or sourcereporting/witness testimony, which risks destruction or

adulteration of evidence or fabrication of false evidence, and attempts to intimidate or

improperly influence potential sources/witnesses.

         (89)     (U) Disclosing the investigative techniques already used in this case during

specific time periodsand regarding specific subjectmatter areas creates a risk of revealing

what investigators already know, what they do not or may not know yet, who is or may be of

interest to investigators, and who may be cooperating in the investigation, which, for all reasons

discussed above^ would adversely affect the investigation. Moreover, providing details about the

use of those techniques risks efforts by targets, subjects, and other adversaries to undermine or

thwart the techniques.

         (90)     (U) Consistent with its standard practices, the FBI and SCO have not publicly

identified the specific scope/focus of, subjects of, witnesses/sources in, or evidence/information

fi-om the pending Russia investigation, beyond the information made public through criminal

justice proceedings. To the extent that information made public in those criminal proceedings




             (U) Included here would be the FISC docket numbers. If aggregated with each other and/or other FISC
docket numbers, they could be used to pinpoint the times of FISA coverage on Page, which creates the risks
discussed here in the Exemption (b)(7)(A) analysis, as well as those in the analysis of Exemption (b)(7)(E), and
particularly category (b)(7)(E)-6, below.

          (U) Disclosing the use of specific techniques during identified timeframes would allow targets and
potential targets to determine the probability that the FBI is aware of particular information likely to be obtained
through such techniques during that time as well as the probability that the FBI may not be aware ofthe information.
Such knowledge could allow targets, potential targets, and others intent on disrupting the investigation to better
target their activities toward, for example, creation or destruction of evidence, fabrication of cover stories,
intimidation of witnesses, etc.

            (U) The risks of circumvention are discussed flirther in the Exemption (b)(7)(E) descriptions below.

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exactly matched information in the four Page FISA packages processed in this case, it was not

redacted. Moreover, while unclear that HSPCI's disclosures of the Nunes and Schiff Memos

legally precluded the FBI's ability to assert FOIA exemptions over matching information in the

four Page FISA packages processed here, the FBI nevertheless did not redact any exactly

matching information. Furthermore, the FBI carefully considered whether to disclose similar

information that was not an exact match to the memoranda, and asserted Exemption (b)(7)(A)

only upon concluding that disclosure of the non-matching information could reasonably be

expected to harm the investigation.

       (91)      (U) For the reasons discussed above, combined with the justifications for

protecting information under the other exemptions discussed herein, the FBI concluded that

disclosure of information marked as "(b)(7)(A)-1" could reasonably be expected to interfere with

the pending investigation. Accordingly, the FBI withheld that information pursuant to

Exemption (b)(7)(A).

              (U) Exemption (b)(7)(C) - Unwarranted Invasions ofPersonal Privacy

       (92)     (U) Exemption (b)(7)(C) exempts from disclosure "records or information

compiled for law enforcement purposes [when disclosure] could reasonably be expected to

constitute an unwarranted invasion of personal privacy." 5 U.S.C. § 552(b)(7)(C).

       (93)     (U) As previously noted in the section of this declaration concerning Exemption

(b)(6), the practice of the FBI is to conjunctively assert Exemptions (b)(6) and (b)(7)(C) as they

provide overlapping protections for personal privacy. Although the balancing test for Exemption

(b)(6) uses a "would constitute a clearly unwarranted invasion of personal privacy" standard, and

the test for Exemption (b)(7)(C) uses the lower standard of "could reasonably be expected to

constitute an unwarranted invasion of personal privacy," the analysis and balancing required by

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both exemptions is sufficiently similar to warrant a consolidated discussion. Each exemption

balances individuals' privacy interests against the public's interest in disclosure.

       (94)    (U) For purposes of both exemptions, a public interest exists only when

information would significantly increase the public's understanding of the FBI's performance of

its mission to protect and defend the United States against terrorist and foreign intelligence

threats; uphold and enforce the criminal laws of the United States; and provide leadership and

criminal justice services to federal, state, municipal, and international agencies and partners.

       (95)    (U) The FBI has relied on Exemptions (b)(6) and (b)(7)(C) here to protect the

names of or information about FBI Special Agents and FISC and NSD employees; information

sufficient to identify a third party who was the source of some information relied upon in the

four Page FISA applications; and certain personally-identifying and other non-public private

information about Carter Page.

(U) (h)(6VmTi(C)-l             FBI Special Agents

       (96)      (U) The FBI withheld the names of the FBI Special Agents who signed the Page

FISA applications processed in response to plaintiffs request. These Special Agents were

assigned to the pending Russia investigation during the period covered by the four Page FISA

applications and are experienced counterintelligence agents.

       (97)    (U) The FBI regularly protects the identities of its Special Agents. FBI agents

have access to information regarding official law enforcement investigations, and therefore may

become targets of harassing inquiries for unauthorized access to information regarding such

investigations if their identities were released. This is particularly true of agents who work

national security cases, including coimterintelligence cases, who have access to some of the most

sensitive and highly classified information possessed by the FBI. Assignments of agents to any


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particular investigation or matter are not by choice. Publicity (adverse or otherwise) regarding a

specific investigation to which they have been assigned may seriouslyprejudice their

effectiveness in conducting other investigations. FBI agents also have privacy interests in being

free from unnecessary, unofficial questioning regarding their conduct in particular investigations,

whether or not they are currently employed by the FBI. For example, an individual investigated

by the FBI may carry a grudge and may seek revenge on the agents involvedin that

investigation.

        (98)     (U) Many of these concerns are heightened when the agents whoseidentities are

protected work counterintelligence cases. The FBI's counterintelligence mission involves

protecting the secrets of the U.S. Intelligence Community from risks of espionage and insider

threats; protecting the nation's critical assets; and countering the activities offoreign spies. FBI

counterintelligence investigations involve significant threats to the national security of the

United States by foreign intelligence services and other hostile government actors. FBI agents

responsible for conducting these investigations can be exposed to real and substantial threats to

their lives and safety, and the FBI's concerns about targets of such investigations holding

grudges against such agents are more acute when those targets are foreign intelligence officers

from hostile governments.

        (99)     (U) Here, the above-described reasons led the FBI to conclude that the Special

Agents whose names are protected here have substantial privacy interests. That determination is

frirther bolstered by the fact that the investigation and specific investigative activity at issue here

are very high-profile and have been the subject of substantial media attention and speculation.

        (100)    (U) In contrast, there is no public interest to be served by disclosing these

employees' identities because they would not, by themselves, significantly increase the public's


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understanding of the FBI's operations and activities with respect to obtaining the four FISA

warrants on Page, the conduct of the Russia investigationwrit large, or any other FBI operations

or activities.


        (101) (U) In the absence of a public interest, the Special Agents' substantial privacy

interests necessarily must prevail under the balancing tests for Exemptions (b)(6) and (b)(7)(C).

Accordingly, the FBI properly protected the names ofitsSpecial Agents.*^

(U) m6Vmn(C)-2                   carter Page

        (102) (U) Whilethe declassification of the Nunes Memo and the release of it and the

Schiff Memo revealed to the public that Carter Page had been the subject of FISC-authorized

surveillance under the FISA, there nevertheless remains information about him contained in the

FISA applications and FISC orders that was not made public and in which he retains a privacy

interest. The FBI cannot publicly describe the nature of the information it has protected without

revealing information that is exempt under these or other cited exemptions.

        (103) (S//NF)




           (U) These Special Agents are non-executive employees.

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       (105) (U) After concluding that Page retains substantial privacy interests in the

redacted information, the FBI considered whether there is any public interest that overrides these

privacy interests. While there is certainly a demonstrated public interest in these FISA

applications, the particular information about Carter Page that has been protected here would not

so significantly increase the public's understanding of the FBI's operations and activities in

relation to obtaining authority from the FISC on four occasions to surveil Page pursuant to the

FISA. Thus, on balance, the FBI concluded that Page's privacy interests outweighed any public

interest in the redacted information.


(U) (h)(6V(b)(7)(C)-3          FISC and NSD Employees

       (106)    (U) The information falling within this category consists of the names and titles

of a FISC deputy clerk and the NSD attorney who signed and submitted the four Page FISA

applications to the FISC. Neither of these employees is an executive-level employee. The FBI

regularly protects the names and identities of employees of other Government agencies or offices

who are identified in FBI law enforcement records. The reasons for doing so are similar to the

FBI's reasons for protecting the identities of its Special Agents as detailed above.


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        (107) (U) Here, the FISC and NSD employees whose identities the FBI protected are in

positions to access highly-sensitive and classified information concerning coimterintelligence

and counterterrorism matters. If their identities were disclosed, they could become targets of

harassing inquiries for unauthorized access to non-public information about the four Page FISAs

specifically, or more generally, non-public information about other FISC matters, FBI

investigations, or 10 intelligence activities to which they may have access. Disclosure of their

identities would also risk hostile action by adverse foreign powers, either by way of revenge or

of actively targeting them in intelligence-gathering operations.

        (108) (U) In contrast, there is no public interest to be served by disclosing these

employees' identities because they would not, by themselves, significantly increase the public's

understanding of the FBI's operations and activities with respect to obtaining the four FISA

warrants on Page, the conduct of the Russia investigation writ large, or other FBI operations or

activities.


        (109) (U) In the absence of a public interest, these employees' substantial privacy

interests necessarily must prevail under the balancing tests for Exemptions (b)(6) and (b)(7)(C).

Accordingly, the FBI properly protected the names and titles of these FISC and NSD

employees.

(U) (b)('6V(b)I7)(0-4             Third Party Who Was a Source of Information Relied Upon in
                                  the Carter Page FISA Applications


        (110) (U) The FBI protected information that would identify an individual who was a

source of information that came into the FBI's possession during a particular phase of the



            (U) Information about the NSD employee was also redacted pursuant to Exemptions (b)(6) and
(b)(7)(C) atNSD's request.



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investigation. This identifying information appears on one page in the third FISA application

and onepage in the fourth FISAapplication.'®

         (111) (U) Individuals identified in FBI investigativematerials have substantialprivacy

interests in not being publicly linked with a sensitive national security investigation. Such public

exposure could subject the individuals to harassment, intimidation, or threats of legal or

economic reprisal; possible physical harm; or even death. These considerations led the FBI to

conclude that this individual has substantial privacy interests here, particularly considering that

the investigation is a sensitive investigation involving the activities of a foreign government and

has received such wide-spread attention. In contrast, the identity of this individual who is

mentioned in a single footnote in two of the applications would not, without more, significantly

increase the public's understanding of FBI operations or activities. Accordingly, the FBI

concluded that this individual's privacy interests outweighed any public interest in his/her

identity, and protected the information under Exemptions (b)(6) and (b)(7)(C).

                      (U) Exemption (b)(7)(D) - Confidential Source Information

         (112) (U) Exemption (b)(7)(D) protects records or information compiled for law

enforcement purposes when disclosure:

                  could reasonably be expected to disclose the identity of a
                  confidential source, including a State, local or foreign agency or
                  authority or any private institution which furnished information on
                  a confidential basis, and, in the case of a record or information
                  compiled by a criminal law enforcement authority in the course of
                  a criminal investigation or by an agency conducting a lawful
                  national security intelligence investigation, information furnished
                  by the confidential source.




            (U) The particular identifying information about this third party is not classified and the individual did
not provide information directly to the FBI as part of its investigation. Accordingly, the FBI has not cited
Exemptions (b)(1) or (b)(7)(D) to protect this particular individual.

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5 U.S.C. § 552(b)(7)(D). Exemption (b)(7)(D) provides categorical protection for the identities

of confidential sources, as well as information provided by such a source in a criminal or

national security investigation. No balancing of interests is required and the public's interest in

the information is not a factor. Rather, once the FBI establishes that the source provided

information under express or implied assurances of confidentiality, the identity of the source and

all information the source provided in a criminal or national security investigation are exempt

under Exemption (b)(7)(D).

       (113) (U) The FBI regularly relies on confidential sources. Confidential sources may

provide information under express assurances of confidentiality, and are "informants" within the

common meaning of the term, although the FBI refers to them as "Confidential Human Sources"

or "CHSs." Alternatively, confidential sources may provide information under circumstances

from which assurances of confidentiality may be inferred. In either situation, these sources are

considered to be confidential because they furnish information only with the understanding that

their identities and the information they provided will not be divulged outside the FBI.

Information provided by these sources is singular in nature, and if released, could reveal their

identities. Sources must feel free to furnish information to the FBI with complete candor and

without the imderstandable tendency to hedge or withhold information because of fear that their

cooperation with the FBI will later be made public and that they may, as a result, face reprisals.

Sources providing information to the FBI should be secure in the knowledge that their assistance

and their identities will be held in confidence.


       (114) (U) The release of a source's identity could forever eliminate that source as a

future means of obtaining information, and also has a chilling effect on the cooperation of other

sources. Revealing the identities of confidential sources risks one of the FBI's most important


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means of collecting infonnation and intelligence, and severely hampers law enforcement efforts

to detect and apprehend individuals engaged in the violation of federal criminal and national

security laws.

       (115) (U) As a result of the declassification of the Nunes Memo, and the release of both

of the HSPCI memoranda, it was publicly revealed that the FBI relied on a confidential and

classified intelligence source, referred to throughout the Page FISA applications as "Source #1

The FBI has not protected information about this source's identity, nor has it protected

information he provided that matches information revealed in the HPSCI memoranda or the

Grassley/Graham letter. The FBI has protected information that would identify the identities of

other confidential sources who provided information or intelligence to the FBI; information

provided by those sources; and information provided by Source #1 that does not match

information revealed in the HPSCI memoranda or the Grassley/Graham letter.

       (116) (U) Source #1 was a code-named CHS for the FBI. By definition, such sources

are confidential. That is, as part of the FBI's protocols for CHSs, they are provided express

assurances of confidentiality. Moreover, Source #1 provided information in furtherance of a

sensitive national security investigation being conducted by the FBI. Accordingly, under the

second clause of Exemption (b)(7)(D), any information he provided is categorically exempt.

Thus, except as to information that matches information revealed in the HPSCI memoranda or

the Grassley/Graham letter, the FBI redacted all information provided by Source #1. Using the

fourth application and resulting orders as an example, this information was protected on Bates

pages 17-cv-597(FBI)-303, 309-310, and 312-317.

       (117) (U) The FISA applications also contain information about and from other sources

who cooperated with and provided information to the FBI under express assurances of


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confidentiality. CHSs are provided express assurances of confidentiality by the FBI.

Accordingly, the FBI concluded that the requirements for expressassurances of confidentiality

had been satisfied here. Further description of the bases for this conclusion as to the FISA

applications cannot be discussed publicly without disclosing information that is exempt under

this or one of the other exemptions cited in relation to this information. However, because these

sources cooperated with and provided information to the FBI in fiirtherance of a national security

(intelligence) investigation under express assurances of confidentiality, the requirements of

Exemption (b)(7)(D) are satisfiedand the FBI properlyprotected information that wouldreveal

the identities of the sources, as well as the information that theyprovided to the FBI. Using the

fourth application and resulting orders as an example, this information was protected on Bates

pages 17-cv-597(FBI)-301-302, 308-311, and 317-318.

       (118) (S//NF)




               (U) Exemption {b){7){E) ~ Investisative Techniques and Procedures

       (119)     (U) Exemption (b)(7)(E) protects "records or information compiled for law

enforcement purposes [when release] would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law." 5 U.S.C. § 552(b)(7)(E). This exemption affords categorical

protection to techniques and procedures used in law enforcement investigations. It protects

techniques and procedures that are not well-known to the public as well as non-public details


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about the use of publicly-known techniques and procedures.

(U) (b)(7)fE1-l            Investigative Focus


         (120) (U) Many investigative steps preceded the FBI's FISA applications; the four

Page FISA applications and orders reveal how the FBI conducted certain aspects of the

investigation to that date and a road-map of certain contemplated investigative steps (i.e., the

requested surveillance). Although the general techniques authorized by the FISA are publicly

known, this detailed information about how, when, where, and why such authorities are

employed in a particular investigation is not publiclyknown. This type of detailedinformation

would be valuable to criminals and adversaries as a guide to adjusting their behaviors, taking

evasive actions, and developing countenneasures to thwart FBI investigations. Accordingly, the

FBI protected this information in the four Page applications.and resulting orders, including in the

minimization procedures, under Exemption (b)(7)(E) in order to the risk of circumvention posed

by disclosure of this information.

(U) (b)(7)(E)-2             Collection and/or Analysis of Information

         (121) (U) Category (b)(7)(E)-2 includes information that reveals the methods used by

the FBI to collect and analyze information it obtains for investigative purposes.

         (122)    (S//NF)




            (U) This information overlaps with the information protected in category (b)(7)(E)-3, which protects
specific investigative techniques authorized and utilized in national security investigations inasmuch as the FBI's
methods for collecting information and the types of techniques it is authorized to use in national security
investigations will, in the context of these records, generally be the same thing. The FBI cited category (b)(7)(E)-3
in every instance that it cited category (b)(7)(E)-2.

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       (123) (U) The release of this information would disclose the methods used in the

collection and analysis of information, including how and from where the FBI collects particular

types of information and the methodologies employed to analyze it once collected. Such

disclosures would enable subjects of FBI investigations to identify when these or similar

currently used techniques are being used and then take evasive actions or countermeasures to

circumvent them. This would diminish the relative utility of these techniques and facilitate the

accumulation of information by investigative subjects regarding the circumstances under which

the specific techniques were used or requested and the usefulness of the information obtained.

Accordingly, to protect the viability of these techniques, the FBI protected this information in the

four Page applications and resulting orders, including in the minimization procedures, under

Exemption (b)(7)(E).

(U) (bV7irEV3          Specific Techniques Authorized for and Used in National Security
                       Investigations


       (124)    (U) The FBI protected information that would reveal the specific techniques that

the FBI is authorized to and in fact uses in national security investigations. In this context, the

techniques were referenced because they were used in the context of this national security

investigation but their disclosure here would also have ramifications for the use of these

techniques in other national security cases. The FBI has a toolbox of investigative techniques

that it uses in national security (counterintelligence and counterterrorism) cases, which overlap in

many respects with its criminal investigative toolbox, although the FBI obviously has one

significant and different tool in the national security toolbox - FISA. This category covers non-



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public information about all of the techniques referenced in the PageFISAapplications and

orders including those that have not been publicly disclosed in relation to investigative actions

taken in this investigation; those that have been publicly disclosed in relation to this

investigation, such as CHSs; and those underthe FISA that the FISC authorized the FBI to use

here. Although techniques authorized by the FISA are publiclyknown, this detailed information

about how, when, where, and why such authorities are employed in a particular investigation is

not publicly known.

        (125)




        (126) (U) Here, the context in which these techniques are discussed reveals details

about when in an investigation a particular technique might be utilized, the types of information

that might be sought via the technique, and the limitations on its use and/or utility; what

techniques might be used in combination; and non-public information about how the techniques

are implemented. When aggregated, as it is here, this information can paint a road-map of how a




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national security, and in particular a counterintelligence, investigation is conducted.^® Disclosure

of such a road-map here and over time would give sophisticated criminals and adversaries the

information necessary to adjust their activities and take effective countermeasures to circumvent

the FBI's investigative and intelligence-gathering efforts. Accordingly, the FBI protected this

information under Exemption (b)(7)(E) here.

(U) (bV71fEV4             Specific Databases Used bv the FBI for Investigative and Law
                          Enforcement Purposes


        (127)     (U) The FBI protected its use of several non-public databases that it relied on to

obtain/confirm information and intelligence gathered in the course of its investigation. These

databases are accessible to law enforcement personnel to conduct queries of or for particular

types of information for law enforcement and intelligence gathering purposes. The databases

protected include those exclusive to the FBI as well as others that are available to other federal

government law enforcement personnel. These databases are essentially "one-stop" shops where

the FBI can query already-gathered information in order to corroborate or refute it, and/or obtain

new or additional information in order to develop investigative leads. It is not publicly known

when and under what circumstances the FBI utilizes these particular databases, particularly in the

context of a national security/counterintelligence investigation. Armed with such information,

spies, criminals, and others intent on avoiding FBI attention could develop coimtermeasures to

avoid detection, which would impede the FBI's ability to effectively conduct national security

and criminal investigations.




            (U) The FISA applications explainthe investigative steps taken prior to seekingFISA coverage, as well
as the information that the FBI was able to obtainusing them, which formedthe probable causenecessaryto obtain
a FISA warrant.


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GJ) (b)(7)(EVS         Monetary Payments in Relation to Utilization of Investigative
                       Techniques


        (128)   (U) The FBI protected specific information about payments to CHSs on two

pages of each FISA application. While it is publicly known that the FBI pays CHSs under some

circumstances, the details of when, for what, and how much CHSs are paid are aspects of this

technique that are not made public, in order to protect the viability of the technique. Without

adequate context, the particular amount paid to a CHS could be viewed to suggest the relative

volume of information provided by a particular CHS, which could cause individuals who believe

they are the subjects of such source reporting to assess the likelihood that their activities have

come to the FBI's attention and then take countermeasures, destroy or fabricate evidence, or

otherwise act in a way to thwart the FBI's activities.

       (129)    (U) Finally, disclosing the amounts paid to CHSs in a particular investigation or

for particular types of information would reveal non-public information about the level of

resources devoted to particular investigations or subject matters. The FBI has limited resources

that it must allocate strategically in order to effectively pursue its law enforcement and

intelligence gathering missions. Revealing the amount of money the FBI has paid to particular

CHSs in particular investigations and over particular periods of time would reveal the FBI's

emphasis on certain investigations or intelligence gathering efforts. Revealing this emphasis

would reveal how the FBI has allocated and is allocating its limited resources. If aggregated

over time, this information would paint a high-level picture of the resources devoted to particular

types of investigations or particular FBI threat areas, and reveal where the FBI's strengths and

weaknesses lie within the spectrum of its intelligence gathering and criminal investigative

activities. This would give sophisticated criminals and adversaries the information necessary to



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adjust their activities in accordance with the FBI's perceived priorities, in order to avoid the FBI

strength areas and exploit the weak ones. Accordingly, the FBI protected payment information

under Exemption (b)(7)(E) in this case.

(U) (bK7KEV6               Targets, Dates, and Scope of Surveillance

         (130) (U) While it is known that the FBI conducts surveillance authorized under the

FISA, as well as other types of authorized surveillance, and while it is known that there was

surveillance conducted here, the details about how the surveillance was implemented

(investigatively and/or technically), the locations targeted by the surveillance, and the specific

time period(s) during which the surveillance was conducted are not public and were not

disclosed in the HPSCI memoranda.^^ These non-public details about the conduct of

surveillance, particularly surveillance authorized under the FISA, are utilized by the FBI in other

current investigations. Disclosure of non-public details about when and how the FBI conducts

surveillance and the circumstances under which the FBI will seek authority to do so would, over

time, create a mosaic that criminals and other adversaries could use to predict when and where

surveillance may occur, detect it when it is occurring, and develop and utilize countermeasures to

defeat or avoid different types of surveillances. Accordingly, the FBI protected this information

under Exemption (b)(7)(E) in the four Page FISA applications and resulting orders, including in .

the minimization procedures, in order to preserve the usefulness and utility of this technique.

(U) (by7)(EI-7             Dates and Types of Investigations

         (131) (tJ) On one page in each of the FISA applications, the FBI protected information



            (U) This includes, for example,the FISC docket numbers, the specificdates that the FISA applications
were filed and orders issued, and the declassification dates in the classification stamps (which can be used to
pinpoint the datesof the applications and orders). All of this information reveals the specific time period(s) under
which the surveillance was conducted.


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that, when referenced in connection with an actual investigation and not in general discussion,

pertains to the type of investigation, whether it is a "preliminary" or "full" investigation, and the

time period of the particular investigation. Disclosure of this information would allow

individuals to know the types of activities that would trigger a full investigation as opposed to a

preliminary investigation and the particular dates that the investigation covers, which would

allow targets to identify what activities might be under investigation and to adjust their behavior

accordingly. Moreover, the knowledge that a specific activity in general warrants investigation

could likewise cause individuals to adjust their conduct to avoid detection. Because disclosure

of this information could reasonably be expected to impede the FBI's effectiveness and

potentially aid in circumvention of the law, the FBI has properly withheld this information

pursuant to Exemption (b)(7)(E). .

(U) (b)C7)(E)-8        Investigative Strategies for Utilizing Particular Evidence

        (132) (U) The FBI protected information, which was repeated in each of the four FISA

applications, that describes a particular purpose for which it might use information gathered as a

result of its FISA authorized surveillance on Page. This information reflects non-public

information about how the FBI investigatively uses information that it gathers during an

investigation. While the particular context here concerns information gathered as a result of its

utilization of FISA, the same potential uses of investigative information could be present in

many other contexts. Publicly disclosing this information would permit targets of FBI

investigative activities to anticipate FBI investigative activities, and this in turn would permit

them to take countermeasures against such activities. This would abrogate the usefulness of

FISA as a technique, at least in this particular and important regard, as well as the investigative

activities that may flow as a result of information obtained under FISA. No further information


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about this category of information or how it falls within Exemption (b)(7)(E) can be made on the

public record without undermining the FBI's assertion of this exemption, as well as Exemptions

(b)(1), (b)(3), and (b)(7)(A), which were also asserted to protect this information.

       (133) (S)




            (U) Segregability Determinations for Released in Part Pages

       (134)    (U) Each page of the four Page EISA applications and accompanying orders was

carefully reviewed by a team of DOJ employees to determine what portions of the pages

contained exempt information requiring redaction pursuant to the FOIA, what portions could be

segregated and released, and what pages did not contain any segregable information and had to

be withheld in full. As part of this review, the employees carefully analyzed all information in

the four Page FISA applications and resulting orders to determine what information has been

revealed through the HPSCI memoranda and/or officially, publicly disclosed, and to ensure that

no information for which FOIA exemptions were or likely have been waived was redacted. A

total of 598 pages of responsive records were carefully reviewed and analyzed, and it was

determined that 412 pages could be released in part and that 186 pages had to be withheld in full,

in order to protect the classified and otherwise exempt information contained therein.

                         (U) Pages Withheld in Full - Page FISAs

       (135) (U) The FBI withheld in full 186 pages associated with the FISA applications and

resulting orders pursuant to Exemptions (b)(1), (b)(3), (b)(7)(A), and (b)(7)(E) (categories 1-3

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and 6)}^ Disclosure of these pages would reveal classified intelligence methods and law

enforcement techniques; however, the FBI cannot publicly describe these pages and the bases for

withholding them any further without revealing information that is itself exempt.

         (136) (S//MF)




         (137)   (S/mP)




            (U) Discrete information in the records would be subject to redaction pursuant Exemptions (b)(6) and
(b)(7)(C), as described in the category (b)(6)/(b)(7)(C)-2 discussion above.

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(139) (S//NF)




(140) (S//MF)




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       (141) (sm¥)




                            (U) PARTIAL GLOMAR RESPONSE

       (142) (U) The FBI relies on a Glomar response in instances in which, assuming that

responsive records existed, even acknowledging their existence would result in harm protected

against by one or more FOIA exemptions. To be credible and effective, the FBI must use a

Glomar response in all similar cases regardless of whether responsive records actually exist,

including instances in which the FBI does not possess records responsive to a particular request.

If the FBI were to invoke a Glomar response only when it actually possessed responsive records,

the Glomar response would be interpreted as an admission that responsive records exist.

       (143) (U) Here, the FBI has determined that merely acknowledging the existence or


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non-existence of any records responsive to plaintiffs request, beyond the four Carter Page FISA

applications and resulting FISC orders, and former Director Comey's March 20,2017 statement

that neither the FBI nor DOJ have any information about the alleged wiretapping referred to in

President Trump's March 4,.2017 tweets, could trigger harm under FOIA exemptions. With

limited exceptions, such as the unique circumstances giving rise to the FBI's processing and

release of the four Page FISA packages, the FBI does not and cannot publicly confirm or deny

FISA coverage on particular individuals or entities, or that FISC orders have been sought or

obtained in the conduct of any particular investigation. As no authorized Executive Branch

official has acknowledged the existence or non-existence of FISA warrants, applications and

orders beyond the four on Carter Page, the FBI's partial Glomar response as to any other

responsive records remains proper.^^

        (144) (U) As an original classification authority, I have determined that the FBI can

neither confirm nor deny whether the FBI maintains responsive records because to do so could

reasonably be expected to compromise national security and/or reveal intelligence activities,

sources, or methods. See 5 U.S.C. §§ 552(b)(1), (b)(3).



           (U) On March 20,2017, then FBI Director James B. Comey specifically addressed President Trump's
four-part post on Twitter on March 4,2017 that President Obama had had President Trump's" 'wires tapped' in
Trump Tower just before the victory," stating:

        With respect to the President's tweets about alleged wiretapping directed at him by the
        prior administration, I have no information that supports those tweets and we have looked
        carefully inside the FBI. The Department of Justice has asked me to share with you that
        the answer is the same for the Department ofJustice and all its components. The
        Department has no information that supports those tweets.

See Transcript of the House Permanent Select Committee on Intelligence Hearing on Russian Interference in the
2016 U.S. Election, March20,2017. https://www.washingtonpost.eom/news/Dost-politics/wp/2017/03/20/full-
transcript-fbi-director-iames-comev-testifies-on-russian-interference-in-2016-election/?utm term=.b9fl9a0cf9cf
(last accessed 6/12/2017). Aside fromthis statementand the acknowledgment of the four Page FISA applications
and accompanying FISC orders,neither the FBI not DOJ have publiclycommented on or acknowledged the
existenceor non-existence of any other FISA records within the scope of plaintiffs FOIA request.

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       (145) (U) Moreover, acknowledging or denying the existence or non-existence of

records could result in harms protected against by FOIA Exemption (b)(7)(A), 5 U.S.C. §

552(b)(7)(A).

                A.     (U) Aspreviouslydescribed, on March 20,2017, then-FBI Director

Comey publicly confirmed the existence of an investigation into Russia's interference in the

2016 Presidential election. See Statement Before the House Permanent Select Committee on

Intelligence, available at https://www.fbi.gov/news/testimonv/hpsci-hearing-titled-russian-active-

measures-investigation'). On May 17, 2017, the Acting Attorney General appointed Special

Counsel Mueller and authorized him to conduct the investigation confirmed by then-FBI

Director Comey on March 20, 2017.       DOJ Order No. 3915-2017, Appointment of Special

Counsel to Investigate Russian Interference with the 2016 Presidential Election and Related

Matters (May 17,2017)).

                B.     (U) As plaintiff specifically requested FISA/FISC records related to

Russian interference in the 2016 election, the FBI cannot confirm or deny the existence or non-

existence of responsive records, beyond those already acknowledged and processed, because that

could reasonably be expected to adversely affect the pending investigation.

       (146) (U) Finally, acknowledging the existence or non-existence of any other

responsive records could reasonably be expected to risk circumvention of the law. See 5 U.S.C.

§ 552(b)(7)(E).

       (U) FOIA Exemption (b)(1) as a Basis for the Partial Glomar Response

       (147) (U) FOIA Exemption (b)(1) protects records that are: "(A) specifically authorized

under criteria established by an Executive order to be kept secret in the interest of national




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defense or foreign policy and (B) are in fact properly classified pursuant to such Executive

order." 5 U.S.C. § 552(b)(1).

       (148) (U) E.0.13526 § 1.1(a) provides that information maybe originally classified

imder the terms of this order only if all of the following conditions are met: (1) an original

classification authority is classifying the information; (2) the information is owned by, produced

by or for, or is under the control of the U.S. Government; (3) the information falls within one or

more of the categories of information listed in § 1.4 of E.G. 13526; and (4) the original

classification authority determines that the unauthorized disclosure of the information reasonably

could be expected to result in some level of damage to the national security, and the original

classification authority is able to identify or describe the damage.

       (149) (U) E.G. 13526 explicitly authorizes precisely the type of response that the FBI

has provided to plaintiff in this case. Specifically, § 3.6(a) provides that "[a]n agency may refuse

to confirm or deny the existence or nonexistence of requested records whenever the fact of their

existence or nonexistence is itself classified under this order or its predecessors."

       (150) (U) Consistent with E.G. 13526 and as described below, I have determined that

acknowledging the existence or nonexistence of the records requested by plaintiff, beyond the

four Carter Page FISA applications and orders discussed in detail above, would require the FBI

to disclose properly classified facts that concern § i.4(c) ("intelligence activities, sources, and

methods") and § 1.4(d) ("foreign relations and foreign activities of the United States").

Moreover, responsive records, if they exist, would be owned by and under the control of the U.S.

Government. Finally, I have determined that acknowledging the existence or non-existence of

the requested records reasonably could be expected to result in damage to national security.




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         (151) (U) My determination that the existence or nonexistence of the requested records

is classified has not been made to conceal violations of law, inefficiency, or administrative error;

to prevent embarrassment to a person, organization, or agency; to restrain competition; or to

prevent or delay the release of information that does not require protection in the interests of

national security

                           (U) Intelligence Activities, Sources, and Methods

         (152) (U) The records requested by plaintiffs, if they exist, implicate classified

intelligence activities and methods, and acknowledging the existence or non-existence of any

such records reasonably can be expected to cause damage to national security. An intelligence

activity or method includes any intelligence action or technique utilized by the FBI against a

targeted individual or organization that has been determined to be of national security interest,

and includes any procedure (human or non-human) utilized to obtain information concerning

such individual or organization. An intelligence activity or method has two characteristics.

First, the intelligence activity or method, and information generated by it, is needed by United

States Intelligence/Counterintelligence agencies to carry out their missions. Second,

confidentiality must be maintained with respect to the use or non-use of the activity or method,

including intelligence sources, if the viability, productivity, and usefulness of the activity,

method, and source are to be preserved.

         (153)    (U) Intelligence activities and methods must be protected from disclosure in

every situation in which a certain intelligence capability, technique, or interest - or its specific




        ^ (U) To the extentpossible on the public record, I haveexplained the harmto national security that
would result from confirming or denying the existence or non-existence responsive records here. If the Court finds
that explanation inadequate, Defendants could offer further explanation exparte and in camera.


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use - is unknown to the groups against which it is deployed, since those groups could take

countermeasures to nullify its effectiveness. Intelligence activities and methods are valuable

only so long as they remain unknown and unsuspected. Once an intelligence activity of method

- or the fact of its use or non-use in a certain situation - is discovered, its continued successful

use is seriously jeopardized.

        (154) (U) The U.S. Government must do more than prevent explicit referencesto an

intelligence activity or method; it must also prevent indirect references to them. One vehicle for

gathering information about the U.S. Government's capabilities is by reviewing officially-

released information. We know that terrorist organizations and other hostile or Foreign

Intelligence groups have the capacity and ability to gather information from myriad sources,

analyze it, and deduce means and methods from disparate details to defeat the U.S.

Government's collection efforts. Thus, even seemingly innocuous, indirect references to an

intelligence activity, source, or method could have significant adverse effects when juxtaposed

with other publicly-available data.

        (155) (U) Here, acknowledging the existence or non-existence of records responsive to

plaintiffs request, beyond the four Carter Page FISA applications and resulting FISC orders, and

former Director Comey's March 20, 2017 statement that neither the FBI nor DOJ have any

information about the alleged wiretapping referred to in President Trump's March 4, 2017

tweets, would be tantamount to confirming whether or not the FBI has relied on a particular

intelligence activity or method targeted at particular individuals or organizations. The FBI has

not confirmed or denied the existence of any other FISA surveillance records responsive to

plaintiffs request. Confirming or denying whether any or not other responsive records exist

would reveal otherwise non-public information regarding the nature of the FBI's intelligence


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interests, priorities, activities, and methods—information that is highly desired by hostile actors

who seek to thwart the FBI's intelligence-gathering mission. Accordingly, to confirm or deny

that the FBI possesses or does not possess records responsive to plaintiffs request could risk

compromising intelligence activities or methods, and thus would pose at least a serious risk to

the national security.^^

                (U) Foreign Relations and Foreign Activities ofthe United States

        (156) (U) Responding to plaintiffs request with anything other than a Glomar response

would also reveal information concerning U.S. foreign relations and foreign activities, the

disclosure of which reasonably can be expected to cause damage to national security. Plaintiffs

request necessarily implicates U.S. foreign relations and foreign activities in relation to foreign

governments or government officials/employees.

        (157) (U) FISA prescribes procedures for the physical and electronic surveillance and

collection of "foreign intelligence information" between "foreign powers" and "agents of foreign

powers" suspected of espionage or terrorism. Thus, on its face, a request for informationabout

FISA materials implicates foreign relations and foreign activities because those are at the heart of

the FBI's use of FISA as an intelligence and investigative tool.

        (158) (U) The FBI's confirmation or denial of the existence of responsive records could

reasonably be expected to cause damage to the national security interests of the United States by

negatively impacting U.S. foreign relations with these and other countries. Given the sensitivity

of the United States' present and future relationships with foreign coimtries and the importance

of such relationships to our national security, requests like plaintiffs—which, directly or



          (U) FISC orders, applications, and minimization procedures are classified, at a minimum, at the
SECRET level.


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indirectly, call for records thatwould relate to sensitive and appropriately classified details of the

United States' relationship with foreign govemment(s)—reflect precisely the situation in which

the FBI finds it necessary to assert a partial Glomar response to plaintiff s request.

       (159)




        (160) (U) Accordingly, confirming or denying the existence or non-existence of

particular FISA records can reasonably be expected to cause serious damage to the national

security by undermining our relationships with foreign partners.


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         (U) FOIA Exemption (b)(3) as a Basis for the Partial Glomar Response

         (161) (U) Exemption (b)(3) protects information that is specifically exempted from

public disclosure by a statute that requires that the matters be withheld from the public in such a

manner as to leave no discretion on the issue, establishes particular criteria for withholding, or

refers to particular types of matters to be withheld. 5 U.S.C. § 552(b)(3)(A). If the non

disclosure statute was enacted after the date of enactment of the OPEN FOIA Act of 2009, it

must specifically cite this paragraph in order for Exemption (b)(3) to apply. Id. at §

552(b)(3)(B).

         (162) (U) Section 102A(i)(l) of the National Security Act of 1947, as amended, 50

U.S.C. § 403-1 (i)(l) (the "National Security Act"), provides that the Director of National

Intelligence ("DNI") "shall protect intelligence sources and methods from unauthorized

disclosure." Accordingly, the National Security Act constitutes a federal statute which "requires

that the matters be withheld from the public in such a manner as to leave no discretion on the

issue" under 5 U.S.C. § 552(b)(3). Under the direction of the DNI, other components within the

U.S. Government are authorized to protect intelligence sources and methods from unauthorized

disclosure.


         (163)     (U) As previously described in relation to the Exemption (b)(1) Glomar

explanation, acknowledging the existence or non-existence of records responsive to plaintiffs

request, beyond the four Carter Page EISA applications and orders discussed in detail above,

would tend to reveal whether an intelligence method^^ is being deployed against a particular



           (U) An intelligence method includes any intelligence action or technique utilized by the FBI against a
targetedindividual or organization determined to be of national securityinterest; any procedure(humanor non-
human)or intelligence source, used to obtain information concerning the individual or organization; and foreign
liaison relationships.

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target or organization, thus compromising the national security interests of the United States.

Accordingly, the National Security Act, in conjunction with Exemption (b)(3), provides an

additional and independent basis for the FBI's partial Glomar response to plaintiffs request.

   (U) FOIA Exemptions (b)(7)(A) and (b)(7)(E) as Bases for the Glomar Response

                                (U) Exemption (b)(7) Threshold

       (164) (U) As discussed above, before an agency can invoke any of the harms

enumerated in Exemption (b)(7), it must first demonstrate that the records or information at issue

were compiled for law enforcement purposes. Law enforcement agencies such as the FBI must

demonstrate that the records at issue are related to the enforcement of federal laws and that the


enforcement activity is within the law enforcement duty of that agency.

       (165) (U) The only circumstance under which the FBI can request a FISA order is

when the FBI is conducting an authorized, predicated national security investigation within the

scope of its law enforcement and foreign intelligence responsibilities. Accordingly, FISA

applications and FISC orders - when they exist - are records compiled for law enforcement

purposes.


                                    (U) Exemption (b)(7)(A)

       (166)   (U) FOIA Exemption 7(A) protects "records or information compiled for law

enforcement purposes [when disclosure] could reasonably be expected to interfere with

enforcement proceedings." 5 U.S.C. § 552(b)(7)(A).

       (167) (U) In addition to satisfying Exemption (b)(7)'s threshold, an agency must

establish that (a) there is a pending or prospective law enforcement proceeding and (b) disclosure

of responsive records could reasonably be expected to adversely affect it.




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       (168) (U) As previously noted, in July 2016, the FBI opened an investigation of

Russian election interference. The FBI sought and obtained a FISA warrant in October 2016 to

conduct surveillance of Carter Page in the course of that investigation. The FBI thereafter sought

and obtained three renewals from the FISC to continue surveilling Page. The FISA applications

were compiled as part of the investigation into Russian election interference. In May 2017, the

Acting Attorney General appointed Special Counsel Mueller and authorized him to conduct the

Russian election interference investigation confirmed by then-FBI Director James Comey on

March 20,2017. That investigation is on-going. Plaintiffs request specifically seeks FISA

applications and FISC orders related to the Russian election interference investigation. Thus, the

requirement of a pending enforcement proceeding in Exemption (b)(7)(A) is satisfied.

       (169) (U) The final element —interference with that investigation - is readily

established. Confirming or denying the existence or non-existence of responsive records would

reveal non-public information about the focus, scope, and conduct of that investigation.

Specifically, it would reveal whether or not specific investigative techniques have been used;

when and to what extent they were used, if they were; their relative value or benefit if they were

used; and the targets they were used against, if any. Prematurely disclosing non-public

information about the Russia investigation could give targets and others intent on interfering

with the FBI's investigative efforts the information necessary to: take defensive actions to

conceal criminal activities; develop and implement countermeasures to elude detection; suppress,

destroy, or fabricate evidence; and identify potential witnesses or sources, exposing them to

harassment, intimidation, coercion, and/or physical threats. Accordingly, confirming or denying

the existence or non-existence of responsive records, beyond the four Carter Page FISA

applications and orders discussed in detail above, could reasonably be expected to adversely
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affect the pending investigation. Therefore, the FBTs partial Glomar response is justified under

Exemption (b)(7)(A) as well.

                                     (U) Exemption (b)(7)(E)

       (170) (U) Exemption (b)(7)(E) protects "records or information compiled for law

enforcementpurposes [when disclosure] would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law." 5 U.S.C. § 552 (b)(7)(E). This exemption affords categorical

protection to techniques and procedures used in law enforcement investigations; it protects

techniques and procedures that are not well-known to the public as well as non-public details

about the use of well-known techniques and procedures.

       (171) (U) How the FBI applies its investigative resources (or not) against a particular

allegation, report of criminal activity, or perceived threat is itself a law enforcement technique or

procedure that the FBI protects pursuant to Exemption (b)(7)(E).

       (172) (U) As previously demonstrated, acknowledging or denying the existence or non-

existence of the law enforcement records that plaintiff seeks, beyond the four Carter Page FISA

applications and orders discussed in detail above, would be tantamount to confirming or denying

whether or not the FBI is employing specific investigative techniques authorized under the FISA

against specific targets as part of the pending Russian interference investigation. Even in

acknowledged investigations, the FBI does not routinely disclose whether or not it has employed

this particular classified investigative technique against a particular target. Such an

acknowledgment would reveal when and under what circumstances the FBI relies upon FISA-

authorjzed techniques in an investigation. Confirming whether or not FBI has responsive


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records would provide pieces of information that adversaries could use to ascertain at what point,

and against whom we might use particular techniques. Armed withlthis information, adversaries

could glean significant insight into the activities likely to attract - or not attract - the FBI's law

enforcement attention. These individuals would then be able alter their behavior to avoid

attention by law enforcement, making it more difficult for the FBI to be proactive in assessing

threats and investigating crimes. Therefore, the FBI can neither confirm nor deny the existence

of records responsive to plaintiffs request, beyond the four Carter Page FISA applications and

orders discussed in detail above, without causing harms protected against by FOIA Exemption

(b)(7)(E), and Exemption (b)(7)(E) provides independent justification for the FBI's partial

Glomar response here.

                                        (U) CONCLUSION

       (173) (U) For the reasons described above, the FBI's Glomar response to plaintiffs

request, except as to records that have been officially publicly revealed, was proper; the FBI's

search for records responsive to the portion of plaintiffs request for which the Glomar response

has been pierced - i.e., the four FISA applications and orders on Carter Page revealed in the

HPSCI memoranda - was reasonably calculated to, and in fact did, locate the responsive records;

the FBI properly protected information in the four Page FISA applications and orders pursuant to

FOIA Exemptions (b)(1), (b)(3), (b)(6), and (b)(7)(A) and (C)-(E); and the FBI reasonably

segregated and released non-exempt information on the pages released in part and properly

concluded that it could not do so on the pages withheld in full.




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       (U) Pursuant to 28 U.S.C. § 1746,1declare underpenaltyof perjurythat the foregoing is

true and correct, andthatExhibits Aai^>B^^chedhereto are true and correctcopies.
              (U) Executed this                           CTSOlS.


                                          DAVID M. HARDY
                                          Section Chief
                                          Record/Information Dissemination Section
                                          Information Management Division
                                          Federal Bureau of Investigation
                                          Winchester, Virginia




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



JAMES MADISON PROJECT, et al.
                                         Civil Action No. 1:17-cv-0597-APM
     Plaintiffs,
v.
U.S. DEPARTMENT OF JUSTICE,

     Defendant.




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



JAMES MADISON PROJECT, et al.
                                         Civil Action No. 1:17-cv-0597-APM
     Plaintiffs,
v.
U.S. DEPARTMENT OF JUSTICE,

     Defendant.




                   EXHIBIT B
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
  1     X     X    X     X                                   X      X    X                  X                       X
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  3     X     X    X                                         X      X                                               X
  4     X     X    X             X                           X      X    X                  X                       X
  5     X     X    X                                         X      X                                               X
  6     X     X    X                                         X      X    X                                          X
  7     X     X    X                                         X      X    X                                          X
  8     X     X    X                                  X      X      X                                               X
  9     X     X    X                                  X      X      X                                               X
 10           X    X                                  X      X      X                                               X
 11     X     X    X                                         X      X                                               X
 12     X     X    X             X                           X      X    X                                          X
 13     X     X    X             X                           X      X                       X                       X
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 15     X     X    X             X                    X      X      X         X      X                              X
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 21     X     X    X                                         X      X                                               X
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 23     X     X    X                                         X      X                                               X
 24                                                                                                           X
 25                X                                         X      X                                               X
 26     X     X    X                                  X      X      X                                               X
 27     X     X    X                                  X      X      X                X      X                       X
 28     X     X    X                                  X      X      X                                               X
 29     X     X    X             X                    X      X      X    X    X             X                       X
 30     X     X    X             X                    X      X      X    X                  X                       X
 31     X     X    X             X                           X      X    X                  X                       X
 32     X     X    X                                         X      X    X                  X                       X
 33     X     X    X             X                           X      X    X                  X                       X
 34     X     X    X             X                           X      X    X                  X                       X
 35     X     X    X                                         X      X    X                  X                       X
 36     X     X    X                                         X      X    X                  X                       X
 37     X     X    X                                         X      X    X                  X                       X
 38     X     X    X                                         X      X    X                  X                       X



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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
 39     X     X    X                                         X      X    X                  X                       X
 40     X     X    X                                         X      X    X                  X                       X
 41     X     X    X             X                           X      X    X                  X      X                X
 42     X     X    X                                         X      X    X                  X                       X
 43     X     X    X                                         X      X    X                  X                       X
 44     X     X    X                                         X      X                       X                       X
 45     X     X    X                                         X      X    X                  X                       X
 46     X     X    X                                         X      X    X                  X                       X
 47     X     X    X                                         X      X    X                  X                       X
 48     X     X    X             X                           X      X    X                  X                       X
 49     X     X    X             X                           X      X    X                  X                       X
 50     X     X    X                                         X      X    X                  X                       X
 51     X     X    X                                         X      X    X                  X                       X
 52     X     X    X                                         X      X    X                  X                       X
 53                                                                                                           X
 54     X     X    X     X                                                                                          X
 55     X     X    X                                         X      X    X                  X                       X
 56     X     X    X                                         X      X    X                  X                       X
 57     X     X    X                                         X      X                                     X         X
 58     X     X    X             X                           X      X                                     X         X
 59     X     X    X             X                           X      X    X                                          X
 60     X     X    X                                         X      X    X                                          X
 61     X     X    X                                         X      X    X                                          X
 62     X     X    X                                         X      X    X                                          X
 63     X     X    X                                                                                                X
 64     X     X    X                                         X      X                       X                       X
 65     X     X    X                                         X                                                      X
 66                X                   X                                                                            X
 67     X     X    X                                         X      X    X                  X                       X
 68     X     X    X                                         X      X    X                  X                       X
 69     X     X    X                                         X      X    X                  X                       X
 70     X     X    X             X                           X      X    X                  X                       X
 71     X     X    X             X                           X      X    X                  X                       X
 72     X     X    X                                         X      X    X                  X                       X
 73     X     X    X                                         X      X    X                  X                       X
 74     X     X    X                                         X      X    X                  X                       X
 75     X     X    X                                         X      X    X                  X                       X
 76     X     X    X                                         X      X    X                  X                       X



                                                                    2
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
 77     X     X    X                                         X      X    X                  X                       X
 78     X     X    X                                         X      X    X                  X                       X
 79     X     X    X                                         X      X    X                  X                       X
 80     X     X    X                                         X      X    X                  X                       X
 81     X     X    X                                         X      X    X                  X                       X
 82     X     X    X                                         X      X    X                  X                       X
 83     X     X    X                                                                                                X
 84     X     X    X     X                                   X      X    X                  X                       X
 85     X     X    X                                         X      X    X                  X                       X
 86     X     X    X                                         X      X                                               X
 87     X     X    X                                         X      X                                               X
 88     X     X    X             X                           X      X    X                  X                       X
 89     X     X    X                                         X      X                                               X
 90     X     X    X                                         X      X    X                                          X
 91     X     X    X                                         X      X    X                                          X
 92     X     X    X                                         X      X                                               X
 93     X     X    X                                  X      X      X                                               X
 94     X     X    X                                  X      X      X    X                                          X
 95     X     X    X                                         X      X    X                                          X
 96     X     X    X             X                           X      X    X                                          X
 97     X     X    X             X                           X      X    X                  X                       X
 98     X     X    X             X                           X      X                       X                       X
 99     X     X    X             X                           X      X                                               X
100     X     X    X                                  X      X      X         X      X                              X
101     X     X    X                                  X      X      X                                               X
102     X     X    X                                  X      X      X                                               X
103     X     X    X                                  X      X      X                                               X
104     X     X    X                                  X      X      X                                               X
105     X     X    X                                  X      X      X                                               X
106     X     X    X                                  X      X      X                                               X
107     X     X    X                                  X      X      X                                               X
108     X     X    X                                         X      X                                               X
109                                                                                                           X
110                X                                         X      X                                               X
111     X     X    X             X                    X      X      X                                               X
112     X     X    X                                  X      X      X                X      X                       X
113     X     X    X                                  X      X      X    X                                          X
114     X     X    X             X                           X      X    X                  X                       X



                                                                    3
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
115     X     X    X             X                    X      X      X    X                  X                       X
116     X     X    X             X                           X      X    X                  X                       X
117     X     X    X             X                           X      X    X                  X                       X
118     X     X    X                                  X      X      X    X                  X                       X
119     X     X    X                                  X      X      X    X                  X                       X
120     X     X    X             X                           X      X    X                  X                       X
121     X     X    X             X                           X      X    X                  X                       X
122     X     X    X             X                    X      X      X    X    X             X                       X
123     X     X    X             X                    X      X      X    X                  X                       X
124     X     X    X             X                           X      X    X                  X                       X
125     X     X    X             X                           X      X    X                  X                       X
126     X     X    X             X                           X      X    X                  X                       X
127                X                                         X      X                                               X
128     X     X    X             X                           X      X    X                  X                       X
129     X     X    X             X                           X      X    X                  X                       X
130     X     X    X             X                           X      X    X                  X                       X
131     X     X    X                                         X      X    X                  X                       X
132     X     X    X                                         X      X    X                  X                       X
133     X     X    X                                         X      X    X                  X                       X
134     X     X    X                                         X      X    X                  X                       X
135     X     X    X                                         X      X    X                  X                       X
136     X     X    X             X                           X      X    X                  X      X                X
137     X     X    X                                         X      X    X                  X                       X
138     X     X    X                                         X      X    X                  X                       X
139     X     X    X                                         X      X                                               X
140     X     X    X                                         X      X    X                  X                       X
141     X     X    X                                         X      X    X                  X                       X
142     X     X    X                                         X      X    X                  X                       X
143     X     X    X                                         X      X    X                  X                       X
144     X     X    X             X                           X      X    X                  X                       X
145     X     X    X             X                           X      X    X                  X                       X
146     X     X    X             X                           X      X    X                  X                       X
147     X     X    X                                         X      X    X                  X                       X
148     X     X    X                                         X      X    X                  X                       X
149     X     X    X                                         X      X    X                  X                       X
150     X     X    X     X                                                                                          X
151     X     X    X                                         X      X    X                  X                       X
152     X     X    X                                         X      X    X                  X                       X



                                                                    4
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
153     X     X    X                                         X      X                                     X         X
154     X     X    X            X                            X      X                                     X         X
155     X     X    X            X                            X      X    X                                          X
156     X     X    X                                         X      X    X                                          X
157     X     X    X                                         X      X    X                                          X
158     X     X    X                                         X      X    X                                          X
159     X     X    X                                                                                                X
160     X     X    X                                         X      X                       X                       X
161     X     X    X                                         X                                                      X
162                X                   X                                                                            X
163     X     X    X                                         X      X    X                  X                       X
164     X     X    X                                         X      X    X                  X                       X
165     X     X    X                                         X      X    X                  X                       X
166     X     X    X            X                            X      X    X                  X                       X
167     X     X    X            X                            X      X    X                  X                       X
168     X     X    X            X                            X      X    X                  X                       X
169     X     X    X                                         X      X    X                  X                       X
170     X     X    X                                         X      X    X                  X                       X
171     X     X    X                                         X      X    X                  X                       X
172     X     X    X                                         X      X    X                  X                       X
173     X     X    X                                         X      X    X                  X                       X
174     X     X    X                                         X      X    X                  X                       X
175     X     X    X                                         X      X    X                  X                       X
176     X     X    X                                         X      X    X                  X                       X
177     X     X    X                                         X      X    X                  X                       X
178     X     X    X                                         X      X    X                  X                       X
179     X     X    X                                         X      X    X                  X                       X
180     X     X    X                                         X      X    X                  X                       X
181     X     X    X                   X                                                                            X
182     X     X    X                                         X      X    X                  X                       X
183     X     X    X                                         X      X    X                  X                       X
184     X     X    X                                         X      X                                               X
185     X     X    X                                         X      X                                               X
186     X     X    X            X                            X      X    X                  X                       X
187     X     X    X                                         X      X                                               X
188     X     X    X                                         X      X    X                                          X
189     X     X    X                                         X      X    X                                          X
190     X     X    X                                         X      X                                               X



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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
191     X     X    X                                  X      X      X                                               X
192     X     X    X                                  X      X      X                                               X
193     X     X    X                                  X      X      X    X                                          X
194     X     X    X                                         X      X                                               X
195     X     X    X            X                            X      X    X                                          X
196     X     X    X            X                            X      X                       X                       X
197     X     X    X            X                            X      X                                               X
198     X     X    X            X                     X      X      X         X      X                              X
199     X     X    X                                  X      X      X                                               X
200     X     X    X                                  X      X      X                                               X
201     X     X    X                                  X      X      X                                               X
202     X     X    X                                  X      X      X                                               X
203     X     X    X                          X       X      X      X                                               X
204     X     X    X                                  X      X      X                                               X
205     X     X    X                                  X      X      X                                               X
206     X     X    X                                  X      X      X                                               X
207     X     X    X                                         X      X                                               X
208                                                                                                           X
209                X                                         X      X                                               X
210     X     X    X            X                     X      X      X                                               X
211     X     X    X                                  X      X      X                X      X                       X
212     X     X    X                                  X      X      X    X                                          X
213     X     X    X            X                            X      X    X                  X                       X
214     X     X    X            X                     X      X      X    X                  X                       X
215     X     X    X            X                            X      X    X                  X                       X
216     X     X    X                                         X      X    X                  X                       X
217     X     X    X            X                            X      X    X                  X                       X
218     X     X    X            X                            X      X    X                  X                       X
219     X     X    X            X                     X      X      X                                               X
220     X     X    X            X                     X      X      X    X                  X                       X
221     X     X    X            X                            X      X    X                  X                       X
222     X     X    X            X                            X      X    X                  X                       X
223     X     X    X            X                            X      X    X                  X                       X
224     X     X    X            X                            X      X    X                  X                       X
225     X     X    X            X                            X      X    X                  X                       X
226     X     X    X            X                            X      X                                               X
227     X     X    X            X                            X      X                                               X
228     X     X    X            X                            X      X                                               X



                                                                    6
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
229     X     X    X            X                     X      X      X                                               X
230     X     X    X            X                            X      X    X                  X                       X
231     X     X    X            X                     X      X      X    X    X             X                       X
232     X     X    X            X                     X      X      X    X                  X                       X
233     X     X    X            X                            X      X    X                  X                       X
234     X     X    X            X                            X      X    X                  X                       X
235     X     X    X            X                            X      X    X                  X                       X
236     X     X    X            X                            X      X    X                  X                       X
237     X     X    X            X                            X      X    X                  X                       X
238     X     X    X            X                            X      X    X                  X                       X
239     X     X    X            X                            X      X    X                  X                       X
240     X     X    X            X                            X      X    X                  X                       X
241     X     X    X                                         X      X    X                  X                       X
242     X     X    X                                         X      X    X                  X                       X
243     X     X    X                                         X      X    X                  X                       X
244     X     X    X                                         X      X    X                  X                       X
245     X     X    X                                         X      X    X                  X                       X
246     X     X    X            X                            X      X    X                  X      X                X
247     X     X    X                                         X      X    X                  X                       X
248     X     X    X                                         X      X    X                  X                       X
249     X     X    X                                         X      X                                               X
250     X     X    X                                         X      X    X                  X                       X
251     X     X    X                                         X      X    X                  X                       X
252     X     X    X                                         X      X    X                  X                       X
253     X     X    X            X                            X      X    X                  X                       X
254     X     X    X            X                            X      X    X                  X                       X
255     X     X    X            X                            X      X    X                  X                       X
256     X     X    X            X                            X      X    X                  X                       X
257     X     X    X                                         X      X    X                  X                       X
258     X     X    X                                         X      X    X                  X                       X
259     X     X    X                                         X      X    X                  X                       X
260     X     X    X     X                                                                                          X
261     X     X    X                                         X      X    X                  X                       X
262     X     X    X                                         X      X    X                  X                       X
263     X     X    X                                         X      X                                               X
264     X     X    X            X                            X      X                                     X         X
265     X     X    X            X                            X      X    X                                          X
266     X     X    X                                         X      X    X                                          X



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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
267     X     X    X                                         X      X    X                                          X
268     X     X    X                                         X      X    X                                          X
269     X     X    X                                                                                                X
270     X     X    X                                         X      X                       X                       X
271     X     X    X                                         X                                                      X
272                X                   X                                                                            X
273     X     X    X                                         X      X    X                  X                       X
274     X     X    X                                         X      X    X                  X                       X
275     X     X    X                                         X      X    X                  X                       X
276     X     X    X            X                            X      X    X                  X                       X
277     X     X    X            X                            X      X    X                  X                       X
278     X     X    X            X                            X      X    X                  X                       X
279     X     X    X                                         X      X    X                  X                       X
280     X     X    X                                         X      X    X                  X                       X
281     X     X    X                                         X      X    X                  X                       X
282     X     X    X                                         X      X    X                  X                       X
283     X     X    X                                         X      X    X                  X                       X
284     X     X    X                                         X      X    X                  X                       X
285     X     X    X                                         X      X    X                  X                       X
286     X     X    X                                         X      X    X                  X                       X
287     X     X    X                                         X      X    X                  X                       X
288     X     X    X                                         X      X    X                  X                       X
289     X     X    X                                         X      X    X                  X                       X
290     X     X    X                                         X      X    X                  X                       X
291     X     X    X                   X                                                                            X
292     X     X    X     X                                   X      X    X                  X                       X
293     X     X    X                                         X      X    X                  X                       X
294     X     X    X                                         X      X                                               X
295     X     X    X                                         X      X                                               X
296     X     X    X            X                            X      X    X                  X                       X
297     X     X    X                                         X      X                                               X
298     X     X    X                                         X      X    X                                          X
299     X     X    X                                         X      X    X                                          X
300     X     X    X                                         X      X                                               X
301     X     X    X                                  X      X      X                                               X
302     X     X    X                                  X      X      X                                               X
303     X     X    X                                  X      X      X    X                                          X
304     X     X    X                                         X      X                                               X



                                                                    8
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
305     X     X    X            X                            X      X    X                                          X
306     X     X    X            X                            X      X                       X                       X
307     X     X    X            X                            X      X                                               X
308     X     X    X            X                     X      X      X         X      X                              X
309     X     X    X                                  X      X      X                                               X
310     X     X    X                                  X      X      X                                               X
311     X     X    X            X                     X      X      X                                               X
312     X     X    X            X                     X      X      X                                               X
313     X     X    X                                  X      X      X                                               X
314     X     X    X                          X       X      X      X                                               X
315     X     X    X                                  X      X      X                                               X
316     X     X    X                                  X      X      X                                               X
317     X     X    X            X                     X      X      X    X           X      X                       X
318     X     X    X            X                     X      X      X    X                  X                       X
319     X     X    X            X                     X      X      X    X                  X                       X
320     X     X    X                                         X      X                                               X
321                                                                                                           X
322                X                                         X      X                                               X
323     X     X    X            X                     X      X      X                                               X
324     X     X    X                                  X      X      X                       X                       X
325     X     X    X                                  X      X      X    X                                          X
326     X     X    X            X                            X      X    X                  X                       X
327     X     X    X            X                            X      X    X                  X                       X
328     X     X    X            X                            X      X    X                  X                       X
329     X     X    X            X                            X      X    X                  X                       X
330     X     X    X            X                            X      X                                               X
331     X     X    X                                         X      X    X                  X                       X
332     X     X    X            X                            X      X    X                  X                       X
333     X     X    X            X                            X      X    X                  X                       X
334     X     X    X            X                            X      X                                               X
335     X     X    X                                  X      X      X                                               X
336     X     X    X            X                     X      X      X    X                  X                       X
337     X     X    X            X                            X      X    X                  X                       X
338     X     X    X            X                            X      X    X                  X                       X
339     X     X    X            X                            X      X    X                  X                       X
340     X     X    X            X                            X      X    X                  X                       X
341     X     X    X            X                            X      X                                               X
342     X     X    X            X                            X      X                                               X



                                                                    9
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
343     X     X    X            X                            X      X                                               X
344     X     X    X            X                            X      X    X                  X                       X
345     X     X    X            X                            X      X    X                  X                       X
346     X     X    X            X                     X      X      X    X                  X                       X
347     X     X    X            X                            X      X    X                  X                       X
348     X     X    X            X                     X      X      X    X    X             X                       X
349     X     X    X            X                     X      X      X    X    X             X                       X
350     X     X    X            X                     X      X      X    X                  X                       X
351     X     X    X            X                            X      X    X                  X                       X
352     X     X    X            X                            X      X    X                  X                       X
353     X     X    X            X                            X      X    X                  X                       X
354     X     X    X            X                            X      X    X                  X                       X
355     X     X    X            X                            X      X    X                  X                       X
356     X     X    X            X                            X      X    X                  X                       X
357     X     X    X            X                            X      X    X                  X                       X
358     X     X    X            X                            X      X    X                  X                       X
359     X     X    X            X                            X      X    X                  X                       X
360     X     X    X            X                            X      X    X                  X                       X
361     X     X    X                                         X      X    X                  X                       X
362     X     X    X                                         X      X    X                  X                       X
363     X     X    X                                         X      X    X                  X                       X
364     X     X    X                                         X      X    X                  X                       X
365     X     X    X                                         X      X    X                  X                       X
366     X     X    X            X                            X      X    X                  X      X                X
367     X     X    X                                         X      X    X                  X                       X
368     X     X    X                                         X      X    X                  X                       X
369     X     X    X                                         X      X                                               X
370     X     X    X                                         X      X    X                  X                       X
371     X     X    X                                         X      X    X                  X                       X
372     X     X    X                                         X      X    X                  X                       X
373     X     X    X            X                            X      X    X                  X                       X
374     X     X    X            X                            X      X    X                  X                       X
375     X     X    X            X                            X      X    X                  X                       X
376     X     X    X            X                            X      X    X                  X                       X
377     X     X    X            X                            X      X    X                  X                       X
378     X     X    X                                         X      X    X                  X                       X
379     X     X    X                                         X      X    X                  X                       X
380     X     X    X     X                                                                                          X



                                                                   10
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                                                                                                                          FOIA   Seal
Bates   b1   b3 1 7A-1 6/7C 1 6/7C 2 6/7C 3 6/7C 4   7D 1   7E 1   7E 2 7E 3 7E 4   7E 5   7E 6   7E 7   7E 8 RIF   RIP                 RD
                                                                                                                          WIF    WIF
381     X     X    X                                         X      X    X                  X                       X
382     X     X    X                                         X      X    X                  X                       X
383     X     X    X                                         X      X                                               X
384     X     X    X            X                            X      X                                     X         X
385     X     X    X            X                            X      X    X                                          X
386     X     X    X                                         X      X    X                                          X
387     X     X    X                                         X      X    X                                          X
388     X     X    X                                         X      X    X                                          X
389     X     X    X                                                                                                X
390     X     X    X                                         X      X                       X                       X
391     X     X    X                                         X                                                      X
392                X                   X                                                                            X
393     X     X    X                                         X      X    X                  X                       X
394     X     X    X                                         X      X    X                  X                       X
395     X     X    X                                         X      X    X                  X                       X
396     X     X    X            X                            X      X    X                  X                       X
397     X     X    X            X                            X      X    X                  X                       X
398     X     X    X            X                            X      X    X                  X                       X
399     X     X    X                                         X      X    X                  X                       X
400     X     X    X                                         X      X    X                  X                       X
401     X     X    X                                         X      X    X                  X                       X
402     X     X    X                                         X      X    X                  X                       X
403     X     X    X                                         X      X    X                  X                       X
404     X     X    X                                         X      X    X                  X                       X
405     X     X    X                                         X      X    X                  X                       X
406     X     X    X                                         X      X    X                  X                       X
407     X     X    X                                         X      X    X                  X                       X
408     X     X    X                                         X      X    X                  X                       X
409     X     X    X                                         X      X    X                  X                       X
410     X     X    X                                         X      X    X                  X                       X
411     X     X    X                                         X      X    X                  X                       X
412     X     X    X                   X                                                                            X
413
414
415
416
417
418



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